                                                                                       event.value = cMsg;
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                                                                                             EXHIBIT

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Evidence review: Gonadotrophin releasing
hormone analogues for children and
adolescents with gender dysphoria
This document will help inform Dr Hilary Cass’ independent review into gender identity
services for children and young people. It was commissioned by NHS England and
Improvement who commissioned the Cass review. It aims to assess the evidence for the
clinical effectiveness, safety and cost-effectiveness of gonadotrophin releasing hormone
(GnRH) analogues for children and adolescents aged 18 years or under with gender
dysphoria.

The document was prepared by NICE in October 2020.

The content of this evidence review was up to date on 14 October 2020. See summaries of
product characteristics (SPCs), British National Formulary (BNF) or the Medicines and
Healthcare products Regulatory Agency (MHRA) or NICE websites for up-to-date
information.




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1. Introduction

This review aims to assess the evidence for the clinical effectiveness, safety and cost-
effectiveness of gonadotrophin releasing hormone (GnRH) analogues for children and
adolescents aged 18 years or under with gender dysphoria. The review follows the NHS
England Specialised Commissioning process and template and is based on the criteria
outlined in the PICO framework (see appendix A). This document will help inform Dr Hilary
Cass’ independent review into gender identity services for children and young people.

Gender dysphoria in children, also known as gender identity disorder or gender
incongruence of childhood (World Health Organisation 2020), refers to discomfort or distress
that is caused by a discrepancy between a person’s gender identity (how they see
themselves1 regarding their gender) and that person’s sex assigned at birth and the
associated gender role, and/or primary and secondary sex characteristics (Diagnostic and
Statistical Manual of Mental Disorders 2013).

GnRH analogues suppress puberty by delaying the development of secondary sexual
characteristics. The intention is to alleviate the distress associated with the development of
secondary sex characteristics, thereby providing a time for on-going discussion and
exploration of gender identity before deciding whether to take less reversible steps. In
England, the GnRH analogue triptorelin (a synthetic decapeptide analogue of natural GnRH,
which has marketing authorisations for the treatment of prostate cancer, endometriosis and
precocious puberty [onset before 8 years in girls and 10 years in boys]) is used for this
purpose. The use of triptorelin for children and adolescents with gender dysphoria is off-
label.

For children and adolescents with gender dysphoria it is recommended that management
plans are tailored to the needs of the individual, and aim to ameliorate the potentially
negative impact of gender dysphoria on general developmental processes, support young
people and their families in managing the uncertainties inherent in gender identity
development and provide on-going opportunities for exploration of gender identity. The plans
may also include psychological support and exploration and, for some individuals, the use of
GnRH analogues in adolescence to suppress puberty; this may be followed later with
gender-affirming hormones of the desired sex (NHS England 2013).


2. Executive summary of the review

Nine observational studies were included in the evidence review. Five studies were
retrospective observational studies (Brik et al. 2020, Joseph et al. 2019, Khatchadourian et
al. 2014, Klink et al. 2015, Vlot et al. 2017), 3 studies were prospective longitudinal
observational studies (Costa et al. 2015, de Vries et al. 2011, Schagen et al. 2016) and 1
study was a cross-sectional study (Staphorsius et al. 2015). Two studies (Costa et al. 2015




1 Gender refers to the roles, behaviours, activities, attributes and opportunities that any society

considers appropriate for girls and boys, and women and men (World Health Organisation, Health
Topics: Gender).
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and Staphorsius et al. 2015) provided comparative evidence and the remaining 7 studies
used within-person, before and after comparisons.

The terminology used in this topic area is continually evolving and is different depending on
stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
assigned sex at birth’ rather than natal or biological sex, gonadotrophin releasing hormone
(GnRH) analogues rather than ‘puberty blockers’ and gender-affirming hormones rather than
‘cross sex hormones’. The research studies included in this evidence review may use
historical terms which are no longer considered appropriate.

In children and adolescents with gender dysphoria, what is the clinical effectiveness
of treatment with GnRH analogues compared with one or a combination of
psychological support, social transitioning to the desired gender or no intervention?

Critical outcomes

The critical outcomes for decision making are the impact on gender dysphoria, mental health
and quality of life. The quality of evidence for these outcomes was assessed as very low
certainty using modified GRADE.

Impact on gender dysphoria
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones does not affect
gender dysphoria (measured using the Utrecht Gender Dysphoria Scale [UGDS]). The mean
(±SD) gender dysphoria (UGDS) score was not statistically significantly different at baseline
compared with follow-up (n=41, 53.20 [±7.91] versus 53.9 [±17.42], p=0.333).

Impact on mental health
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones may reduce
depression (measured using the Beck Depression Inventory-II [BDI-II]). The mean [±SD] BDI
score was statistically significantly lower (improved) from baseline compared with follow-up
(n=41, 8.31 [±7.12] versus 4.95 [±6.72], p=0.004).

The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones does not affect
anger (measured using the Trait Anger Scale [TPI]). The mean [±SD] anger (TPI) score was
not statistically significantly different at baseline compared with follow-up (n=41, 18.29
[±5.54] versus 17.88 [±5.24], p=0.503).

The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones does not affect
anxiety (measured using the Trait Anxiety Scale [STAI]). The mean [±SD] anxiety (STAI)
score was not statistically significantly different at baseline compared with follow-up (n=41,
39.43 [±10.07] versus 37.95 [±9.38], p=0.276).

Impact on quality of life
No evidence was identified.

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Important outcomes

The important outcomes for decision making are impact on body image, psychosocial
impact, engagement with health care services, impact on extent of and satisfaction with
surgery and stopping treatment. The quality of evidence for all these outcomes was
assessed as very low certainty using modified GRADE.

Impact on body image
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones does not affect
body image (measured using the Body Image Scale [BIS]). The mean [±SD] body image
(BIS) scores were not statistically significantly different from baseline compared with follow-
up for primary sexual characteristics (n=57, 4.10 [±0.56] versus 3.98 [±0.71], p=0.145),
secondary sexual characteristics (n=57, 2.74 [±0.65] versus 2.82 [±0.68], p=0.569) or neutral
body characteristics (n=57, 2.41 [±0.63] versus 2.47 [±0.56], p=0.620).

Psychosocial impact
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
treatment with GnRH analogues before starting gender-affirming hormones may improve
psychosocial impact over time (measured using the Children’s Global Assessment Scale
[CGAS]). The mean [±SD] CGAS score was statistically significantly higher (improved) from
baseline compared with follow-up (n=41, 70.24 [±10.12] versus 73.90 [±9.63], p=0.005).

This study also found that psychosocial functioning may improve over time (measured using
the Child Behaviour Checklist [CBCL] and the self-administered Youth Self-Report [YSR]).
The mean [±SD] CBCL scores were statistically significantly lower (improved) from baseline
compared with follow-up for Total T score (n=54, 60.70 [±12.76] versus 54.46 [±11.23],
p<0.001), internalising T score (n=54, 61.00 [±12.21] versus 52.17 [±9.81], p<0.001) and
externalising T score (n=54, 58.04 [±12.99] versus 53.81 [±11.86], p=0.001). The mean
[±SD] YSR scores were statistically significantly lower (improved) from baseline compared
with follow-up for Total T score (n=54, 55.46 [±11.56] versus 50.00 [±10.56], p<0.001),
internalising T score (n=54, 56.04 [±12.49] versus 49.78 [±11.63], p<0.001) and externalising
T score (n=54, 53.30 [±11.87] versus 49.98 [±9.35], p=0.009). The proportion of adolescents
scoring in the clinical range decreased from baseline to follow up on the CBCL total problem
scale (44.4% versus 22.2%, p=0.001) and the internalising scale of the YSR (29.6% versus
11.1%, p=0.017).

The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
of psychological support followed by either GnRH analogues and continued psychological
support or continued psychological support only, found that during treatment with GnRH
analogues psychosocial impact in terms of global functioning may improve over time
(measured using the CGAS). In the group receiving GnRH analogues, the mean [±SD]
CGAS score was statistically significantly higher (improved) after 6 months (n=60, 64.70
[±13.34]) and 12 months (n=35, 67.40 [±13.39]) compared with baseline (n=101, 58.72
[±11.38], p=0.003 and p<0.001, respectively). However, there was no statistically significant
difference in global functioning (CGAS scores) between the group receiving GnRH
analogues plus psychological support and the group receiving psychological support only at
any time point.

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The study by Staphorsius et al. 2015 in 40 adolescents with gender dysphoria (20 of whom
were receiving GnRH analogues) gave mean [±SD] CBCL scores for each group, but
statistical analysis is unclear (transfemales receiving GnRH analogues 57.4 [±9.8],
transfemales not receiving GnRH analogues 58.2 [±9.3], transmales receiving GnRH
analogues 57.5 [±9.4], transmales not receiving GnRH analogues 63.9 [±10.5]).

Engagement with health care services
The study by Brik et al. 2018 in 143 children and adolescents with gender dysphoria
receiving GnRH analogues found that 9 adolescents in the original sampling frame (9/214,
4.2%) were excluded from the study because they stopped attending appointments.

The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
of psychological support followed by either GnRH analogues and continued psychological
support or continued psychological support only had a large loss to follow-up over time. The
sample size at baseline and 6 months was 201, which dropped by 39.8% to 121 after 12
months and by 64.7% to 71 at 18 months follow-up. No explanation of the reasons for loss to
follow-up are reported.

Impact on extent of and satisfaction with surgery
No evidence was identified.

Stopping treatment
The study by Brik et al. 2018 in 143 children and adolescents with gender dysphoria
receiving GnRH analogues reported the reasons for stopping GnRH analogues. During the
follow-up period 6.2% (9/143) of adolescents had stopped GnRH analogues after a median
duration of 0.8 years (range 0.1 to 3.0). Five adolescents stopped treatment because they
no longer wished to receive gender-affirming treatment for various reasons. In 4 adolescents
(all transmales), GnRH analogues were stopped mainly because of adverse effects (such as
mood and emotional lability), although they wanted to continue treatments for gender
dysphoria.

The study by Khatchadourian et al. 2014 in 27 adolescents with gender dysphoria who
started GnRH analogues reported the reasons for stopping them. Eleven out of 26 where
data was available (42%) stopped GnRH analogues during follow up.

In children and adolescents with gender dysphoria, what is the short-term and long-
term safety of GnRH analogues compared with one or a combination of psychological
support, social transitioning to the desired gender or no intervention?

Evidence was available for bone density, cognitive development or functioning, and other
safety outcomes. The quality of evidence for all these outcomes was assessed as very low
certainty using modified GRADE.

Bone density
The study by Joseph et al. 2019 in 70 adolescents with gender dysphoria found that GnRH
analogues may reduce the expected increase in lumbar or femoral bone density (measured
with the z-score). However, the z-scores were largely within 1 standard deviation of normal,

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and actual lumbar or femoral bone density values were not statistically significantly different
between baseline and follow-up:

   •   The mean z-score [±SD] for lumbar bone mineral apparent density (BMAD) was
       statistically significantly lower at 1 year compared with baseline in transfemales
       (baseline 0.859 [±0.154], 1 year −0.228 [±1.027], p=0.000) and transmales (baseline
       −0.186 [±1.230], 1 year −0.541 [±1.396], p=0.006).
   •   The mean z-score [±SD] for lumbar BMAD was statistically significantly lower after
       receiving GnRH analogues for 2 years compared with baseline in transfemales
       (baseline 0.486 [±0.809], 2 years −0.279 [±0.930], p=0.000) and transmales
       (baseline −0.361 [±1.439], 2 years −0.913 [±1.318], p=0.001).
   •   The mean z-score [±SD] for femoral neck bone mineral density (BMD) was
       statistically significantly lower after receiving GnRH analogues for 2 years compared
       with baseline in transfemales (baseline 0.0450 [±0.781], 2 years −0.600 [±1.059],
       p=0.002) and transmales (baseline −1.075 [±1.145], 2 years −1.779 [±0.816],
       p=0.001).

The study by Klink et al. 2015 in 34 adolescents with gender dysphoria found that GnRH
analogues may reduce the expected increase in lumbar (transmales only), but not femoral
bone density. However, the z-scores are largely within 1 standard deviation of normal. Actual
lumbar or femoral bone density values were not statistically significantly different between
baseline and follow-up (apart from BMD measurements in transmales):

   •   The mean z-score [±SD] for lumbar BMAD was not statistically significantly different
       between starting GnRH analogues and starting gender-affirming hormones in
       transfemales, but was statistically significantly lower when starting gender-affirming
       hormones in transmales (GnRH analogues 0.28 [±0.90], gender-affirming hormones
       −0.50 [±0.81], p=0.004).

The study by Vlot et al. 2017 in 70 adolescents with gender dysphoria found that GnRH
analogues may reduce the expected increase in lumbar or femoral bone density. However,
the z-scores were largely within 1 standard deviation of normal. Actual lumbar or femoral
bone density values were not statistically significantly different between baseline and follow-
up (apart from in transmales with a bone age ≥14 years). This study reported change in
bone density from starting GnRH analogues to starting gender-affirming hormones by bone
age:

   •   The median z-score [range] for lumbar BMAD in transfemales with a bone age of <15
       years was statistically significantly lower at starting gender-affirming hormones than
       at starting GnRH analogues (GnRH analogues −0.20 [−1.82 to 1.18], gender-
       affirming hormones −1.52 [−2.36 to 0.42], p=0.001) but was not statistically
       significantly different in transfemales with a bone age ≥15 years.
   •   The median z-score [range] for lumbar BMAD in transmales with a bone age of <14
       years was statistically significantly lower at starting gender-affirming hormones than
       at starting GnRH analogues (GnRH analogues −0.05 [−0.78 to 2.94], gender-
       affirming hormones −0.84 [−2.20 to 0.87], p=0.003) and in transmales with a bone
       age ≥14 years (GnRH analogues 0.27 [−1.60 to 1.80], gender-affirming hormones
       −0.29 [−2.28 to 0.90], p≤0.0001).


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   •   The median z-score [range] for femoral neck BMAD in transfemales with a bone age
       of <15 years was not statistically significantly lower at starting gender-affirming
       hormones than at starting GnRH analogues (GnRH analogues −0.71 [−3.35 to 0.37],
       gender-affirming hormones −1.32 [−3.39 to 0.21], p≤0.1) or in transfemales with a
       bone age ≥15 years (GnRH analogues −0.44 [−1.37 to 0.93], gender-affirming
       hormones −0.36 [−1.50 to 0.46]).
   •   The z-score for femoral neck BMAD in transmales with a bone age of <14 years was
       not statistically significantly lower at starting gender-affirming hormones than at
       starting GnRH analogues (GnRH analogues −0.01 [−1.30 to 0.91], gender-affirming
       hormone −0.37 [−2.28 to 0.47]) but was statistically significantly lower in transmales
       with a bone age ≥14 years (GnRH analogues 0.27 [−1.39 to 1.32], gender-affirming
       hormones −0.27 [−1.91 to 1.29], p=0.002).

Cognitive development or functioning
The study by Staphorsius et al. 2015 in 40 adolescents with gender dysphoria (20 of whom
were receiving GnRH analogues) measured cognitive development or functioning (using an
IQ test, and reaction time and accuracy measured using the Tower of London task):
    • The mean (±SD) IQ in transfemales receiving GnRH analogues was 94.0 (±10.3) and
        109.4 (±21.2) in the control group. In transmales receiving GnRH analogues the
        mean (±SD) IQ was 95.8 (±15.6) and 98.5 (±15.9) in the control group.
    • The mean (±SD) reaction time in transfemales receiving GnRH analogues was 10.9
        (±4.1) and 9.9 (±3.1) in the control group. In transmales receiving GnRH analogue it
        was 9.9 (±3.1) and 10.0 (±2.0) in the control group.
    • The mean (±SD) accuracy score in transfemales receiving GnRH analogues was
        73.9 (±9.1) and 83.4 (±9.5) in the control group. In transmales receiving GnRH
        analogues it was 85.7 (±10.5) and 88.8 (±9.7) in the control group.
No statistical analyses or interpretation of the results was reported.

Other safety outcomes
The study by Schagen et al. 2016 in 116 adolescents with gender dysphoria found that
GnRH analogues do not affect renal or liver function:
   • There was no statistically significant difference between baseline and 1 year results
       for serum creatinine in transfemales, but there was a statistically significant decrease
       between baseline and 1 year in transmales (p=0.01).
   • Glutamyl transferase, alanine aminotransferase (ALT), and aspartate
       aminotransferase (AST) levels did not significantly change from baseline to 12
       months of treatment.

The study by Khatchadourian et al. 2014 in 27 adolescents with gender dysphoria who
started GnRH analogues narratively reported adverse effects from GnRH analogues in 26
adolescents:
    • 1 transmale developed sterile abscesses; they were switched from leuprolide acetate
        to triptorelin, and this was well tolerated
    • 1 transmale developed leg pains and headaches, which eventually resolved
    • 1 participant gained 19 kg within 9 months of starting GnRH analogues.




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In children and adolescents with gender dysphoria, what is the cost-effectiveness of
GnRH analogues compared to one or a combination of psychological support, social
transitioning to the desired gender or no intervention?

No cost-effectiveness evidence was found for GnRH analogues in children and adolescents
with gender dysphoria.

From the evidence selected, are there any subgroups of children and adolescents
with gender dysphoria that may benefit from GnRH analogues more than the wider
population of interest?

Some studies reported data separately for the following subgroups of children and
adolescents with gender dysphoria: sex assigned at birth males (transfemales) and sex
assigned at birth females (transmales). This included some direct comparisons of these
subgroups, and differences were largely seen at baseline as well as follow up. No evidence
was found for other specified subgroups.

Sex assigned at birth males (transfemales)
Impact on gender dysphoria
The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
of psychological support followed by either GnRH analogues and continued psychological
support or continued psychological support only, found that gender dysphoria (measured
using the UGDS) in sex assigned at birth males is lower than in sex assigned at birth
females. Sex assigned at birth males had a statistically significantly lower (improved) mean
[±SD] UGDS score of 51.6 [±9.7] compared with sex assigned at birth females (56.1 [±4.3],
p<0.001), but it was not reported if this was at baseline or follow-up.

The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that gender
dysphoria (measured using the UGDS) in sex assigned at birth males is lower than in sex
assigned at birth females at baseline and follow up. The mean [±SD] UGDS score was
statistically significantly lower (improved) in sex assigned at birth males compared with sex
assigned at birth females at baseline (n=not reported, mean UGDS score: 47.95 [±9.70]
versus 56.57 [±3.89]) and follow up (n=not reported, 49.67 [±9.47] versus 56.62 [±4.00]);
between sex difference p<0.001).

Impact on mental health
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that the
impact on mental health (depression, anger and anxiety) may be different in sex assigned at
birth males compared with sex assigned at birth females. Over time there was no statistically
significant difference between sex assigned at birth males and sex assigned at birth females
for depression, but sex assigned at birth males had statistically significantly lower levels of
anger and anxiety than sex assigned at birth females at baseline and follow up.

   •   The mean [±SD] depression (BDI-II) score was not statistically significantly different
       in sex assigned at birth males compared with sex assigned at birth females at
       baseline (n=not reported, mean BDI score [±SD]: 5.71 [±4.31] versus 10.34 [±8.24])
       and follow-up (n=not reported, 3.50 [±4.58] versus 6.09 [±7.93]), between sex
       difference p=0.057

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   •   The mean [±SD] anger (TPI) score was statistically significantly lower (improved) in
       sex assigned at birth males compared with sex assigned at birth females at baseline
       (n=not reported, mean TPI score [±SD]: 5.22 [±2.76] versus 6.43 [±2.78]) and follow-
       up (n=not reported, 5.00 [±3.07] versus 6.39 [±2.59]), between sex difference
       p=0.022
   •   The mean [±SD] anxiety (STAI) score was statistically significantly lower (improved)
       in sex assigned at birth males compared with sex assigned at birth females at
       baseline (n=not reported, mean STAI score [±SD]: 4.33 [±2.68] versus 7.00 [±2.36])
       and follow-up (n=not reported, 4.39 [±2.64] versus 6.17 [±2.69]), between sex
       difference p<0.001.

Impact on body image
The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that the
impact on body image may be different in sex assigned at birth males compared with sex
assigned at birth females. Sex assigned at birth males are less dissatisfied with their primary
and secondary sex characteristics than sex assigned at birth females at both baseline and
follow up, but the satisfaction with neutral body characteristics is not different.

   •   The mean [±SD] BIS score for primary sex characteristics was statistically
       significantly lower (improved) in sex assigned at birth males compared with sex
       assigned at birth females at baseline (n=not reported, mean BIS score [±SD]: 4.02
       [±0.61] versus 4.16 [±0.52]) and follow up (n=not reported, 3.74 [±0.78] versus 4.17
       [±0.58]) between sex difference p=0.047.
   •   The mean [±SD] BIS score for secondary sex was statistically significantly lower
       (improved) in sex assigned at birth males compared with sex assigned at birth
       females at baseline (n=not reported, mean BIS score [±SD]: 2.66 [±0.50] versus 2.81
       [±0.76]) and follow up (n=not reported, 2.39 [±0.69] versus 3.18 [±0.42]), between
       sex difference p=0.001.
   •   The mean [±SD] BIS score for neutral body characteristics was not statistically
       significantly different in sex assigned at birth males compared with sex assigned at
       birth females at baseline (n=not reported, 2.60 [±0.58] versus 2.24 [±0.62], between
       sex difference p=0.777).

Psychosocial impact
The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
of psychological support followed by either GnRH analogues and continued psychological
support or continued psychological support only, found that sex assigned at birth males had
statistically significant lower mean [±SD] CGAS scores at baseline compared with sex
assigned at birth females (n=201, 55.4 [±12.7] versus 59.2 [±11.8], p=0.03), but no
conclusions could be drawn.

The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
psychosocial impact in terms of global functioning (CGAS) and psychosocial functioning
(CBCL and YSR) may be different in sex assigned at birth males compared with sex
assigned at birth females, but no conclusions could be drawn.

   •   There was no statistically significant difference between sex assigned at birth males
       and sex assigned at birth females (at baseline or follow up) for the CBCL Total T
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       score, the CBCL internalising T score, the YSR Total T score or the YSR internalising
       T score.
   •   Sex assigned at birth males had statistically higher mean [±SD] CGAS scores
       compared with sex assigned at birth females at baseline (n=54, 73.10 [±8.44] versus
       67.25 [±11.06]) and follow up (n=54, 77.33 [±8.69] versus 70.30 [±9.44]), between
       sex difference p=0.021.
   •   Sex assigned at birth males had statistically lower mean [±SD] CBCL externalising T
       scores compared with sex assigned at birth females at baseline (n=54, 54.71
       [±12.91] versus 60.70 [±12.64]) and follow up (n=54, 48.75 [±10.22] versus 57.87
       [±11.66]), between sex difference p=0.015.
   •   Sex assigned at birth males had statistically lower mean [±SD] YSR externalising T
       scores compared with sex assigned at birth females at both baseline (n=54, 48.72
       [±11.38] versus 57.24 [±10.59]) and follow up (n=54, 46.52 [±9.23] versus 52.97
       [±8.51]), between sex difference p=0.004.

Bone density
The studies by Joseph et al. 2019, Klink et al. 2015 and Vlot et al. 2017 provided evidence
on bone density in sex assigned at birth males (see above for details).

Cognitive development or functioning
The study by Staphorsius et al. 2015 provided evidence on cognitive development or
functioning in sex assigned at birth males (see above for details).

Other safety outcomes
The study by Schagen et al. 2016 provided evidence on renal function in sex assigned at
birth males (see above).

Sex assigned at birth females (transmales)
Impact on gender dysphoria
The studies by de Vries et al. 2011 and Costa et al. 2015 found that gender dysphoria
(measured using the UGDS) in sex assigned at birth females is higher than in sex assigned
at birth males at baseline and follow up (see above for details).

Impact on mental health
The study by de Vries et al. 2011 found that the impact on mental health (depression, anger
and anxiety) may be different in sex assigned at birth females compared with sex assigned
at birth males. Over time there was no statistically significant difference between sex
assigned at birth females and sex assigned at birth males for depression, but sex assigned
at birth females had statistically significantly greater levels of anger and anxiety than sex
assigned at birth males at both baseline and follow up (see above for details).

Impact on body image
The study by de Vries et al. 2011 found that the impact on body image may be different in
sex assigned at birth females compared with sex assigned at birth males. Sex assigned at
birth females are more dissatisfied with their primary and secondary sex characteristics than
sex assigned at birth males at both baseline and follow up, but the satisfaction with neutral
body characteristics is not different (see above for details).


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Psychosocial impact
The studies by de Vries et al. 2011 and Costa et al. 2015 found that psychosocial impact in
terms of global functioning (CGAS) and psychosocial functioning (CBCL and YSR) may be
different in sex assigned at birth females compared with sex assigned at birth males, but no
conclusions could be drawn (see above for details).

Bone density
The studies by Joseph et al. 2019, Klink et al. 2015 and Vlot et al. 2017 provided evidence
on bone density in sex assigned at birth females (see above for details).

Cognitive development or functioning
The study by Staphorsius et al. 2015 provided evidence on cognitive development or
functioning in sex assigned at birth females (see above for details).

Other safety outcomes
The study by Schagen et al. 2016 provided evidence on renal function in sex assigned at
birth females (see above for details).

From the evidence selected:
(a)   what are the criteria used by the research studies to define gender dysphoria,
      gender identity disorder and gender incongruence of childhood?
(b)   what were the ages at which participants commenced treatment with GnRH
      analogues?
(c)   what was the duration of treatment with GnRH analogues?

All studies that reported diagnostic criteria for gender dysphoria (6/9 studies) used the
version of the Diagnostic and Statistical Manual of Mental Disorders (DSM) criteria that was
in use at the time. In 5 studies (Costa et al. 2015, Klink et al. 2015, Schagen et al. 2016,
Staphorsius et al. 2015 and Vlot et al. 2017) the DSM-fourth edition, text revision (IV-TR)
criteria were used. The study by Brik et al. 2020 used DSM-V criteria. It was not reported
how gender dysphoria was defined in the remaining 3 studies.

The studies show variation in the age (11 to 18 years old) at which children and adolescents
with gender dysphoria started GnRH analogues.

Most studies did not report the duration of treatment with GnRH analogues (Joseph et al.
2019, Khatchadourian et al. 2014, Vlot et al. 2017, Costa et al. 2015, de Vries et al. 2011,
Schagen et al. 2016), but where this was reported (Brik et al. 2020, Klink et al. 2015,
Staphorsius et al. 2015) there was a wide variation ranging from a few months to about 5
years.

Discussion

A key limitation to identifying the effectiveness and safety of GnRH analogues for children
and adolescents with gender dysphoria is the lack of reliable comparative studies. The lack
of clear, expected outcomes from treatment with a GnRH analogue (the purpose of which is
to suppress secondary sexual characteristics which may cause distress from unwanted
pubertal changes) also makes interpreting the evidence difficult.


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The studies included in this evidence review are all small, uncontrolled observational
studies, which are subject to bias and confounding, and all the results are of very low
certainty using modified GRADE. They all reported physical and mental health comorbidities
and concomitant treatments very poorly. All the studies are from a limited number of, mainly
European, care facilities. They are described as either tertiary referral or expert services but
the low number of services providing such care and publishing evidence may bias the results
towards the outcomes in these services only and limit extrapolation.

Many of the studies did not report statistical significance or confidence intervals. Changes in
outcome scores for clinical effectiveness and bone density were assessed with regards to
statistical significance. However, there is relatively little interpretation of whether the changes
in outcomes are clinically meaningful.

In the observational, retrospective studies providing evidence on bone density, participants
acted as their own controls and change in bone density was determined between starting
GnRH analogues and follow up. Observational studies such as these can only show an
association with GnRH analogues and bone density; they cannot show that GnRH
analogues caused any differences in bone density seen. Because there was no comparator
group and participants acted as their own controls, it is not known whether the findings are
associated with GnRH analogues or due to changes over time.

Conclusion

The results of the studies that reported impact on the critical outcomes of gender dysphoria
and mental health (depression, anger and anxiety), and the important outcomes of body
image and psychosocial impact (global and psychosocial functioning), in children and
adolescents with gender dysphoria are of very low certainty using modified GRADE. They
suggest little change with GnRH analogues from baseline to follow-up.

Studies that found differences in outcomes could represent changes that are either of
questionable clinical value, or the studies themselves are not reliable and changes could be
due to confounding, bias or chance. It is plausible, however, that a lack of difference in
scores from baseline to follow-up is the effect of GnRH analogues in children and
adolescents with gender dysphoria, in whom the development of secondary sexual
characteristics might be expected to be associated with an increased impact on gender
dysphoria, depression, anxiety, anger and distress over time without treatment. The study by
de Vries et al. 2011 reported statistically significant reductions in the Child Behaviour
Checklist (CBCL) and Youth Self-Report (YSR) scores from baseline to follow up, which
include measures of distress. As the aim of GnRH analogues is to reduce distress caused by
the development of secondary sexual characteristics, this may be an important finding.
However, as the studies all lack appropriate controls who were not receiving GnRH
analogues, any positive changes could be a regression to mean.

The results of the studies that reported bone density outcomes suggest that GnRH
analogues may reduce the expected increase in bone density (which is expected during
puberty). However, as the studies themselves are not reliable, the results could be due to
confounding, bias or chance. While controlled trials may not be possible, comparative
studies are needed to understand this association and whether the effects of GnRH
analogues on bone density are seen after they are stopped. All the studies that reported
safety outcomes provided very low certainty evidence.
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No cost-effectiveness evidence was found to determine whether or not GnRH analogues are
cost-effective for children and adolescents with gender dysphoria.

The results of the studies that reported outcomes for subgroups of children and adolescents
with gender dysphoria, suggest there may be differences between sex assigned at birth
males (transfemales) and sex assigned at birth females (transmales).


3. Methodology

Review questions

The review question(s) for this evidence review are:
       1. For children and adolescents with gender dysphoria, what is the clinical
          effectiveness of treatment with GnRH analogues compared with one or a
          combination of psychological support, social transitioning to the desired gender or
          no intervention?
       2. For children and adolescents with gender dysphoria, what is the short-term and
          long-term safety of GnRH analogues compared with one or a combination of
          psychological support, social transitioning to the desired gender or no
          intervention?
       3. For children and adolescents with gender dysphoria, what is the cost-
          effectiveness of GnRH analogues compared to one or a combination of
          psychological support, social transitioning to the desired gender or no
          intervention?
       4. From the evidence selected, are there any subgroups of children and
          adolescents with gender dysphoria that may derive more (or less) advantage
          from treatment with GnRH analogues than the wider population of children and
          adolescents with gender dysphoria?
       5. From the evidence selected,
          a) what are the criteria used by the research studies to define gender dysphoria,
              gender identity disorder and gender incongruence of childhood?
          b) what were the ages at which participants commenced treatment with GnRH
              analogues?
          c) what was the duration of treatment with GnRH analogues?

See appendix A for the full review protocol.

Review process

The methodology to undertake this review is specified by NHS England in their ‘Guidance on
conducting evidence reviews for Specialised Services Commissioning Products’ (2020).

The searches for evidence were informed by the PICO document and were conducted on
23 July 2020.

See appendix B for details of the search strategy.

Results from the literature searches were screened using their titles and abstracts for
relevance against the criteria in the PICO framework. Full text references of potentially
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relevant evidence were obtained and reviewed to determine whether they met the inclusion
criteria for this evidence review.

See appendix C for evidence selection details and appendix D for the list of studies excluded
from the review and the reasons for their exclusion.

Relevant details and outcomes were extracted from the included studies and were critically
appraised using a checklist appropriate to the study design. See appendices E and F for
individual study and checklist details.

The available evidence was assessed by outcome for certainty using modified GRADE. See
appendix G for GRADE Profiles.


4. Summary of included studies

Nine observational studies were identified for inclusion. Five studies were retrospective
observational studies (Brik et al. 2020, Joseph et al. 2019, Khatchadourian et al. 2014, Klink
et al. 2015, Vlot et al. 2017), 3 studies were prospective longitudinal observational studies
(Costa et al. 2015, de Vries et al. 2011, Schagen et al. 2016) and 1 study was a cross-
sectional study (Staphorsius et al. 2015).

The terminology used in this topic area is continually evolving and is different depending on
stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
assigned sex at birth’ rather than natal or biological sex, gonadotrophin releasing hormone
(GnRH) analogues rather than ‘puberty blockers’ and gender-affirming hormones rather than
‘cross sex hormones’. The research studies included in this evidence review may use
historical terms which are no longer considered appropriate.

Table 1 provides a summary of these included studies and full details are given in
appendix E.

Table 1 Summary of included studies

 Study              Population                             Intervention and        Outcomes
                                                           comparison              reported
 Brik et al. 2020   The study was conducted at the         Intervention            Critical
                    Curium-Leiden University Medical       143 children and        Outcomes
                    Centre gender clinic in Leiden, the    adolescents receiving    • No critical
 Retrospective
                    Netherlands and involved               GnRH analogues (no         outcomes
 observational
                    adolescents with gender dysphoria.     specific treatment,        reported
 single-centre
 study              The sample size was 143                dose, route or          Important
                    adolescents (median age at start of    frequency of            outcomes
                    treatment was 15.0 years, range        administration
 Netherlands        11.1 to 18.6 years in transfemales;    reported). The median   • Stopping
                    16.1 years, range 10.1 to 17.9 years   duration was 2.1          treatment
                    in transmales) from a sampling         years (range 1.6–
                    frame of 269 children and              2.8 years).
                    adolescents registered at the clinic   Comparison
                    between November 2010 and
                                                           No comparator.
                    January 2018.


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Study              Population                            Intervention and           Outcomes
                                                         comparison                 reported
                   Participants were included in the
                   study if they were diagnosed with
                   gender dysphoria according to the
                   DSM-5 criteria, registered at the
                   clinic, were prepubertal and within
                   the appropriate age range, and had
                   started GnRH analogues. No
                   concomitant treatments were
                   reported.
Costa et al.       The study was conducted at the        Intervention               Critical
2015               Gender Identity Development           101 adolescents            Outcomes
                   Service in London and involved        assessed as being           • No critical
                   adolescents with gender dysphoria.    immediately eligible          outcomes
Prospective
longitudinal       The sample size was 201               for GnRH analogues            reported
observational      adolescents (mean [±SD] age           (no specific treatment,    Important
single centre      15.52±1.41 years, range 12 to         dose or route of           outcomes
cohort study       17 years) from a sampling frame of    administration
                   436 consecutive adolescents           reported) plus             • Psychosocial
                   referred to the service between       psychological support.       impact
United Kingdom     2010 and 2014. The mean [±SD]         The average duration
                   age at the start of GnRH analogues    of treatment was
                   was 16.48 [±1.26] years, range 13     approximately 12
                   to 17 years.                          months (no exact
                   Participants were invited to          figure given).
                   participate following a 6-month       Comparison
                   diagnostic process using DSM-IV-      100 adolescents
                   TR criteria. No concomitant           assessed as not
                   treatments were reported.             immediately eligible
                                                         for GnRH analogues
                                                         (more time needed to
                                                         make the decision to
                                                         start GnRH
                                                         analogues) who had
                                                         psychological support
                                                         only. None received
                                                         GnRH analogues
                                                         throughout the study.
de Vries et al.    The study was conducted at the        Intervention               Critical
2011               Amsterdam gender identity clinic of   70 individuals             Outcomes
                   the VU University Medical Centre      assessed at baseline       • Gender
                   and involved adolescents who were     (T0) before the start of     dysphoria
Prospective
                   defined as “transsexual”.             GnRH analogues (no
longitudinal                                                                         • Mental health
observational      The sample size was 70                specific treatment,           (depression,
single centre      adolescents receiving GnRH            dose or route of              anger and
before and after   analogues (mean age [±SD] at          administration                anxiety)
study              assessment 13.6±1.8 years) from a     reported).
                   sampling frame of 196 consecutive                                Important
                                                         Comparison                 outcomes
                   adolescents referred to the service
Netherlands                                              No comparator.
                   between 2000 and 2008.                                           • Body image
                   Participants were invited to                                     • Psychosocial
                   participate if they subsequently                                   impact
                   started gender-affirming hormones
                   between 2003 and 2009. No
                   diagnostic criteria or concomitant
                   treatments were reported.


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Study               Population                                Intervention and          Outcomes
                                                              comparison                reported
Joseph et al.       This study was conducted at the           Intervention              Critical
2019                Early intervention clinic at University   GnRH analogues. No        Outcomes
                    College London Hospital (all              specific treatment,        • No critical
                    participants had been seen at the         duration, dose or            outcomes
Retrospective
                    Gender Identity Development               route of administration      reported
longitudinal
                    Service in London) and involved           reported.
observational                                                                           Important
                    adolescents with gender dysphoria.
single centre                                                 Comparison                outcomes
study               The sample size was 70
                                                              No comparator.            • Safety: bone
                    adolescents with gender dysphoria
                    (no diagnostic criteria described) all                                density
United Kingdom      offered GnRH analogues. The
                    mean age at the start of treatment
                    was 13.2 years (SD ±1.4) for
                    transfemales and 12.6 years (SD
                    ±1.0) for transmales. Details of the
                    sampling frame were not reported.
                    Further details of how the sample
                    was drawn are not reported. No
                    concomitant treatments were
                    reported.
Khatchadourian      This study was conducted at the           Intervention              Critical
et al. 2014         Endocrinology and Diabetes Unit at        84 young people with      Outcomes
                    British Columbia Children’s               gender dysphoria. For      • No critical
                    Hospital, Canada and involved             GnRH analogues no            outcomes
Retrospective
                    youths with gender dysphoria.             specific treatment,          reported
observational
chart review        The sample size was 27 young              duration, dose or         Important
single centre       people with gender dysphoria who          route of administration   outcomes
study               started GnRH analogues (at mean           reported.
                    age 14.7 [SD ±1.9] years) out of 84                                 • Stopping
                                                              Comparison                  treatment
                    young people seen at the unit
Canada                                                        No comparator.
                    between 1998 and 2011. Diagnostic                                   • Safety:
                    criteria and concomitant treatments                                   adverse
                    were not reported.                                                    effects

Klink et al. 2015   This study was conducted in the           Intervention              Critical
                    Netherlands at a tertiary referral        The intervention was      Outcomes
                    centre. It is unclear which centre        GnRH analogue              • No critical
Retrospective
                    this was.                                 monotherapy                  outcomes
longitudinal
observational       The sample size was 34                    (triptorelin 3.75 mg         reported
single centre       adolescents (mean age 14.9 [SD            subcutaneously every      Important
study               ±1.9] years for transfemales and          4 weeks) followed by      outcomes
                    15.0 [SD ±2.0] years for transmales       gender-affirming
                    at start of GnRH analogues). Details      hormones with             • Safety: bone
Netherlands         of the sampling frame are not             discontinuation of          density
                    reported.                                 GnRH analogues after
                    Participants were included if they        gonadectomy.
                    met DSM-IV-TR criteria for gender         Duration of GnRH
                    identity disorder of adolescence and      analogues was 1.3
                    had been treated with GnRH                years (range 0.5 to
                    analogues and gender-affirming            3.8 years) in
                    hormones during their pubertal            transfemales and 1.5
                    years. No concomitant treatments          years (0.25 to
                    were reported.                            5.2 years in
                                                              transmales.
                                                              Comparison
                                                              No comparator.
                                                   17
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Study              Population                              Intervention and          Outcomes
                                                           comparison                reported
Schagen et al.     This study was conducted at the         Intervention              Critical
2016               Centre of Expertise on Gender           The intervention was      Outcomes
                   Dysphoria at the VU University          GnRH analogue              • No critical
                   Medical Centre (Amsterdam,              monotherapy                  outcomes
Prospective
                   Netherlands) and involved               (triptorelin 3.75 mg at      reported
longitudinal
                   adolescents with gender dysphoria.      0, 2 and 4 weeks
study                                                                                Important
                   The sample size was 116                 followed by               outcomes
                   adolescents (median age [range]         intramuscular
Netherlands        13.6 years [11.6 to 17.9] in            injections every 4        • Safety: liver
                   transfemales and 14.2 years [11.1       weeks, for at least 3       and renal
                   to 18.6] in transmales during first     months).                    function.
                   year of GnRH analogues) out of 128      Comparison
                   adolescents who started GnRH
                                                           No comparator.
                   analogues.
                   Participants were included if they
                   met DSM-IV-TR criteria for gender
                   dysphoria, had lifelong extreme
                   gender dysphoria, were
                   psychologically stable and were
                   living in a supportive environment.
                   No concomitant treatments were
                   reported.
Staphorsius et     This study was conducted at the VU      Intervention              Critical
al. 2015           University Medical Centre               The intervention was      Outcomes
                   (Amsterdam, Netherlands) and            a GnRH analogue            • No critical
                   involved adolescents with gender        (triptorelin 3.75 mg         outcomes
Cross-sectional
                   dysphoria.                              every 4 weeks                reported
(single time
point)             The sample size was 85, of whom         subcutaneously or         Important
assessment         40 were adolescents with gender         intramuscularly). The     outcomes
single centre      dysphoria (20 of whom were being        mean duration of
                   treated with GnRH analogues) and        treatment was 1.6         • Psychosocial
study                                                                                  impact
                   45 were controls without gender         years (SD ±1.0).
                   dysphoria (not further reported         Comparison                • Safety:
Netherlands        here). Mean (±SD) age 15.1 (±2.4)                                   cognitive
                                                           Adolescents with
                   years in transfemales and 15.8                                      functioning
                                                           gender dysphoria not
                   (±1.9) years in transmales. Details
                                                           treated with GnRH
                   of the sampling frame are not
                                                           analogues.
                   reported.
                   Participants were included if they
                   were diagnosed with Gender
                   Identity Disorder according to the
                   DSM-IV-TR and at least 12 years
                   old and Tanner stage of at least B2
                   or G2 to G3 with measurable
                   oestradiol and testosterone levels in
                   girls and boys, respectively. No
                   concomitant treatments were
                   reported.
Vlot et al. 2017   This study was conducted at the VU      Intervention              Critical
                   University Medical Centre               The intervention was      Outcomes
                   (Amsterdam, Netherlands) and            a GnRH analogue            • No critical
Retrospective
                   involved adolescents with gender        (triptorelin 3.75 mg         outcomes
observational
                   dysphoria.                              every 4 weeks                reported
data analysis
study              The sample size was 70                  subcutaneously).          Important
                   adolescents (median age [range]         Comparison                outcomes
                   15.1 years [11.7 to 18.6] for
                                                           No comparator.
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Study             Population                            Intervention and         Outcomes
                                                        comparison               reported
Netherlands       transmales and 13.5 years [11.5 to                              • Safety: bone
                  18.3] for transfemales at start of                                density
                  GnRH analogues). Details of the
                  sampling frame are not reported.
                  Participants were included if they
                  had a diagnosis of gender
                  dysphoria according to DSM-IV-TR
                  criteria who were receiving GnRH
                  analogues and then gender-
                  affirming hormones. No concomitant
                  treatments were reported.
Abbreviations: DSM-IV-TR, Diagnostic and Statistical Manual of Mental Disorders, fourth edition,
text revision; GnRH, Gonadotrophin releasing hormone; SD, Standard deviation.


5. Results

In children and adolescents with gender dysphoria, what is the clinical
effectiveness of treatment with GnRH analogues compared with one or a
combination of psychological support, social transitioning to the desired
gender or no intervention?

Outcome              Evidence statement

Clinical Effectiveness

Critical outcomes

Impact on            This is a critical outcome because gender dysphoria in children and
gender               adolescents is associated with significant distress and problems with
dysphoria            functioning.

Certainty of         One uncontrolled, prospective observational longitudinal study (de
evidence: very       Vries et al. 2011) provided evidence relating to the impact on gender
low                  dysphoria in adolescents, measured using the Utrecht Gender
                     Dysphoria Scale (UGDS). The UGDS is a validated screening tool for
                     both adolescents and adults to assess gender dysphoria. It consists of
                     12 items, to be answered on a 1- to 5-point scale, resulting in a sum
                     score between 12 and 60. The higher the UGDS score the greater the
                     gender dysphoria.

                     The study measured the impact on gender dysphoria at 2 time points:
                        • before starting a GnRH analogue (mean [±SD] age: 14.75
                            [±1.92] years), and
                        • shortly before starting gender-affirming hormones (mean [±SD]
                            age: 16.64 [±1.90] years).

                     The mean (±SD) UGDS score was not statistically significantly different
                     at baseline compared with follow-up (n=41, 53.20 [±7.91] versus 53.9
                     [±17.42], p=0.333) (VERY LOW).



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                 This study provides very low certainty evidence that treatment
                 with GnRH analogues, before starting gender-affirming
                 hormones, does not affect gender dysphoria.
Impact on        This is a critical outcome because self-harm and thoughts of suicide
mental health:   have the potential to result in significant physical harm and, for
depression       completed suicides, the death of the young person.

Certainty of     One uncontrolled, prospective observational longitudinal study (de
evidence: very   Vries et al. 2011) provided evidence relating to the impact on
low              depression in children and adolescents with gender dysphoria.
                 Depression was measured using the Beck Depression Inventory-II
                 (BDI-II). The BDI-II is a valid, reliable, and widely used tool for
                 assessing depressive symptoms. There are no specific scores to
                 categorise depression severity, but it is suggested that 0 to 13 is
                 minimal symptoms, 14 to 19 is mild depression, 20 to 28 is moderate
                 depression, and severe depression is 29 to 63.

                 The study provided evidence for depression measured at 2 time points:
                    • before starting a GnRH analogue (mean [±SD] age: 14.75
                        [±1.92] years), and
                    • shortly before starting gender-affirming hormones (mean [±SD]
                        age: 16.64 [±1.90] years).

                 The mean (±SD) depression (BDI) score was statistically significantly
                 lower (improved) from baseline compared with follow-up (n=41, 8.31
                 [±7.12] versus 4.95 [ ±6.72], p=0.004) (VERY LOW).

                 This study provides very low certainty evidence that treatment
                 with GnRH analogues, before starting gender-affirming hormones,
                 may reduce depression.
Impact on        This is a critical outcome because self-harm and thoughts of suicide
mental health:   have the potential to result in significant physical harm and, for
anger            completed suicides, the death of the young person.

Certainty of     One uncontrolled, prospective observational longitudinal study (de
evidence: very   Vries et al. 2011) provided evidence relating to the impact on anger in
low              children and adolescents with gender dysphoria. Anger was measured
                 using the Trait Anger Scale of the State-Trait Personality Inventory
                 (TPI). This is a validated 20-item inventory tool which measures the
                 intensity of anger as the disposition to experience angry feelings as a
                 personality trait. Higher scores indicate greater anger.

                 The study provided evidence for anger measured at 2 time points:
                    • before starting a GnRH analogue (mean [±SD] age: 14.75
                        [±1.92] years), and
                    • shortly before starting gender-affirming hormones (mean [±SD]
                        age: 16.64 [±1.90] years).

                 The mean (±SD) anger (TPI) score was not statistically significantly
                 different at baseline compared with follow-up (n=41, 18.29 [±5.54]
                 versus 17.88 [±5.24], p=0.503) (VERY LOW).

                 This study provides very low certainty evidence that treatment
                 with GnRH analogues, before starting gender-affirming hormones,
                 does not affect anger.
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Impact on         This is a critical outcome because self-harm and thoughts of suicide
mental health:    have the potential to result in significant physical harm and, for
anxiety           completed suicides, the death of the young person.

Certainty of      One uncontrolled, prospective observational longitudinal study (de
evidence: very    Vries et al. 2011) provided evidence relating to the impact on anxiety in
low               children and adolescents with gender dysphoria. Anxiety was measured
                  using the Trait Anxiety Scale of the State-Trait Personality Inventory
                  (STAI). This is a validated and commonly used measure of trait and
                  state anxiety. It has 20 items and can be used in clinical settings to
                  diagnose anxiety and to distinguish it from depressive illness. Higher
                  scores indicate greater anxiety.

                  The study provided evidence for anxiety at 2 time points:
                     • before starting a GnRH analogue (mean [±SD] age: 14.75
                         [±1.92] years), and
                     • shortly before starting gender-affirming hormones (mean [±SD]
                         age: 16.64 [±1.90] years).

                  The mean (±SD) anxiety (STAI) score was not statistically significantly
                  different at baseline compared with follow-up (n=41, 39.43 [±10.07]
                  versus 37.95 [±9.38], p=0.276) (VERY LOW).

                  This study provides very low certainty evidence that treatment
                  with GnRH analogues, before starting gender-affirming hormones,
                  does not affect levels of anxiety.
Quality of life   This is a critical outcome because gender dysphoria in children and
                  adolescents may be associated with a significant reduction in health-
                  related quality of life.

                  No evidence was identified.
Important outcomes

Impact on body    This is an important outcome because some children and adolescents
image             with gender dysphoria may want to take steps to suppress features of
                  their physical appearance associated with their sex assigned at birth or
Certainty of      accentuate physical features of their desired gender.
evidence: very
low               One uncontrolled, prospective observational longitudinal study provided
                  evidence relating to the impact on body image (de Vries et al. 2011).
                  Body image was measured using the Body Image Scale (BIS) which is
                  a validated 30-item scale covering 3 aspects: primary, secondary and
                  neutral body characteristics. Higher scores represent a higher degree
                  of body dissatisfaction.

                  The study (de Vries et al. 2011) provided evidence for body image
                  measured at 2 time points:
                     • before starting a GnRH analogue (mean [±SD] age: 14.75
                         [±1.92] years), and
                     • shortly before starting gender-affirming hormones (mean [±SD]
                         age: 16.64 [±1.90] years).

                  The mean (±SD) body image (BIS) scores for were not statistically
                  significantly different from baseline compared with follow-up for:

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                    •   primary sexual characteristics (n=57, 4.10 [±0.56] versus 3.98
                        [±0.71], p=0.145)
                    •   secondary sexual characteristics (n=57, 2.74 [±0.65] versus
                        2.82 [±0.68], p=0.569)
                    •   neutral body characteristics (n=57, 2.41 [±0.63] versus 2.47
                        [±0.56], p=0.620) (VERY LOW).

                 This study provides very low certainty evidence that treatment
                 with GnRH analogues, before starting gender affirming hormones,
                 does not affect body image.
Psychosocial     This is an important outcome because gender dysphoria in children and
impact: global   adolescents is associated with internalising and externalising
functioning      behaviours, and emotional and behavioural problems which may impact
                 on social and occupational functioning.
Certainty of
evidence: very   One uncontrolled, observational, prospective cohort study (de Vries et
low              al 2011) and one prospective cross-sectional cohort study (Costa et al.
                 2015) provided evidence relating to psychosocial impact in terms of
                 global functioning. Global functioning was measured using the
                 Children’s Global Assessment Scale (CGAS). The CGAS tool is a
                 validated measure of global functioning on a single rating scale from 1
                 to 100. Lower scores indicate poorer functioning.

                 One study (de Vries et al. 2011) provided evidence for global
                 functioning (CGAS) at 2 time points:
                    • before starting a GnRH analogue (mean [±SD] age: 14.75
                         [±1.92] years), and
                    • shortly before starting gender-affirming hormones (mean [±SD]
                         age: 16.64 [±1.90] years).

                 The mean (±SD) CGAS score was statistically significantly higher
                 (improved) from baseline compared with follow-up (n=41, 70.24
                 [±10.12] versus 73.90 [±9.63], p=0.005) (VERY LOW).

                 One study (Costa et al. 2015) in adolescents with gender dysphoria who
                 had 6 months of psychological support followed by either GnRH
                 analogues and continued psychological support (the immediately
                 eligible group) or continued psychological support only (the delayed
                 eligible group who did not receive GnRH analogues) provided evidence
                 for global functioning (CGAS) measured at 4 time points:
                     • at baseline (T0) in both groups,
                     • after 6 months of psychological support in both groups (T1),
                     • after 6 months of GnRH analogues and 12 months of
                          psychological support in the immediately eligible group and 12
                          months of psychological support only in the delayed eligible
                          group (T2), and
                     • after 18 months of psychological support and 12 months of
                          GnRH analogues in the immediately eligible group and after 18
                          months of psychological support only in the delayed eligible
                          group (T3).

                 The mean [±SD] CGAS score was statistically significantly higher
                 (improved) for all adolescents (including those not receiving GnRH
                 analogues) at T1, T2 or T3 compared with baseline (T0).

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                 For the immediately eligible group (who received GnRH analogues)
                 versus the delayed eligible group (who did not receive GnRH
                 analogues) there were no statistically significant differences in CGAS
                 scores between the 2 groups at baseline T0 (n=201, p=0.23), T1
                 (n=201, p=0.73), T2 (n=121, p=0.49) or T3 (n=71, p=0.14) time points.

                 For the immediately eligible group (who received GnRH analogues),
                 the mean (±SD) CGAS score was not statistically significantly different
                 at:
                     • T1 compared with T0
                     • T2 compared with T1
                     • T3 compared with T2.

                 The mean (±SD) CGAS score was statistically significantly higher
                 (improved) at:
                    • T2 compared with T0 (n=60, 64.70 [±13.34] versus n=101, 58.72
                        [±11.38], p=0.003)
                    • T3 compared with T0 (n=35, 67.40 [±13.39] versus n=101, 58.72
                        [±11.38], p<0.001)
                    • T3 compared with T1 (n=35, 67.40 [±13.93] versus n=101, 60.89
                        [±12.17], p<0.001) (VERY LOW).

                 These studies provide very low certainty evidence that during
                 treatment with GnRH analogues, global functioning may improve
                 over time. However, there was no statistically significant
                 difference in global functioning between GnRH analogues plus
                 psychological support compared with psychological support only
                 at any time point.
Psychosocial     This is an important outcome because gender dysphoria in children and
impact:          adolescents is associated with internalising and externalising
psychosocial     behaviours, and emotional and behavioural problems which may impact
functioning      on social and occupational functioning.

Certainty of     Two studies provided evidence for this outcome. One uncontrolled,
evidence: very   observational, prospective cohort study (de Vries et al, 2011) and 1
low              cross-sectional observational study (Staphorsius et al. 2015) assessed
                 psychosocial functioning using the Child Behaviour Checklist (CBCL)
                 and the self-administered Youth Self-Report (YSR). The CBCL is a
                 checklist parents complete to detect emotional and behavioural
                 problems in children and adolescents. YSR is similar but is self-
                 completed by the child or adolescent. The scales consist of a Total
                 problems score, which is the sum of the scores of all the problem items.
                 An internalising problem scale sums the anxious/depressed,
                 withdrawn-depressed, and somatic complaints scores while the
                 externalising problem scale combines rule-breaking and aggressive
                 behaviour. The standard scores are scaled so that 50 is average for the
                 child or adolescent’s age and gender, with a SD of 10 points. Higher
                 scores indicate greater problems, with a T-score above 63 considered
                 to be in the clinical range.

                 One study (de Vries et al. 2011) provided evidence for psychosocial
                 functioning (CBCL and YSR scores) at 2 time points:
                    • before starting a GnRH analogue (mean [±SD] age: 14.75
                         [±1.92] years), and

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                      •   shortly before starting gender-affirming hormones (mean [±SD]
                          age: 16.64 [±1.90] years).

                   At follow up, the mean (±SD) CBCL scores were statistically
                   significantly lower (improved) compared with baseline for:
                       • Total T score (n=54, 60.70 [±12.76] versus 54.46 [±11.23],
                           p<0.001
                       • Internalising T score (n=54, 61.00 [±12.21] versus 52.17 [±9.81],
                           p<0.001)
                       • Externalising T score (n=54, 58.04 [±12.99] versus 53.81
                           [±11.86], p=0.001).

                   At follow up, the mean (±SD) YSR scores were statistically significantly
                   lower (improved) compared with baseline for:
                       • Total T score (n=54, 55.46 [±11.56] versus 50.00 [±10.56],
                           p<0.001)
                       • Internalising T score (n=54, 56.04 [±12.49] versus 49.78
                           [±11.63], p<0.001)
                       • Externalising T score (n=54, 53.30 [±11.87] versus 49.98
                           [±9.35], p=0.009).

                   The proportion of adolescents scoring in the clinical range decreased
                   from baseline to follow up on the CBCL total problem scale (44.4%
                   versus 22.2%, p=0.001) and the internalising scale of the YSR (29.6%
                   versus 11.1%, p=0.017) (VERY LOW).

                   One study (Staphorsius et al. 2015) assessed CBCL in a cohort of
                   adolescents with gender dysphoria (transfemale: n=18, mean [±SD]
                   age 15.1 [±2.4] years and transmale: n=22, mean [±SD] age 15.8
                   [±1.9] years) either receiving GnRH analogues (transfemale, n=8 and
                   transmale, n=12), or not receiving GnRH analogues (transfemale,
                   n=10 and transmale, n=10).

                   The mean (±SD) CBCL scores for each group were (statistical
                   analysis unclear):
                      • transfemales (total) 57.8 [±9.2]
                      • transfemales receiving GnRH analogues 57.4 [±9.8]
                      • transfemales not receiving GnRH analogues 58.2 [±9.3]
                      • transmales (total) 60.4 [±10.2]
                      • transmales receiving GnRH analogues 57.5 [±9.4]
                      • transmales not receiving GnRH analogues 63.9 [±10.5] (VERY
                          LOW).

                   These studies provide very low certainty evidence that during
                   treatment with GnRH analogues psychosocial functioning may
                   improve, with the proportion of adolescents in the clinical range
                   for some CBCL and YSR scores decreasing over time.
Engagement         This is an important outcome because patient engagement with health
with health care   care services will impact on their clinical outcomes.
services
                   Two uncontrolled observational cohort studies provided evidence
Certainty of       relating to loss to follow up, which could be a marker of engagement
evidence: very     with health care services (Brik et al. 2018 and Costa et al. 2015).
low

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                    In one retrospective study (Brik et al. 2018), 9 adolescents (9/214,
                    4.2%) who had stopped attending appointments were excluded from
                    the study between November 2010 and July 2019 (VERY LOW).

                    One prospective study (Costa et al. 2015) had evidence for a large loss
                    to follow-up over time. The sample size at baseline (T0) and 6 months
                    (T1) was 201, which dropped by 39.8% to 121 after 12 months (T2) and
                    by 64.7% to 71 at 18 months follow-up (T3). No explanation of the
                    reasons for loss to follow-up are reported (VERY LOW).

                    Due to their design there was no reported loss to follow-up in the other
                    3 effectiveness studies (de Vries et al 2011; Khatchadourian et al. 2014;
                    Staphorsius et al. 2015).

                    These studies provide very low certainty evidence about loss to
                    follow up, which could be a marker of engagement with health care
                    services, during treatment with GnRH analogues. Due to the large
                    variation in rates between studies no conclusions could be drawn.
Impact on extent    This is an important outcome because some children and adolescents
of and              with gender dysphoria may proceed to transitioning surgery.
satisfaction with
surgery             No evidence was identified.
Stopping            This is an important outcome because there is uncertainty about the
treatment           short- and long-term safety and adverse effects of GnRH analogues in
                    children and adolescents with gender dysphoria.
Certainty of
evidence: very      Two uncontrolled, retrospective, observational cohort studies provided
low                 evidence relating to stopping GnRH analogues. One study had
                    complete reporting of the cohort (Brik et al. 2018), the other
                    (Khatchadourian et al. 2014) had incomplete reporting of its cohort,
                    particularly for transfemales where outcomes for only 4/11 were
                    reported.

                    Brik et al. 2018 narratively reported the reasons for stopping GnRH
                    analogues in a cohort of 143 adolescents (38 transfemales and 105
                    transmales). Median age at the start of GnRH analogues was 15.0
                    years (range, 11.1–18.6 years) in transfemales and 16.1 years (range,
                    10.1–17.9 years) in transmales. Of these adolescents, 125 (87%, 36
                    transfemales, 89 transmales) subsequently started gender-affirming
                    hormones after 1.0 (0.5–3.8) and 0.8 (0.3–3.7) years of GnRH
                    analogues. At the time of data collection, the median duration of GnRH
                    analogue use was 2.1 years (1.6–2.8).

                    During the follow-up period 6.3% (9/143) of adolescents had
                    discontinued GnRH analogues after a median duration of 0.8 years
                    (range 0.1 to 3.0). The percentages and reasons for stopping were:
                        • 2.8% (4/143) stopped GnRH analogues although they wanted
                           to continue endocrine treatments for gender dysphoria:
                               o 1 transmale stopped due to increase in mood problems,
                                   suicidal thoughts and confusion attributed to GnRH
                                   analogues
                               o 1 transmale had hot flushes, increased migraines, fear
                                   of injections, stress at school and unrelated medical
                                   issues, and temporarily stopped treatment (after 4
                                   months) and restarted 5 months later.
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                              o  1 transmale had mood swings 4 months after starting
                                 GnRH analogues. After 2.2 years had unexplained
                                 severe nausea and rapid weight loss and discontinued
                                 GnRH analogues after 2.4 years
                             o 1 transmale stopped GnRH analogues because of
                                 inability to regularly collect medication and attend
                                 appointments for injections.
                      •   3.5% (5/143) stopped treatment because they no longer wished
                          to receive gender-affirming treatment for various reasons
                          (VERY LOW).

                   Khatchadourian et al. 2014 narratively reported the reasons for stopping
                   GnRH analogues in a cohort of 26 adolescents (15 transmales and 11
                   transfemales), 42% (11/26) discontinued GnRH analogues during
                   follow-up between 1998 and 2011.

                   Of 15 transmales receiving GnRH analogues, 14 received testosterone
                   during the observation period, of which:
                       • 7 continued GnRH analogues after starting testosterone
                       • 7 stopped GnRH analogues after a median of 3.0 years (range
                           0.2 to 9.2 years), of which:
                               o 5 stopped after hysterectomy and salpingo-
                                   oophorectomy
                               o 1 stopped after 2.2 years (transitioned to gender-
                                   affirming hormones)
                               o 1 stopped after <2 months due to mood and emotional
                                   lability (VERY LOW).

                   Of 11 transfemales receiving GnRH analogues, 5 received oestrogen
                   during the observation period, of which:
                       • 4 continued GnRH analogues after starting oestrogen
                       • 1 stopped GnRH analogues when taking oestrogen (no reason
                           reported) (VERY LOW).

                   Of the remaining 6 transfemales taking GnRH analogues:
                       • 1 stopped GnRH analogues after a few months due to emotional
                           lability
                       • 1 stopped GnRH analogues before taking oestrogen (the
                           following year delayed due to heavy smoking)
                       • 1 stopped GnRH analogues after 13 months due not to pursuing
                           transition (VERY LOW).

                  These studies provide very low certainty evidence for the number
                  of adolescents who stop GnRH analogues and the reasons for this.
Abbreviations: GnRH, gonadotrophin releasing hormone; SD, standard deviation.

In children and adolescents with gender dysphoria, what is the short-term and
long-term safety of GnRH analogues compared with one or a combination of
psychological support, social transitioning to the desired gender or no
intervention?

 Outcome           Evidence statement


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Safety

Change in bone    This is an important outcome because puberty is an important time for
density: lumbar   bone development and puberty suppression may affect bone
                  development, as shown by changes in lumbar bone density.
Certainty of
evidence: very    Three uncontrolled, observational, retrospective studies provided
low               evidence relating to the effect of GnRH analogues on bone density
                  (based on lumbar BMAD) between starting with a GnRH analogue and
                  at 1 and 2 year intervals (Joseph et al. 2019), and between starting
                  GnRH analogues and starting gender-affirming hormones (Klink et al.
                  2015 and Vlot et al. 2017). All outcomes were reported separately for
                  transfemales and transmales; also see subgroups table below.

                  BMAD is a size adjusted value of BMD incorporating body size
                  measurements using UK norms in growing adolescents. It was reported
                  as g/cm3 and as z-scores. Z-scores report how many standard
                  deviations from the mean a measurement sits. A z-score of 0 is equal
                  to the mean, a z-score of −1 is equal to 1 standard deviation below the
                  mean, and a z-score of +1 is equal to 1 standard deviation above the
                  mean.

                  One retrospective observational study (Joseph et al. 2019, n=70)
                  provided non-comparative evidence on change in lumbar BMAD
                  increase using z-scores.
                      • The z-score for lumbar BMAD was statistically significantly lower
                         at 2 years compared with baseline in transfemales (z-score
                         [±SD]: baseline 0.486 [0.809], 2 years −0.279 [0.930], p=0.000)
                         and transmales (baseline −0.361 [1.439], 2 years −0.913
                         [1.318], p=0.001) (VERY LOW).
                      • The z-score for lumbar BMAD was statistically significantly lower
                         at 1 year compared with baseline in transfemales (baseline
                         0.859 [0.154], 1 year −0.228 [1.027], p=0.000) and transmales
                         (baseline −0.186 [1.230], 1 year −0.541 [1.396], p=0.006)
                         (VERY LOW).
                      • Actual lumbar BMAD values in g/cm3 were not statistically
                         significantly different between baseline and 1 or 2 years in
                         transfemales or transmales (VERY LOW).

                  Two retrospective observational studies (Klink et al. 2015 and Vlot et al.
                  2017, n=104 in total) provided non-comparative evidence on change in
                  lumbar BMAD between starting GnRH analogues and starting gender-
                  affirming hormones. All outcomes were reported separately for
                  transfemales and transmales; also see subgroups table below.

                  In Klink et al. 2015 the z-score for lumbar BMAD was not statistically
                  significantly different between starting GnRH analogues and starting
                  gender-affirming hormones in transfemales but was statistically
                  significantly lower when starting gender-affirming hormones in
                  transmales (z-score mean [±SD]: GnRH analogue 0.28 [±0.90], gender-
                  affirming hormone −0.50 [±0.81], p=0.004). Actual lumbar BMAD values
                  in g/cm3 were not statistically significantly different between starting
                  GnRH analogues and starting gender-affirming hormones in
                  transfemales or transmales (VERY LOW).

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               Vlot et al. 2017 reported change from starting GnRH analogues to
               starting gender-affirming hormones in lumbar BMAD by bone age.
                   • The z-score for lumbar BMAD in transfemales with a bone age
                       of <15 years was statistically significantly lower at starting
                       gender-affirming hormone treatment than at starting GnRH
                       analogues (z-score median [range]: GnRH analogue −0.20
                       [−1.82 to 1.18], gender-affirming hormone −1.52 [−2.36 to
                       0.42], p=0.001) but was not statistically significantly different in
                       transfemales with a bone age ≥15 years (VERY LOW).
                   • The z-score for lumbar BMAD in transmales with a bone age of
                       <14 years was statistically significantly lower at starting
                       gender-affirming hormone treatment than at starting GnRH
                       analogues (z-score median [range]: GnRH analogue −0.05
                       [−0.78 to 2.94], gender-affirming hormone −0.84 [−2.20 to
                       0.87], p=0.003) and in transmales with a bone age ≥14 years
                       (GnRH analogue 0.27 [−1.60 to 1.80], gender-affirming
                       hormone −0.29 [−2.28 to 0.90], p≤0.0001) (VERY LOW).
                   • Actual lumbar BMAD values in g/cm3 were not statistically
                       significantly different between starting GnRH analogues and
                       starting gender-affirming hormones in transfemales or
                       transmales with young or old bone age (VERY LOW).

               Two uncontrolled, observational, retrospective studies provided
               evidence for the effect of GnRH analogues on bone density (based on
               lumbar BMD) between starting GnRH analogues and either at 1 or 2
               year intervals (Joseph et al. 2019), or starting gender-affirming
               hormones (Klink et al. 2015). All outcomes were reported separately for
               transfemales and transmales; also see subgroups table below.

               One retrospective observational study (Joseph et al. 2019, n=70)
               provided non-comparative evidence on change in lumbar BMD increase
               using z-scores.
                   • The z-score for lumbar BMD was statistically significantly lower
                      at 2 years compared with baseline in transfemales (z-score
                      mean [±SD]: baseline 0.130 [0.972], 2 years −0.890 [±1.075],
                      p=0.000) and transmales (baseline −0.715 [±1.406], 2 years
                      −2.000 [1.384], p=0.000) (VERY LOW).
                   • The z-score for lumbar BMD was statistically significantly lower
                      at 1 year compared with baseline in transfemales (z-score mean
                      [±SD]: baseline −0.016 [±1.106], 1 year −0.461 [±1.121],
                      p=0.003) and transmales (baseline −0.395 [±1.428], 1 year
                      −1.276 [±1.410], p=0.000) (VERY LOW).
                   • With the exception of transmales, where lumbar BMD in kg/m2
                      increased between baseline and 1 year (mean [±SD]: baseline
                      0.694 [±0.149], 1 year 0.718 [±0.124], p=0.006), actual lumbar
                      BMD values were not statistically significantly different between
                      baseline and 1 or 2 years in transfemales or between 0 and 2
                      years in transmales (VERY LOW).

               One retrospective observational study (Klink et al. 2015, n=34) provided
               non-comparative evidence on change in lumbar BMD between starting
               GnRH analogues and starting gender-affirming hormones.
                  • The z-score for lumbar BMD was not statistically significantly
                      different between starting GnRH analogue and starting gender-
                      affirming hormone treatment in transfemales, but was
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                          statistically significantly lower when starting gender-affirming
                          hormones in transmales (z-score mean [±SD]: GnRH analogue
                          0.17 [±1.18], gender-affirming hormone −0.72 [±0.99], p<0.001)
                          (VERY LOW).
                      •   Actual lumbar BMD in g/cm2 was not statistically significantly
                          different between starting GnRH analogues and starting gender-
                          affirming hormones in transfemales but was statistically
                          significantly lower when starting gender-affirming hormones in
                          transmales (mean [±SD]: GnRH analogues 0.95 [±0.12],
                          gender-affirming hormones 0.91 [±0.10], p=0.006) (VERY
                          LOW).

                   These studies provide very low certainty evidence that GnRH
                   analogues reduce the expected increase in lumbar bone density
                   (BMAD or BMD) compared with baseline (although some findings
                   were not statistically significant). These studies also show that
                   GnRH analogues do not statistically significantly decrease actual
                   lumbar bone density (BMAD or BMD).
Change in bone     This is an important outcome because puberty is an important time for
density: femoral   bone development and puberty suppression may affect bone
                   development, as shown by changes in femoral bone density.
Certainty of
evidence: very     Two uncontrolled, observational, retrospective studies provided
low                evidence relating to the effect of GnRH analogues on bone density
                   (based on femoral BMAD) between starting treatment with a GnRH
                   analogue and starting gender-affirming hormones (Klink et al. 2015 and
                   Vlot et al. 2017). All outcomes were reported separately for
                   transfemales and transmales; also see subgroups table below.

                   One retrospective observational study (Klink et al. 2015, n=34) provided
                   non-comparative evidence on change in femoral area BMAD between
                   starting GnRH analogues and starting gender-affirming hormones. All
                   outcomes were reported separately for transfemales and transmales.
                       • The z-score for femoral area BMAD was not statistically
                           significantly different between starting GnRH analogues and
                           starting gender-affirming hormones in transfemales or
                           transmales (VERY LOW).
                       • Actual femoral area BMAD values were not statistically
                           significantly different between starting GnRH analogues and
                           starting gender-affirming hormones in transmales or
                           transfemales (VERY LOW).

                   One retrospective observational study (Vlot et al. 2017, n=70) provided
                   non-comparative evidence on change in femoral neck (hip) BMAD
                   between starting GnRH analogues and starting gender-affirming
                   hormones. All outcomes were reported separately for transfemales and
                   transmales; also see subgroups table below.
                       • The z-score for femoral neck BMAD in transfemales with a
                          bone age of <15 years was not statistically significantly lower
                          at starting gender-affirming hormones than at starting GnRH
                          analogues (z-score median [range]: GnRH analogue −0.71
                          [−3.35 to 0.37], gender-affirming hormone −1.32 [−3.39 to
                          0.21], p≤0.1) or in transfemales with a bone age ≥15 years
                          (GnRH analogue −0.44 [−1.37 to 0.93], gender-affirming
                          hormone −0.36 [−1.50 to 0.46]) (VERY LOW).
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                  •   The z-score for femoral neck BMAD in transmales with a bone
                      age of <14 years was not statistically significantly lower at
                      starting gender-affirming hormones than at starting GnRH
                      analogues (z-score median [range]: GnRH analogue −0.01
                      [−1.30 to 0.91], gender-affirming hormone −0.37 [−2.28 to
                      0.47]) but was statistically significantly lower in transmales with
                      a bone age ≥14 years (GnRH analogue 0.27 [−1.39 to 1.32],
                      gender-affirming hormone −0.27 [−1.91 to 1.29], p=0.002)
                      (VERY LOW).
                  •   Actual femoral neck BMAD values were not statistically
                      significantly different between starting GnRH analogues and
                      starting gender-affirming hormones in transfemales or in
                      transmales with a young bone age, but were statistically
                      significantly lower in transmales with a bone age ≥14 years
                      (GnRH analogue 0.33 [0.25 to 0.39), gender-affirming
                      hormone 0.30 [0.23 to 0.41], p≤0.01) (VERY LOW).

               Two uncontrolled, observational, retrospective studies provided
               evidence for the effect of GnRH analogues on bone density (based on
               femoral BMD) between starting GnRH analogues and either at 1 or 2
               year intervals (Joseph et al. 2019), or starting gender-affirming
               hormones (Klink et al. 2015). All outcomes were reported separately for
               transfemales and transmales; also see subgroups table below.

               One retrospective observational study (Joseph et al. 2019, n=70)
               provided non-comparative evidence on change in femoral neck BMD
               increase using z-scores. All outcomes were reported separately for
               transfemales and transmales.
                   • The z-score for femoral neck BMD was statistically significantly
                      lower at 2 years compared with baseline in transfemales (z-
                      score mean [±SD]: baseline 0.0450 [±0.781], 2 years −0.600
                      [±1.059], p=0.002) and transmales (baseline −1.075 [±1.145],
                      2 years −1.779 [±0.816], p=0.001) (VERY LOW).
                   • The z-score for femoral neck BMD was statistically significantly
                      lower at 1 year compared with baseline in transfemales (z-score
                      mean [±SD]: baseline 0.157 [±0.905], 1 year −0.340 [±0.816],
                      p=0.002) and transmales (baseline −0.863 [±1.215], 1 year
                      −1.440 [±1.075], p=0.000) (VERY LOW).
                   • Actual femoral neck BMD values in kg/m2 were not statistically
                      significantly different between baseline and 1 or 2 years in
                      transmales or transfemales (VERY LOW).

               One retrospective observational study (Klink et al. 2015, n=34) provided
               non-comparative evidence on change in femoral area BMD between
               starting GnRH analogues and starting gender-affirming hormones. All
               outcomes were reported separately for transfemales and transmales.
                   • The z-score for femoral area BMD was not statistically
                       significantly different between starting GnRH analogues and
                       starting gender-affirming hormones in transfemales, but was
                       statistically significantly lower in transmales (z-score mean
                       [±SD]: GnRH analogue 0.36 [±0.88], gender-affirming hormone
                       −0.35 [±0.79], p=0.001) (VERY LOW).
                   • Actual femoral area BMD values were not statistically
                       significantly different between starting GnRH analogues and
                       starting gender-affirming hormones in transfemales, but were
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                         statistically significantly lower in transmales (mean [±SD] GnRH
                         analogue 0.92 [±0.10], gender-affirming hormone 0.88 [±0.09],
                         p=0.005) (VERY LOW).

                  These studies provide very low certainty evidence that GnRH
                  analogues may reduce the expected increase in femoral bone
                  density (femoral neck or area BMAD or BMD) compared with
                  baseline (although some findings were not statistically
                  significant). These studies also show that GnRH analogues do not
                  statistically significantly decrease actual femoral bone density
                  (femoral area BMAD or femoral neck BMD), apart from actual
                  femoral area BMD in transmales.
Cognitive         This is an important outcome because puberty is an important time for
development or    cognitive development and puberty suppression may affect cognitive
functioning       development or functioning.

Certainty of      One cross-sectional observational study (Staphorsius et al. 2015, n=70)
evidence: very    provided comparative evidence on cognitive development or
low               functioning in adolescents with gender dysphoria on GnRH analogues
                  compared with adolescents with gender dysphoria not on GnRH
                  analogues. Cognitive functioning was measured using an IQ test.
                  Reaction time (in seconds) and accuracy (percentage of correct trials)
                  were measured using the Tower of London (ToL) task. All outcomes
                  were reported separately for transfemales and transmales; also see
                  subgroups table below. No statistical analyses or interpretation of the
                  results in these groups were reported:
                     • IQ in transfemales (mean [±SD] GnRH analogue 94.0 [±10.3],
                          control 109.4 [±21.2]). IQ transmales (GnRH analogue 95.8
                          [±15.6], control 98.5 [±15.9].
                     • Reaction time in transfemales (mean [±SD] GnRH analogue
                          10.9 [±4.1], control: 9.9 [±3.1]). Reaction time transmales
                          (GnRH analogue 9.9 [±3.1], control 10.0 [±2.0]).
                     • Accuracy score in transfemales (GnRH analogue 73.9 [±9.1],
                          control 83.4 [±9.5]. Accuracy score in transmales (GnRH
                          analogue 85.7 [±10.5], control 88.8 [±9.7].

                  This study provides very low certainty evidence (with no statistical
                  analysis) on the effects of GnRH analogues on cognitive
                  development or functioning. No conclusions could be drawn.
Other safety      This is an important outcome because if renal damage (raised serum
outcomes:         creatinine is a marker of this) is suspected, GnRH analogues may need
kidney function   to be stopped.

Certainty of      One prospective observational study (Schagen et al. 2016, n=116)
evidence: very    provided non-comparative evidence on change in serum creatinine
low               between starting GnRH analogues and at 1 year. All outcomes were
                  reported separately for transfemales and transmales; also see
                  subgroups table below.

                     •   There was no statistically significant difference between
                         baseline and 1 year for serum creatinine in transfemales (mean
                         [±SD] baseline 70 [±12], 1 year 66 [±13], p=0.20).
                     •   There was a statistically significant decrease between baseline
                         and 1 year for serum creatinine in transmales (baseline 73 [±8],
                         1 year 68 [±13], p=0.01).
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                    This study provides very low certainty evidence that GnRH
                    analogues do not affect renal function.
 Other safety       This is an important outcome because if treatment-induced liver injury
 outcomes: liver    (raised liver enzymes are a marker of this) is suspected, GnRH
 function           analogues may need to be stopped.

 Certainty of       One prospective observational study (Schagen et al. 2016, n=116)
 evidence: very     provided non-comparative evidence on elevated liver enzymes
 low                between starting GnRH analogues and during use. No comparative
                    values or statistical analyses were reported.
                        • Glutamyl transferase was not elevated at baseline or during
                           use in any person.
                        • Mild elevations of AST and ALT above the reference range
                           were present at baseline but were not more prevalent during
                           use than at baseline.
                        • Glutamyl transferase, AST, and ALT levels did not significantly
                           change from baseline to 12 months of use.

                    This study provides very low certainty evidence (with no statistical
                    analysis) that GnRH analogues do not affect liver function.
 Other safety       This is an important outcome because if there are adverse effects,
 outcomes:          GnRH analogues may need to be stopped.
 adverse effects
                    One uncontrolled, retrospective, observational cohort study
 Certainty of       (Khatchadourian et al. 2014) provided evidence relating to adverse
 evidence: very     effects from GnRH analogues. It had incomplete reporting of its cohort,
 low                particularly for transfemales where outcomes for only 4/11 were
                    reported.

                    Khatchadourian et al. 2014 reported adverse effects in a cohort of 26
                    adolescents (15 transmales and 11 transfemales) receiving GnRH
                    analogues. Of these:
                       • 1 transmale developed sterile abscesses; they were switched
                           from leuprolide acetate to triptorelin, and this was well tolerated.
                       • 1 transmale developed leg pains and headaches, which
                           eventually resolved
                       • 1 participant gained 19 kg within 9 months of starting GnRH
                           analogues.

                      This study provides very low certainty evidence about potential
                      adverse effects of GnRH analogues. No conclusions could be
                      drawn.
Abbreviations: ALT, alanine aminotransferase; AST, aspartate aminotransferase; BMAD,
bone mineral apparent density; BMD, bone mineral density; GnRH, gonadotrophin releasing
hormone; IQ, intelligence quotient; NS, not significant; SD, standard deviation.

In children and adolescents with gender dysphoria, what is the cost-
effectiveness of GnRH analogues compared to one or a combination of
psychological support, social transitioning to the desired gender or no
intervention?

 Outcome                    Evidence statement

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Cost-effectiveness         No studies were identified to assess the cost-effectiveness of
                           GnRH analogues for children and adolescents with gender
                           dysphoria.

From the evidence selected, are there any subgroups of children and
adolescents with gender dysphoria that may benefit from GnRH analogues more
than the wider population of interest?

Subgroup             Evidence statement
Sex assigned at      Some studies reported data separately for sex assigned at birth males
birth males          (transfemales). This included some direct comparisons with sex
(transfemales)       assigned at birth females (transmales).

Certainty of         Impact on gender dysphoria
evidence: Very       One uncontrolled prospective observational longitudinal study (de
low                  Vries et al. 2011) provided evidence for gender dysphoria in sex
                     assigned at birth males. See the clinical effectiveness results table
                     above for a full description of the study.
                     The mean (±SD) UGDS score was statistically significantly lower
                     (improved) in sex assigned at birth males compared with sex assigned
                     at birth females at both baseline (T0) (n=not reported, mean UGDS
                     score [±SD]: 47.95 [±9.70] versus 56.57 [±3.89]) and T1 (n=not
                     reported, 49.67 [±9.47] versus 56.62 [±4.00]); between sex difference
                     p<0.001 (VERY LOW).

                     One further prospective observational longitudinal study (Costa et al.
                     2015) provided evidence for the impact on gender dysphoria in sex
                     assigned at birth males. See the clinical effectiveness results table
                     above for a full description of the study. Sex assigned at birth males
                     had a statistically significantly lower (improved) mean (±SD) UGDS
                     score of 51.6 [±9.7] compared with sex assigned at birth females (56.1
                     [±4.3], p<0.001). However, it was not reported if this was baseline or
                     follow-up (VERY LOW).

                     These studies provide very low certainty evidence that in sex
                     assigned at birth males (transfemales), gender dysphoria is
                     lower than in sex assigned at birth females (transmales).

                     Impact on mental health
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence for the impact on mental health
                     (depression, anger and anxiety) in sex assigned at birth males. See
                     the clinical effectiveness results table above for a full description of
                     the study.
                         • The mean (±SD) depression (BDI-II) score was not statistically
                             significantly different in sex assigned at birth males compared
                             with sex assigned at birth females at both baseline (T0) (n=not
                             reported, mean BDI score [±SD]: 5.71 [±4.31] versus 10.34
                             [±8.24]) and T1 (n=not reported, 3.50 [±4.58] versus 6.09
                             [±7.93]), between sex difference p=0.057
                         • The mean (±SD) anger (TPI) score was statistically
                             significantly lower (improved) in sex assigned at birth males
                             compared with sex assigned at birth females at both baseline
                             (T0) (n=not reported, mean TPI score [±SD]: 5.22 [±2.76]
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                       versus 6.43 [±2.78]) and T1 (n=not reported, 5.00 [±3.07]
                       versus 6.39 [±2.59]), between sex difference p=0.022
                   •   The mean (±SD) anxiety (STAI) score was statistically
                       significantly lower (improved) in sex assigned at birth males
                       compared with sex assigned at birth females at both baseline
                       (T0) (n=not reported, mean STAI score [±SD]: 4.33 [±2.68]
                       versus 7.00 [±2.36]) and T1 (n=not reported, 4.39 [±2.64]
                       versus 6.17 [±2.69]), between sex difference p<0.001 (VERY
                       LOW).

                This study provides very low certainty evidence that the impact
                on mental health (depression, anger and anxiety) may be
                different in sex assigned at birth males (transfemales) compared
                with sex assigned at birth females (transmales). Over time there
                was no statistically significant difference between sex assigned
                at birth males and sex assigned at birth females for depression.
                However, sex assigned at birth males had statistically
                significantly lower levels of anger and anxiety than sex assigned
                at birth females at both baseline and follow up.

                Impact on body image
                One uncontrolled prospective observational longitudinal study (de
                Vries et al. 2011) provided evidence relating to the impact on body
                image in sex assigned at birth males.
                    • The mean (±SD) BIS score for primary sex characteristics was
                       statistically significantly lower (improved) in sex assigned at
                       birth males compared with sex assigned at birth females at
                       both baseline (T0) (n=not reported, mean BIS score [±SD]:
                       4.02 [±0.61] versus 4.16 [±0.52]) and T1 (n=not reported, 3.74
                       [±0.78] versus 4.17 [±0.58]), between sex difference p=0.047
                    • The mean (±SD) BIS score for secondary sex was statistically
                       significantly lower (improved) in sex assigned at birth males
                       compared with sex assigned at birth females at both baseline
                       (T0) (n=not reported, mean BIS score [±SD]: 2.66 [±0.50]
                       versus 2.81 [±0.76]) and T1 (n=not reported, 2.39 [±0.69]
                       versus 3.18 [±0.42]), between sex difference p=0.001
                    • The mean (±SD) BIS score for neutral body characteristics
                       was not statistically significantly different in sex assigned at
                       birth males compared with sex assigned at birth females at
                       both baseline (T0) (n=not reported, mean BIS score [±SD]:
                       2.60 [±0.58] versus 2.24 [±0.62]) and T1 (n=not reported, 2.32
                       [±0.59] versus 2.61 [±0.50]), between sex difference p=0.777
                       (VERY LOW).

                This study provides very low certainty evidence that the impact
                on body image may be different in sex assigned at birth males
                (transfemales) compared with sex assigned at birth females
                (transmales). Sex assigned at birth males are less dissatisfied
                with their primary and secondary sex characteristics than sex
                assigned at birth females at both baseline and follow up, but the
                satisfaction with neutral body characteristics is not different.

                Psychosocial impact
                One uncontrolled prospective observational longitudinal study (de
                Vries et al. 2011) provided evidence for psychosocial impact in terms
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                of global functioning (CGAS) and psychosocial functioning (CBCL and
                YSR) in sex assigned at birth males.
                    • Sex assigned at birth males had statistically higher mean
                        (±SD) CGAS scores compared with sex assigned at birth
                        females at both baseline (T0) (n=54, 73.10 [±8.44] versus
                        67.25 [±11.06]) and T1 (n=54, 77.33 [±8.69] versus 70.30
                        [±9.44]), between sex difference p=0.021
                    • There was no statistically significant difference between sex
                        assigned at birth males and sex assigned at birth females for
                        the CBCL Total T score at T0 or T1 (n=54, p=0.110)
                    • There was no statistically significant difference between sex
                        assigned at birth males and sex assigned at birth females for
                        the CBCL internalising T score at T0 or T1 (n=54, p=0.286)
                    • Sex assigned at birth males had statistically lower mean (±SD)
                        CBCL externalising T scores compared with sex assigned at
                        birth females at both T0 (n=54, 54.71 [±12.91] versus 60.70
                        [±12.64]) and T1 (n=54, 48.75 [±10.22] versus 57.87 [±11.66]),
                        between sex difference p=0.015
                    • There was no statistically significant difference between sex
                        assigned at birth males and sex assigned at birth females for
                        the YSR Total T score at T0 or T1 (n=54, p=0.164)
                    • There was no statistically significant difference between sex
                        assigned at birth males and sex assigned at birth females for
                        the YSR internalising T score at T0 or T1 (n=54, p=0.825)
                    • Sex assigned at birth males had statistically lower mean (±SD)
                        YSR externalising T scores compared with sex assigned at
                        birth females at both T0 (n=54, 48.72 [±11.38] versus 57.24
                        [±10.59]) and T1 (n=54, 46.52 [±9.23] versus 52.97 [±8.51]),
                        between sex difference p=0.004 (VERY LOW).

                One uncontrolled, observational, prospective cohort study (Costa et
                al. 2015) provided evidence for psychosocial impact in terms of global
                functioning (CGAS) in sex assigned at birth males.
                     • Sex assigned at birth males had statistically significant lower
                        mean (±SD CGAS scores at baseline) compared with sex
                        assigned at birth females (n=201, 55.4 [±12.7] versus 59.2
                        [±11.8], p=0.03) (VERY LOW).

                These studies provide very low certainty evidence that
                psychosocial impact may be different in sex assigned at birth
                males (transfemales) compared with sex assigned at birth
                females (transmales). However, no conclusions could be drawn.

                Change in bone density: lumbar
                Three uncontrolled, observational, retrospective studies provided
                evidence relating to the effect of GnRH analogues on lumbar bone
                density in sex assigned at birth males (Joseph et al. 2019, Klink et al.
                2015 and Vlot et al. 2017). See the safety results table above for a full
                description of the results.

                These studies provide very low certainty evidence that GnRH
                analogues reduce the expected increase in lumbar bone density
                (BMAD or BMD) in sex assigned at birth males (transfemales;
                although some findings were not statistically significant). These
                studies also show that GnRH analogues do not statistically
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                  significantly decrease actual lumbar bone density (BMAD or
                  BMD) in sex assigned at birth males (transfemales).

                  Change in bone density: femoral
                  Three uncontrolled, observational, retrospective studies provided
                  evidence for the effect of GnRH analogues on femoral bone density in
                  sex assigned at birth males (Joseph et al. 2019, Klink et al. 2015 and
                  Vlot et al. 2017). See the safety results table above for a full
                  description of the results.

                  These studies provide very low certainty evidence that GnRH
                  analogues may reduce the expected increase in femoral bone
                  density (femoral neck or area BMAD or BMD) in sex assigned at
                  birth males (transfemales; although some findings were not
                  statistically significant). These studies also show that GnRH
                  analogues do not statistically significantly decrease actual
                  femoral bone density (femoral area BMAD or femoral neck BMD)
                  in sex assigned at birth males (transfemales).

                  Cognitive development or functioning
                  One cross-sectional observational study (Staphorsius et al. 2015)
                  provided comparative evidence on cognitive development or
                  functioning in sex assigned at birth males. See the safety results table
                  above for a full description of the results.

                  This study provides very low certainty evidence (with no
                  statistical analysis) on the effects of GnRH analogues on
                  cognitive development or functioning in sex assigned at birth
                  males (transfemales). No conclusions could be drawn.

                  Other safety outcomes: kidney function
                  One prospective observational study (Schagen et al. 2016) provided
                  non-comparative evidence on change in serum creatinine in sex
                  assigned at birth males. See the safety results table above for a full
                  description of the results.

                  This study provides very low certainty evidence that GnRH
                  analogues do not affect renal function in sex assigned at birth
                  males (transfemales).
Sex assigned at   Some studies reported data separately for sex assigned at birth
birth females     females (transmales). This included some direct comparisons with sex
(transmales)      assigned at birth males (transfemales).

Certainty of      Impact on gender dysphoria
evidence: Very    One uncontrolled prospective observational longitudinal study (de
low               Vries et al. 2011) and one prospective observational longitudinal study
                  (Costa et al. 2015) provided evidence for gender dysphoria in sex
                  assigned at birth females. See the sex assigned at birth males
                  (transfemales) row above for a full description of the results.

                  These studies provide very low certainty evidence that in sex
                  assigned at birth females (transmales), gender dysphoria is
                  higher than in sex assigned at birth males (transfemales) at both
                  baseline and follow up.


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                Impact on mental health
                One uncontrolled prospective observational longitudinal study (de
                Vries et al. 2011) provided evidence relating to the impact on mental
                health (depression, anger and anxiety) in sex assigned at birth
                females. See the sex assigned at birth males (transfemales) row
                above for a full description of the results.

                This study provides very low certainty evidence that the impact
                on mental health (depression, anger and anxiety) may be
                different in sex assigned at birth females (transmales) compared
                with sex assigned at birth males (transfemales). Over time there
                was no statistically significant difference between sex assigned
                at birth females and sex assigned at birth males for depression.
                However, sex assigned at birth females had statistically
                significantly greater levels of anger and anxiety than sex
                assigned at birth males at baseline and follow up.

                Impact on body image
                One uncontrolled prospective observational longitudinal study (de
                Vries et al. 2011) provided evidence relating to the impact on body
                image in sex assigned at birth females. See the sex assigned at birth
                males (transfemales) row above for a full description of the results.

                This study provides very low certainty evidence that the impact
                on body image may be different in sex assigned at birth females
                (transmales) compared with sex assigned at birth males
                (transfemales). Sex assigned at birth females are more
                dissatisfied with their primary and secondary sex characteristics
                than sex assigned at birth males at both baseline and follow up,
                but the satisfaction with neutral body characteristics is not
                different.

                Psychosocial impact
                One uncontrolled prospective observational longitudinal study (de
                Vries et al. 2011) provided evidence for psychosocial impact in terms
                of global functioning (CGAS) and psychosocial functioning (CBCL and
                YSR) in sex assigned at birth females. One uncontrolled,
                observational, prospective cohort study (Costa et al. 2015) provided
                evidence for psychosocial impact in terms of global functioning
                (CGAS) in sex assigned at birth females. See the sex assigned at birth
                males (transfemales) row above for a full description of the results.

                These studies provide very low certainty evidence that
                psychosocial impact may be different in sex assigned at birth
                females (transmales) compared with sex assigned at birth males
                (transfemales). However, no conclusions could be drawn.

                Change in bone density: lumbar
                Three uncontrolled, observational, retrospective studies provided
                evidence relating to the effect of GnRH analogues on lumbar bone
                density in sex assigned at birth females (Joseph et al. 2019, Klink et
                al. 2015 and Vlot et al. 2017). See the safety results table above for a
                full description of the results.



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                   These studies provide very low certainty evidence that GnRH
                   analogues reduce the expected increase in lumbar bone density
                   (BMAD or BMD) in sex assigned at birth females (transmales;
                   although some findings were not statistically significant). These
                   studies also show that GnRH analogues do not statistically
                   significantly decrease actual lumbar bone density (BMAD or
                   BMD) in sex assigned at birth females (transmales).

                   Change in bone density: femoral
                   Three uncontrolled, observational, retrospective studies provided
                   evidence relating to the effect of GnRH analogues on femoral bone
                   density in sex assigned at birth females (Joseph et al. 2019, Klink et
                   al. 2015 and Vlot et al. 2017). See the safety results table above for a
                   full description of the results.

                   These studies provide very low certainty evidence that GnRH
                   analogues may reduce the expected increase in femoral bone
                   density (femoral neck or area BMAD or BMD) in sex assigned at
                   birth females (transmales; although some findings were not
                   statistically significant). These studies also show that GnRH
                   analogues do not statistically significantly decrease actual
                   femoral bone density (femoral area BMAD or femoral neck BMD)
                   in sex assigned at birth females (transmales), apart from actual
                   femoral area.

                   Cognitive development or functioning
                   One cross-sectional observational study (Staphorsius et al. 2015)
                   provided comparative evidence on cognitive development or
                   functioning in sex assigned at birth females. See the safety results
                   table above for a full description of the results.

                   This study provides very low certainty evidence (with no
                   statistical analysis) on the effects of GnRH analogues on
                   cognitive development or functioning in sex assigned at birth
                   females (transmales). No conclusions could be drawn.

                   Other safety outcomes: kidney function
                   One prospective observational study (Schagen et al. 2016) provided
                   non-comparative evidence on change in serum creatinine in sex
                   assigned at birth females (transmales). See the safety results table
                   above for a full description of the results.

                   This study provides very low certainty evidence that GnRH
                   analogues do not affect renal function in sex assigned at birth
                   females (transmales).
Duration of        No evidence was identified.
gender dysphoria
Age at onset of    No evidence was identified.
gender dysphoria
Age at which       No evidence was identified.
GnRH analogue
started
Age at onset of    No evidence was identified.
puberty

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 Tanner stage at      No evidence was identified.
 which GnRH
 analogue started
 Diagnosis of         No evidence was identified.
 autistic spectrum
 disorder
 Diagnosis of         No evidence was identified.
 mental health
 condition
Abbreviations: BDI-II, Beck Depression Inventory-II; BIS, Body Image Scale; CBCL, Child
Behaviour Checklist; CGAS, Children’s Global Assessment Scale; SD, standard deviation;
STAI, Trait Anxiety Scale of the State-Trait Personality Inventory; TPI, Trait Anger Scale of
the State-Trait Personality Inventory; UGDS, Utrecht Gender Dysphoria Scale; YSR, Youth
Self-Report

From the evidence selected,
(a)   what are the criteria used by the research studies to define gender
      dysphoria, gender identity disorder and gender incongruence of
      childhood?
(b)   what were the ages at which participants commenced treatment with
      GnRH analogues?
(c)   what was the duration of treatment with GnRH analogues?

 Outcome               Evidence statement
 Diagnostic            In 5 studies (Costa et al. 2015, Klink et al. 2015, Schagen et al. 2016,
 criteria              Staphorsius et al. 2015 and Vlot et al. 2017) the DSM-IV-TR criteria of
                       gender identity disorder was used.

                       The study by Brik et al. 2020 used DSM-V criteria. The DSM-V has
                       one overarching definition of gender dysphoria with separate specific
                       criteria for children and for adolescents and adults. The general
                       definition describes a conflict associated with significant distress
                       and/or problems functioning associated with this conflict between the
                       way they feel and the way they think of themselves which must have
                       lasted at least 6 months.

                       It was not reported how gender dysphoria was defined in the
                       remaining 3 studies (VERY LOW).

                       From the evidence selected, all studies that reported diagnostic
                       criteria for gender dysphoria (6/9 studies) used the DSM criteria
                       in use at the time the study was conducted.
 Age when GnRH         8/9 studies reported the age at which participants started GnRH
 analogues started     analogues, either as the mean age (with SD) or median age (with the
                       range):

                        Study                        Mean age (±SD)
                        Costa et al. 2015            16.5 years (±1.3)
                        de Vries et al. 2011         13.6 years (±1.8)
                        Joseph et al. 2019           13.2 years (±1.4) in transfemales
                                                     12.6 years (±1.0) in transmales
                        Khatchadourian     et    al. 14.7 years (±1.9)
                        2014
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                        Klink et al. 2015            14.9 years (±1.9) in transfemales
                                                     15.0 years (±2.0) in transmales

                        Study                        Median age (range)
                        Brik et al. 2020             15.5 years (11.1–18.6) in transfemales
                                                     16.1 years (10.1–17.9) in transmales
                        Schagen et al. 2016          13.6 years (11.6–17.9) in transfemales
                                                     14.2 years (11.1–18.6) in transmales
                        Vlot et al. 2017             13.5 years (11.5–18.3) in transfemales
                                                     15.1 years (11.7–18.6) in transmales

                       Age at the start of GnRH analogues was not reported in Staphorsius
                       et al. 2015, but participants were required to be at least 12 years
                       (VERY LOW).

                       The evidence included showed wide variation in the age (11 to 18
                       years old) at which children and adolescents with gender
                       dysphoria started GnRH analogues.
 Duration of           The duration of treatment with GnRH analogues was reported in 3/9
 treatment             studies. The median duration was:
                           • 2.1 years (range 1.6–2.8) in Brik et al. 2020.
                           • 1.3 years (range 0.5–3.8) in transfemales and 1.5 years (range
                              0.25–5.2) in transmales in Klink et al. 2015.

                       In Staphorsius et al. 2015, the mean duration was 1.6 years (SD ±1.0).

                       In de Vries et al. 2011, the mean duration of time between starting
                       GnRH analogues and gender-affirming hormones was 1.88 years (SD
                       ±1.05).

                    The evidence included showed wide variation in the duration of
                    treatment with GnRH analogues, but most studies did not report
                    this information. Treatment duration ranged from a few months
                    up to about 5 years.
Abbreviations: DSM, Diagnostic and Statistical Manual of Mental Disorders criteria; SD,
standard deviation.


6. Discussion

A key limitation to identifying the effectiveness and safety of GnRH analogues for children
and adolescents with gender dysphoria is the lack of reliable comparative studies. The lack
of clear, expected outcomes from treatment with a GnRH analogue (the purpose of which is
to suppress secondary sexual characteristics which may cause distress from unwanted
pubertal changes) also makes interpreting the evidence difficult. The size of the population
with gender dysphoria means conducting a prospective trial may be unrealistic, at least on a
single centre basis. There may also be ethical issues with a ‘no treatment arm’ in
comparative trials of GnRH analogues, where there may be poor mental health outcomes if
treatment is withheld. However, the use of an active comparator such as close psychological
support may reduce ethical concerns in future trials.

The studies included in this evidence review are all small, uncontrolled observational
studies, which are subject to bias and confounding, and are of very low certainty as

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assessed using modified GRADE. All the included studies reported physical and mental
health comorbidities and concomitant treatments very poorly. For example, very little data
are reported on how many children and adolescents needed additional mental health
support, and for what reasons, or whether additional interventions, and what form and
duration (for example drug treatment or counselling) that took. This is a possible confounder
for the treatment outcomes in the studies because changes in critical and important
outcomes may be attributable to external care rather than the psychological support or
GnRH analogues used in the studies.

The studies that reported diagnostic criteria for gender dysphoria (6/9 studies) used the
Diagnostic and Statistical Manual of Mental Disorders (DSM) criteria in use at the time the
study was conducted (either DSM-IV-TR or DSM-V). The definition was unclear in the
remaining studies. There was wide variation in the ages at which participants started a
GnRH analogue, typically ranging from about 11 to 18 years. Similarly, there was a wide
variation in the duration of use, but few studies reported this.

Changes in outcome scores for clinical effectiveness were assessed for statistical
significance in the 3 studies reporting these outcomes (Costa et al. 2015; de Vries et al.
2011; Staphorsius et al. 2015). However, there is relatively little interpretation of whether the
changes in outcome scores seen in these studies are clinically meaningful.

For some outcomes there was no statistically significant difference from before starting
GnRH analogues until just before starting gender-affirming hormones. These were the
Utrecht Gender Dysphoria Scale (UGDS) (which was assessed in 1 study de Vries et al.
2011), the Trait Anger (TPI) and Trait Anxiety (STAI) Scales (which were assessed in 1
study de Vries et al. 2011), and Body Image Scale (BIS) which was assessed in 1 study (de
Vries et al. 2011).

The Beck Depression Inventory (BDI-II) was used in 1 study (de Vries et al. 2011) to assess
change in depression from before starting GnRH analogues to just before starting gender-
affirming hormones. The result is statistically significant, with the mean (±SD) BDI-II score
decreasing from 8.31 (±7.12) at baseline to 4.95 (±6.27) at follow up (p=0.004). However,
both scores fall into the minimal range using the general guidelines for interpretation of BDI-
II (0 to 13 minimal, 14 to 19 mild depression, 20 to 28 moderate depression and 29 to 63
severe depression), suggesting that while statistically significant, it is unclear if this is a
clinically meaningful change.

Psychosocial outcomes were assessed in 3 studies (Costa et al. 2015; de Vries et al. 2011;
Staphorsius et al. 2015) using the Children’s Global Assessment Scale (CGAS) and Child
Behavior Checklist/Youth Self-Report (CBCL/YSR). The CGAS score was assessed in 2
studies (Costa et al. 2015; de Vries et al. 2011). In de Vries et al. 2011 the mean (±SD)
CGAS score statistically significantly increased over time from 70.24 [±10.12] at baseline to
73.90 [±9.63] at follow up. CGAS scores are clinically categorised into 10 categories (10 to
1, 20 to 11 and so on until 100 to 91) and both scores reported were in a single category (71
to 80, no more than slight impairment) suggesting that while statistically significant, it is
unclear if this is a clinically meaningful change. The Costa et al. 2015 study does highlight a
larger change in CGAS scores from baseline to follow-up (mean [±SD] 58.72 [±11.38]
compared with 67.40 [±13.39]), but whether this is clinically meaningful is unclear. The
average score moved from the clinical category of 60 to 51 (variable functioning with
sporadic difficulties) at baseline to 70 to 61 (some difficulty in a single area, but generally
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functioning pretty well) at follow up, but the large standard deviations suggest clinically
significant overlaps between the scores from baseline to follow-up.

Psychosocial functioning using the CBCL/YSR was assessed in 2 studies (de Vries et al.
2011; Staphorsius et al. 2015). In de Vries et al. 2011 there was a statistically significant
reduction in both CBCL and YSR scores from before starting GnRH analogues to just before
starting gender-affirming hormones. The study interpreted the CBCL/YSR with a proportion
of adolescents who scored in the clinical range (a T-score above 63), which allows changes
in clinically meaningful scores to be assessed, and proportions of adolescents in the clinical
range for some CBCL and YSR scores decreased over time. One cross-sectional study
(Staphorsius et al. 2015) assessed CBCL scores only, but it was unclear if this was the Total
T score, or whether subscales of internalising or externalising scores were also assessed,
and whether the results were statistically significant.

The 2 prospective observational studies (Costa et al. 2015; de Vries et al. 2011) are
confounded by a number of common factors. Firstly, the single assessment of scores at
baseline means it is unclear if scores were stable, already improving or declining before
starting treatment. Secondly, in an uncontrolled study any changes in scores from baseline
to follow-up could be attributed to a regression-to-mean, for example getting older has been
positively associated with maturity and wellbeing. The studies use mean and standard
deviations in the descriptive statistics and analyses; however, they do not report testing the
normality of data which would support the use of parametric measures. The study by de
Vries et al. 2011 used general linear models (regression) to examine between and within
group variances (changes in outcomes). In using such models, the data is assumed to be
balanced (measured at regular intervals and without missing data), but the large ranges in
ages at which participants were assessed and started on various interventions suggests that
ascertainment of outcome was unlikely to be regular and missing data was likely. Missing
data was handled through listwise deletion (omits those cases with the missing data and
analyses the remaining data) which is acceptable if data loss is completely random but for
some outcomes where there was incomplete data for individual items this was not random
(items were introduced by the authors after the first eligible adolescents had started GnRH
analogues). The study provided no detail on whether these assumptions for the modeling
were met, they also provided no adequate assessment of whether any regression
diagnostics (analysis that seek to assess the validity of a model) or model fit (how much of
the variance in outcome is explained by the between and within group variance) were
undertaken.

The 2 retrospective observational studies (Brik et al. 2020; Khatchadourian et al. 2014) both
only report absolute numbers for each trajectory along with reasons for stopping GnRH
analogues. It is difficult to assess outcomes from such single centre studies because there is
little comparative data for outcomes from other such services. A lack of any critical or other
important outcomes also means the success of the treatment across all the participants is
difficult to judge.

Three uncontrolled, observational, retrospective studies provided evidence relating to the
effect of GnRH analogues on bone density (Joseph et al. 2019; Klink et al. 2015; Vlot et al.
2017). In all 3 studies, the participants acted as their own controls and change in bone
density was determined between starting GnRH analogues and either after 1 and 2 year
follow-up timepoints (Joseph et al. 2019) or when gender-affirming hormones were started

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(Klink et al. 2015 and Vlot et al. 2017). Observational studies such as these can only show
an association with GnRH analogues and bone density; they cannot show that GnRH
analogues caused any differences in bone density seen. Because there was no comparator
group and participants acted as their own controls, it is unclear whether the findings are
associated with GnRH analogues or due to changes over time. The authors reported z-
scores which allows for comparison with the expected increase in bone density in the
general population. However, because no concomitant treatments or comorbidities were
reported it is possible that the findings may not be because of GnRH analogues and there is
another way in which the study population differs from the general population.

All the studies are from a limited number of, mainly European, care facilities. They are
described as either tertiary referral or expert services but the low number of services
providing such care and publishing evidence may bias the results towards the outcomes in
these services only and limit extrapolation.

The first study (Brik et al. 2020) was an uncontrolled, retrospective, observational study that
assessed the outcome trajectories of adolescents receiving GnRH analogues for gender
dysphoria. This study followed-up 143 individuals who had received GnRH analogues (38
transfemales and 105 transmales) using clinical records to show outcomes for up to 9 years
(continuing use of GnRH analogues, reasons for stopping GnRH analogues and onward
care such as gender-affirming hormone use). The methods and results are well reported, but
no analysis of data was undertaken. The views of adolescents and their parents are
particularly difficult to interpret because no data on how many responded to each question
and in what ways are reported.

The second study (Costa et al. 2015) was an uncontrolled, prospective observational study
which assessed global functioning in adolescents with gender dysphoria using CGAS every
6 months, including during the first 6 months where statistically significant improvements
were seen without GnRH analogues. The study is confounded by significant unexplained
loss to follow-up (64.7%: from n=201 adolescents to n=71 after 18 months). Missing data for
those lost to follow-up maybe more than sufficient to change the direction of effects seen in
the study if the reasons for loss to follow-up are systematic (such as deriving little or no
benefit from treatment). The study uses clustered data in its analysis, a single outcome
(CGAS) measured in clusters (at different visits), and the analysis does not take account of
the correlation of scores (data at different time points are not independent) as a significant
change in scores early in the study means the successive changes measured against
baseline were also significant. The study relies on multiple (>20) pairwise independent
t-tests to examine change in CGAS between the 4 time points, increasing the possibility of
type-I error (a false positive which occurs when a researcher incorrectly rejects a true null
hypothesis) because the more tests performed the more likely a statistically significant result
will be observed by chance alone.

The Costa et al. 2015 study compares immediately eligible and delayed eligible cohorts,
however, it is highly likely that they are non-comparable groups because the immediately
eligible group were those able to start GnRH analogues straight away whilst those in the
delayed eligible group were either not ready to make a decision about starting treatment (no
age comparison was made between the 2 groups so it is unclear if they were a younger
cohort than the immediately eligible group) or had comorbid mental health or psychological
difficulties. The authors report that those with concomitant problems (such as mental health

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problems, substantial problems with peers, or conflicts with parents or siblings) were referred
to local mental health services but no details are provided.

The third study (de Vries et al. 2011) was an uncontrolled, prospective observational study
which assessed gender dysphoria and psychological functioning before and after puberty
suppression in adolescents with gender dysphoria. Although the study mentions the DSM-
IV-TR there is no explicit discussion of this, or any other criteria, being used as the
diagnostic criteria for study entry. There are no details reported for how the outcomes in the
study were assessed, and by whom. The length of follow-up for the outcomes in the model
are questionable in relation to whether there was sufficient time for GnRH analogues to have
a measurable effect. The time points used are start of GnRH analogues and start of gender-
affirming hormones. Overall, the mean time between starting GnRH analogues and gender-
affirming hormones was 1.88 (±1.05) years, but the range is as low as just 5 months
between the 2 time points, which may be insufficient for any difference in outcome to have
occurred in some individuals.

The fourth study (Joseph et al. 2019) was a retrospective, longitudinal observational single
centre study which assessed bone mineral density in adolescents with gender dysphoria in
the UK. For inclusion in the study, participants had to have been assessed by the Gender
Identity Development Service multi-disciplinary psychosocial health team for at least 4
assessments over a minimum of 6 months. No other diagnostic criteria, such as the DSM-IV-
TR, are discussed. Bone density was assessed using dual energy X-ray absorptiometry
(DAXA) scan of the lumbar spine (L1-L4) and the femoral neck at baseline (n=70), 1 year
(n=70) and 2 years after starting GnRH analogues (n=39). The results suggest a possible
association between GnRH analogues and bone mineral apparent density. However, the
evidence is of poor quality, and the results could be due to bias or chance. No concomitant
treatments or comorbidities were reported.

The fifth study (Khatchadourian et al. 2014) was an uncontrolled retrospective observational
study which describes patient characteristics at presentation, treatment, and response to
treatment in 84 adolescents with gender dysphoria, of whom 27 received GnRH analogues.
The study used clinical records to show outcomes for up to 13 years (continuing use of
GnRH analogues, reasons for stopping GnRH analogues and onward care such as gender-
affirming hormone use). The methods are well reported but the results for those taking
GnRH analogues are poorly and incompletely reported, particularly for transfemales, and no
analysis of data was undertaken. It is difficult to assess the results for stopping GnRH
analogues due to incomplete reporting of this outcome.

The sixth study (Klink et al. 2015) was a retrospective longitudinal observational single
centre study which assessed bone mineral density in adolescents with gender dysphoria,
diagnosed with the DSM-IV-TR criteria. Bone density was assessed when starting GnRH
analogues and then when starting gender-affirming hormones. Results are reported for
transmales and transfemales separately and no results for the whole cohort are given.
Statistical analyses were reported for all outcomes of interest but, because there was no
comparator group and participants acted as their own controls, it is not known whether the
findings are associated with GnRH analogues or due to changes over time. The authors
reported z-scores which allows for comparison with the expected increase in bone density in
the general population. However, because no concomitant treatments or comorbidities were


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reported it is possible that the findings may not be because of GnRH analogues and there is
another way in which the study population differs from the general population.

The seventh study (Schagen et al. 2016) was a prospective observational study of 116
adolescents which provided very low certainty non-comparative evidence on change in
serum creatinine between starting GnRH analogues and 1 year, and liver function during
treatment. Statistical analyses were reported for changes in serum creatinine but not for liver
function. Because there was no comparator group and participants acted as their own
controls, it is not known whether the findings are associated with GnRH analogues or due to
changes over time, or concomitant treatments.

The eighth study (Staphorsius et al. 2015) was a cross-sectional study of 85 adolescents, 40
with gender dysphoria (of whom 20 were receiving GnRH analogues) and 45 matched
controls (not further reported in this evidence review). The study includes 1 outcome of
interest for clinical effectiveness (CBCL) and 1 outcome of interest for safety (cognitive
development or functioning). The mean (±SD) CBCL, IQ test, reaction time and accuracy
scores were given for each group, but the statistical analysis is unclear. It is not reported
what analysis was used or which of the groups were compared, therefore it is difficult to
interpret the results.

The ninth study (Vlot et al. 2017) was a retrospective observational study which assessed
bone mineral apparent density in adolescents with DSM-IV-TR gender dysphoria.
Measurements were taken at the start of GnRH analogues and at the start of gender-affirming
hormones. Results are reported for young bone age and old bone age in transmales and
transfemales separately, and no results for the whole cohort are given. Statistical analyses
were reported for all outcomes of interest but, because there was no comparator group and
participants acted as their own controls, it is not known whether the findings are associated
with GnRH analogues or due to changes over time. The authors reported z-scores which
allows for comparison with the expected increase in bone density in the general population.
However, because no concomitant treatments or comorbidities were reported it is possible
that the findings may not be because of GnRH analogues and there is another way in which
the study population differs from the general population.


7. Conclusion

The results of the studies that reported impact on the critical outcomes of gender dysphoria
and mental health (depression, anger and anxiety), and the important outcomes of body image
and psychosocial impact (global and psychosocial functioning) in children and adolescents
with gender dysphoria are of very low certainty using modified GRADE. They suggest little
change with GnRH analogues from baseline to follow-up.

Studies that found differences in outcomes could represent changes that are either of
questionable clinical value, or the studies themselves are not reliable and changes could be
due to confounding, bias or chance. It is plausible, however, that a lack of difference in scores
from baseline to follow-up is the effect of GnRH analogues in children and adolescents with
gender dysphoria, in whom the development of secondary sexual characteristics might be
expected to be associated with an increased impact on gender dysphoria, depression, anxiety,
anger and distress over time without treatment. One study reported statistically significant
reductions in the Child Behaviour Checklist/Youth Self-Report (CBCL/YSR) scores from
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baseline to follow up, and given that the purpose of GnRH analogues is to reduce distress
caused by the development of secondary sexual characteristics and the CBCL/YSR in part
measures distress, this could be an important finding. However, as the studies all lack
reasonable controls not receiving GnRH analogues, the natural history of the outcomes
measured in the studies is not known and any positive changes could be a regression to mean.

The results of the studies that reported bone density outcomes suggest that GnRH analogues
may reduce the increase in bone density which is expected during puberty. However, as the
studies themselves are not reliable, the results could be due to confounding, bias or chance.
While controlled trials may not be possible, comparative studies are needed to understand
this association and whether the effects of GnRH analogues on bone density are seen after
treatment is stopped. All the studies that reported safety outcomes provided very low certainty
evidence.

No cost-effectiveness evidence was found to determine whether or not GnRH analogues are
cost-effective for children and adolescents with gender dysphoria.

The results of the studies that reported outcomes for subgroups of children and adolescents
with gender dysphoria, suggest there may be differences between sex assigned at birth
males (transfemales) and sex assigned at birth females (transmales).




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Appendix A PICO document

The review questions for this evidence review are:

   1. For children and adolescents with gender dysphoria, what is the clinical effectiveness
      of treatment with GnRH analogues compared with one or a combination of
      psychological support, social transitioning to the desired gender or no intervention?
   2. For children and adolescents with gender dysphoria, what is the short-term and long-
      term safety of GnRH analogues compared with one or a combination of
      psychological support, social transitioning to the desired gender or no intervention?
   3. For children and adolescents with gender dysphoria, what is the cost-effectiveness of
      GnRH analogues compared to one or a combination of psychological support, social
      transitioning to the desired gender or no intervention?
   4. From the evidence selected, are there any subgroups of children and adolescents
      with gender dysphoria that may derive more (or less) advantage from treatment with
      GnRH analogues than the wider population of children and adolescents with gender
      dysphoria?
   5. From the evidence selected,
      a) what are the criteria used by the research studies to define gender dysphoria,
           gender identity disorder and gender incongruence of childhood?
      b) what were the ages at which participants commenced treatment with GnRH
           analogues?
      c) what was the duration of treatment with GnRH analogues?



PICO table

                            Children and adolescents aged 18 years or less who have gender
                            dysphoria, gender identity disorder or gender incongruence of childhood
                            as defined by study:

                            The following subgroups of children and adolescents with gender
                            dysphoria, gender identity disorder or gender incongruence of childhood
                            need to be considered:
                            • Sex assigned at birth males.
                            • Sex assigned at birth females.
                            • The duration of gender dysphoria: less than 6 months, 6-24 months,
 P – Population and             and more than 24 months.
 Indication                 • The age of onset of gender dysphoria.
                            • The age at which treatment was initiated.
                            • The age of onset of puberty.
                            • Tanner stage at which treatment was initiated.
                            • Children and adolescents with gender dysphoria who have a pre-
                                existing diagnosis of autistic spectrum disorder.
                            • Children and adolescents with gender dysphoria who had a
                                significant mental health symptom load at diagnosis including
                                anxiety, depression (with or without a history of self-harm and
                                suicidality), suicide attempts, psychosis, personality disorder,
                                Attention Deficit Hyperactivity Disorder and eating disorders.
                            Any GnRH analogue including: triptorelin*; buserelin; histrelin; goserelin
 I – Intervention           (Zoladex); leuprorelin/leuprolide (Prostap); nafarelin.




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                    * Triptorelin (brand names Gonapeptyl and Decapeptyl) are used in
                    Leeds Hospital, England. The search should include brand names as well
                    as generic names.
                    One or a combination of:
                    • Psychological support.
C – Comparator(s)
                    • Social transitioning to the gender with which the individual identifies.
                    • No intervention.
                    There are no known minimal clinically important differences and there are
                    no preferred timepoints for the outcome measures selected.

                    All outcomes should be stratified by:

                        •   The age at which treatment with GnRH analogues was initiated.
                        •   The length of treatment with GnRH analogues where possible.

                    A: Clinical Effectiveness

                    Critical to decision making

                        •   Impact on Gender Dysphoria
                            This outcome is critical because gender dysphoria in adolescents
                            and children is associated with significant distress and problems
                            functioning. Impact on gender dysphoria may be measured by
                            the Utrecht Gender Dysphoria Scale. Other measures as
                            reported in studies may be used as an alternative to the stated
                            measure.

                        •   Impact on mental health
                            Examples of mental health problems include self-harm, thoughts
                            of suicide, suicide attempts, eating disorders, depression/low
                            mood and anxiety. These outcomes are critical because self-
                            harm and thoughts of suicide have the potential to result in
                            significant physical harm and for completed suicides the death of
O – Outcomes                the young person. Disordered eating habits may cause
                            significant morbidity in young people. Depression and anxiety are
                            also critical outcomes because they may impact on social,
                            occupational, or other areas of functioning of children and
                            adolescents. The Child and Adolescent Psychiatric Assessment
                            (CAPA) may be used to measure depression and anxiety. The
                            impact on self-harm and suicidality (ideation and behaviour) may
                            be measured using the Suicide Ideation Questionnaire Junior.
                            Other measures may be used as an alternative to the stated
                            measures.

                        •   Impact on Quality of Life
                            This outcome is critical because gender dysphoria in children
                            and adolescents may be associated with a significant reduction
                            in health-related quality of life. Quality of Life may be measured
                            by the KINDL questionnaire, Kidscreen 52. Other measures as
                            reported in studies may be used as an alternative to the stated
                            measure.

                    Important to decision making

                        •   Impact on body Image
                            This outcome is important because some transgender young
                            people may desire to take steps to suppress features of their
                            physical appearance associated with their sex assigned at birth
                            or accentuate physical features of their desired gender. The
                            Body Image Scale could be used as a measure. Other measures
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                             as reported in studies may also be used as an alternative to the
                             stated measure.

                         •   Psychosocial Impact
                             Examples of psychosocial impact are: coping mechanisms which
                             may impact on substance misuse; family relationships; peer
                             relationships. This outcome is important because gender
                             dysphoria in adolescents and children is associated with
                             internalising and externalising behaviours and emotional and
                             behavioural problems which may impact on social and
                             occupational functioning. The child behavioural check list
                             (CBCL) may be used to measure the impact on psychosocial
                             functioning. Other measures as reported in studies may be used
                             as an alternative to the stated measure.

                         •   Engagement with health care services
                             This outcome is important because patient engagement with
                             healthcare services will impact on their clinical outcomes.
                             Engagement with health care services may be measured using
                             the Youth Health Care measure-satisfaction, utilization, and
                             needs (YHC-SUN) questionnaire. Loss to follow up should also
                             be ascertained as part of this outcome. Alternative measures to
                             the YHC-SUN questionnaire may be used as reported in studies.

                         •   Transitioning surgery – Impact on extent of and satisfaction
                             with surgery
                             This outcome is important because some children and
                             adolescents with gender dysphoria may proceed to transitioning
                             surgery. Stated measures of the extent of transitioning surgery
                             and satisfaction with surgery in studies may be reported.

                         •   Stopping treatment
                             The proportion of patients who stop treatment with GnRH
                             analogues and the reasons why. This outcome is important to
                             patients because there is uncertainty about the short- and long-
                             term safety and adverse effects of GnRH analogues in children
                             and adolescents being treated for gender dysphoria.

                     B: Safety
                         • Short and long-term safety and adverse effects of taking GnRH
                             analogues are important because GnRH analogues are not
                             licensed for the treatment of adolescents and children with
                             gender dysphoria. Aspects to be reported on should include:
                                  o Impact of the drug use such as its impact on bone
                                     density, arterial hypertension, cognitive
                                     development/functioning
                                  o Impact of withdrawing the drug such as, slipped upper
                                     femoral epiphysis, reversibility on the reproductive
                                     system, and any others as reported.

                     C: Cost effectiveness

                     Cost effectiveness studies should be reported.

Inclusion criteria

                     Systematic reviews, randomised controlled trials, controlled clinical trials,
                     cohort studies.
Study design
                     If no higher level quality evidence is found, case series can be
                     considered.

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 Language                    English only

 Patients                    Human studies only

 Age                         18 years or less

 Date limits                 2000-2020

 Exclusion criteria

                             Conference abstracts, non-systematic reviews, narrative reviews,
 Publication type
                             commentaries, letters, editorials, guidelines and pre-publication prints

 Study design                Case reports, resource utilisation studies



Appendix B Search strategy

Medline, Embase, the Cochrane Library, HTA and APA PsycInfo were searched on 23 July
2020, limiting the search to papers published in English language in the last 20 years.
Conference abstracts and letters were excluded.

Database: Medline
Platform: Ovid
Version: Ovid MEDLINE(R) <1946 to July 21, 2020>
Search date: 23/7/2020
Number of results retrieved: 144
Search strategy:

1 Gender Dysphoria/ (485)
2 Gender Identity/ (18452)
3 "Sexual and Gender Disorders"/ (75)
4 Transsexualism/ (3758)
5 Transgender Persons/ (3143)
6 Health Services for Transgender Persons/ (136)
7 exp Sex Reassignment Procedures/ (836)
8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*)).tw. (7435)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (12678)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(102343)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (6974)
12 (male-to-female or m2f or female-to-male or f2m).tw. (114841)
13 or/1-12 (252702)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (1137479)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (852400)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1913257)
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17 Minors/ (2574)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (2361686)
19 exp pediatrics/ (58118)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (836269)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2024207)
22 Puberty/ (13278)
23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(424246)
24 Schools/ (38104)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (7199)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (468992)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (89353)
28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (887838)
29 or/14-28 (5534171)
30 13 and 29 (79263)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (7)
32 30 or 31 (79263)
33 Gonadotropin-Releasing Hormone/ (27588)
34 (pubert* adj3 block*).ti,ab. (78)
35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (17299)
36 (GnRH adj2 analog*).ti,ab. (2541)
37 GnRH*.ti,ab. (20991)
38 "GnRH agonist*".ti,ab. (4040)
39 Triptorelin Pamoate/ (1906)
40 triptorelin.ti,ab. (677)
41 arvekap.ti,ab. (1)
42 ("AY 25650" or AY25650).ti,ab. (1)
43 ("BIM 21003" or BIM21003).ti,ab. (0)
44 ("BN 52014" or BN52014).ti,ab. (0)
45 ("CL 118532" or CL118532).ti,ab. (0)
46 Debio.ti,ab. (83)
47 diphereline.ti,ab. (17)
48 moapar.ti,ab. (0)
49 pamorelin.ti,ab. (0)
50 trelstar.ti,ab. (3)
51 triptodur.ti,ab. (1)
52 ("WY 42422" or WY42422).ti,ab. (0)
53 ("WY 42462" or WY42462).ti,ab. (0)
54 gonapeptyl.ti,ab. (0)
55 decapeptyl.ti,ab. (210)
56 salvacyl.ti,ab. (0)
57 Buserelin/ (2119)
58 buserelin.ti,ab. (1304)
                                                51
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59    bigonist.ti,ab. (0)
60    ("hoe 766" or hoe-766 or hoe766).ti,ab. (69)
61    profact.ti,ab. (2)
62    receptal.ti,ab. (30)
63    suprecur.ti,ab. (4)
64    suprefact.ti,ab. (22)
65    tiloryth.ti,ab. (0)
66    histrelin.ti,ab. (55)
67    "LHRH-hydrogel implant".ti,ab. (1)
68    ("RL 0903" or RL0903).ti,ab. (1)
69    ("SPD 424" or SPD424).ti,ab. (1)
70    goserelin.ti,ab. (875)
71    Goserelin/ (1612)
72    ("ici 118630" or ici118630).ti,ab. (51)
73    ("ZD-9393" or ZD9393).ti,ab. (0)
74    zoladex.ti,ab. (379)
75    leuprorelin.ti,ab. (413)
76    carcinil.ti,ab. (0)
77    enanton*.ti,ab. (23)
78    ginecrin.ti,ab. (0)
79    leuplin.ti,ab. (13)
80    Leuprolide/ (2900)
81    leuprolide.ti,ab. (1743)
82    lucrin.ti,ab. (11)
83    lupron.ti,ab. (162)
84    provren.ti,ab. (0)
85    procrin.ti,ab. (3)
86    ("tap 144" or tap144).ti,ab. (40)
87    (a-43818 or a43818).ti,ab. (3)
88    Trenantone.ti,ab. (1)
89    staladex.ti,ab. (0)
90    prostap.ti,ab. (6)
91    Nafarelin/ (327)
92    nafarelin.ti,ab. (251)
93    ("76932-56-4" or "76932564").ti,ab. (0)
94    ("76932-60-0" or "76932600").ti,ab. (0)
95    ("86220-42-0" or "86220420").ti,ab. (0)
96    ("rs 94991 298" or rs94991298).ti,ab. (0)
97    synarel.ti,ab. (12)
98    deslorelin.ti,ab. (263)
99    gonadorelin.ti,ab. (201)
100     ("33515-09-2" or "33515092").ti,ab. (0)
101     ("51952-41-1" or "51952411").ti,ab. (0)
102     ("52699-48-6" or "52699486").ti,ab. (0)
103     cetrorelix.ti,ab. (463)
104     cetrotide.ti,ab. (41)
105     ("NS 75A" or NS75A).ti,ab. (0)
106     ("NS 75B" or NS75B).ti,ab. (0)
                                             52
    Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 53 of 131



107      ("SB 075" or SB075).ti,ab. (0)
108      ("SB 75" or SB75).ti,ab. (63)
109      gonadoliberin.ti,ab. (143)
110      kryptocur.ti,ab. (6)
111      cetrorelix.ti,ab. (463)
112      cetrotide.ti,ab. (41)
113      antagon.ti,ab. (17)
114      ganirelix.ti,ab. (138)
115      ("ORG 37462" or ORG37462).ti,ab. (3)
116      orgalutran.ti,ab. (20)
117      ("RS 26306" or RS26306).ti,ab. (5)
118      ("AY 24031" or AY24031).ti,ab. (0)
119      factrel.ti,ab. (11)
120      fertagyl.ti,ab. (11)
121      lutrelef.ti,ab. (5)
122      lutrepulse.ti,ab. (3)
123      relefact.ti,ab. (10)
124      fertiral.ti,ab. (0)
125      (hoe471 or "hoe 471").ti,ab. (6)
126      relisorm.ti,ab. (4)
127      cystorelin.ti,ab. (18)
128      dirigestran.ti,ab. (5)
129      or/33-128 (42216)
130      32 and 129 (416)
131      limit 130 to english language (393)
132      limit 131 to (letter or historical article or comment or editorial or news or case reports)
(36)
133      131 not 132 (357)
134      animals/ not humans/ (4686361)
135      133 not 134 (181)
136      limit 135 to yr="2000 -Current" (144)

Database: Medline in-process
Platform: Ovid
Version: Ovid MEDLINE(R) In-Process & Other Non-Indexed Citations <1946 to July 21,
2020>
Search date: 23/7/2020
Number of results retrieved:
Search strategy: 42

1      Gender Dysphoria/ (0)
2      Gender Identity/ (0)
3      "Sexual and Gender Disorders"/ (0)
4      Transsexualism/ (0)
5      Transgender Persons/ (0)
6      Health Services for Transgender Persons/ (0)
7      exp Sex Reassignment Procedures/ (0)


                                                 53
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8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*)).tw. (1645)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (2333)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(20884)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (968)
12 (male-to-female or m2f or female-to-male or f2m).tw. (15513)
13 or/1-12 (39905)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (80723)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
17 Minors/ (0)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (321871)
19 exp pediatrics/ (0)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (119783)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
22 Puberty/ (0)
23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(60264)
24 Schools/ (0)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (69233)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (10319)
28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (112800)
29 or/14-28 (525529)
30 13 and 29 (9196)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (3)
32 30 or 31 (9197)
33 Gonadotropin-Releasing Hormone/ (0)
34 (pubert* adj3 block*).ti,ab. (19)
35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (1425)
36 (GnRH adj2 analog*).ti,ab. (183)
37 GnRH*.ti,ab. (1695)
38 "GnRH agonist*".ti,ab. (379)
39 Triptorelin Pamoate/ (0)
40 triptorelin.ti,ab. (72)
41 arvekap.ti,ab. (0)
42 ("AY 25650" or AY25650).ti,ab. (0)
43 ("BIM 21003" or BIM21003).ti,ab. (0)
44 ("BN 52014" or BN52014).ti,ab. (0)
45 ("CL 118532" or CL118532).ti,ab. (0)
                                                54
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46   Debio.ti,ab. (11)
47   diphereline.ti,ab. (6)
48   moapar.ti,ab. (0)
49   pamorelin.ti,ab. (0)
50   trelstar.ti,ab. (0)
51   triptodur.ti,ab. (0)
52   ("WY 42422" or WY42422).ti,ab. (0)
53   ("WY 42462" or WY42462).ti,ab. (0)
54   gonapeptyl.ti,ab. (0)
55   decapeptyl.ti,ab. (8)
56   salvacyl.ti,ab. (0)
57   Buserelin/ (0)
58   buserelin.ti,ab. (59)
59   bigonist.ti,ab. (0)
60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (3)
61   profact.ti,ab. (0)
62   receptal.ti,ab. (0)
63   suprecur.ti,ab. (1)
64   suprefact.ti,ab. (2)
65   tiloryth.ti,ab. (0)
66   histrelin.ti,ab. (9)
67   "LHRH-hydrogel implant".ti,ab. (0)
68   ("RL 0903" or RL0903).ti,ab. (0)
69   ("SPD 424" or SPD424).ti,ab. (0)
70   goserelin.ti,ab. (68)
71   Goserelin/ (0)
72   ("ici 118630" or ici118630).ti,ab. (0)
73   ("ZD-9393" or ZD9393).ti,ab. (0)
74   zoladex.ti,ab. (6)
75   leuprorelin.ti,ab. (47)
76   carcinil.ti,ab. (0)
77   enanton*.ti,ab. (1)
78   ginecrin.ti,ab. (0)
79   leuplin.ti,ab. (1)
80   Leuprolide/ (0)
81   leuprolide.ti,ab. (121)
82   lucrin.ti,ab. (4)
83   lupron.ti,ab. (10)
84   provren.ti,ab. (0)
85   procrin.ti,ab. (0)
86   ("tap 144" or tap144).ti,ab. (0)
87   (a-43818 or a43818).ti,ab. (0)
88   Trenantone.ti,ab. (1)
89   staladex.ti,ab. (0)
90   prostap.ti,ab. (0)
91   Nafarelin/ (0)
92   nafarelin.ti,ab. (5)
93   ("76932-56-4" or "76932564").ti,ab. (0)
                                            55
    Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 56 of 131



94     ("76932-60-0" or "76932600").ti,ab. (0)
95     ("86220-42-0" or "86220420").ti,ab. (0)
96     ("rs 94991 298" or rs94991298).ti,ab. (0)
97     synarel.ti,ab. (0)
98     deslorelin.ti,ab. (14)
99     gonadorelin.ti,ab. (13)
100      ("33515-09-2" or "33515092").ti,ab. (0)
101      ("51952-41-1" or "51952411").ti,ab. (0)
102      ("52699-48-6" or "52699486").ti,ab. (0)
103      cetrorelix.ti,ab. (31)
104      cetrotide.ti,ab. (5)
105      ("NS 75A" or NS75A).ti,ab. (0)
106      ("NS 75B" or NS75B).ti,ab. (0)
107      ("SB 075" or SB075).ti,ab. (0)
108      ("SB 75" or SB75).ti,ab. (2)
109      gonadoliberin.ti,ab. (4)
110      kryptocur.ti,ab. (1)
111      cetrorelix.ti,ab. (31)
112      cetrotide.ti,ab. (5)
113      antagon.ti,ab. (0)
114      ganirelix.ti,ab. (8)
115      ("ORG 37462" or ORG37462).ti,ab. (0)
116      orgalutran.ti,ab. (3)
117      ("RS 26306" or RS26306).ti,ab. (0)
118      ("AY 24031" or AY24031).ti,ab. (0)
119      factrel.ti,ab. (2)
120      fertagyl.ti,ab. (1)
121      lutrelef.ti,ab. (0)
122      lutrepulse.ti,ab. (0)
123      relefact.ti,ab. (0)
124      fertiral.ti,ab. (0)
125      (hoe471 or "hoe 471").ti,ab. (0)
126      relisorm.ti,ab. (0)
127      cystorelin.ti,ab. (1)
128      dirigestran.ti,ab. (0)
129      or/33-128 (2332)
130      32 and 129 (45)
131      limit 130 to english language (45)
132      limit 131 to yr="2000 -Current" (42)

Database: Medline epubs ahead of print
Platform: Ovid
Version: Ovid MEDLINE(R) Epub Ahead of Print <July 21, 2020>
Search date: 23/7/2020
Number of results retrieved: 8
Search strategy:

1     Gender Dysphoria/ (0)
                                              56
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2 Gender Identity/ (0)
3 "Sexual and Gender Disorders"/ (0)
4 Transsexualism/ (0)
5 Transgender Persons/ (0)
6 Health Services for Transgender Persons/ (0)
7 exp Sex Reassignment Procedures/ (0)
8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*)).tw. (486)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (640)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(1505)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (178)
12 (male-to-female or m2f or female-to-male or f2m).tw. (2480)
13 or/1-12 (4929)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (15496)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
17 Minors/ (0)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (53563)
19 exp pediatrics/ (0)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (22796)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
22 Puberty/ (0)
23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(13087)
24 Schools/ (0)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (12443)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (1416)
28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (20166)
29 or/14-28 (88366)
30 13 and 29 (1638)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (1)
32 30 or 31 (1638)
33 Gonadotropin-Releasing Hormone/ (0)
34 (pubert* adj3 block*).ti,ab. (2)
35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (176)
36 (GnRH adj2 analog*).ti,ab. (30)
37 GnRH*.ti,ab. (223)
38 "GnRH agonist*".ti,ab. (49)
39 Triptorelin Pamoate/ (0)
                                                57
 Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 58 of 131



40   triptorelin.ti,ab. (12)
41   arvekap.ti,ab. (0)
42   ("AY 25650" or AY25650).ti,ab. (0)
43   ("BIM 21003" or BIM21003).ti,ab. (0)
44   ("BN 52014" or BN52014).ti,ab. (0)
45   ("CL 118532" or CL118532).ti,ab. (0)
46   Debio.ti,ab. (2)
47   diphereline.ti,ab. (1)
48   moapar.ti,ab. (0)
49   pamorelin.ti,ab. (0)
50   trelstar.ti,ab. (0)
51   triptodur.ti,ab. (0)
52   ("WY 42422" or WY42422).ti,ab. (0)
53   ("WY 42462" or WY42462).ti,ab. (0)
54   gonapeptyl.ti,ab. (0)
55   decapeptyl.ti,ab. (0)
56   salvacyl.ti,ab. (0)
57   Buserelin/ (0)
58   buserelin.ti,ab. (7)
59   bigonist.ti,ab. (0)
60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
61   profact.ti,ab. (0)
62   receptal.ti,ab. (0)
63   suprecur.ti,ab. (0)
64   suprefact.ti,ab. (1)
65   tiloryth.ti,ab. (0)
66   histrelin.ti,ab. (2)
67   "LHRH-hydrogel implant".ti,ab. (0)
68   ("RL 0903" or RL0903).ti,ab. (0)
69   ("SPD 424" or SPD424).ti,ab. (0)
70   goserelin.ti,ab. (11)
71   Goserelin/ (0)
72   ("ici 118630" or ici118630).ti,ab. (0)
73   ("ZD-9393" or ZD9393).ti,ab. (0)
74   zoladex.ti,ab. (1)
75   leuprorelin.ti,ab. (13)
76   carcinil.ti,ab. (0)
77   enanton*.ti,ab. (1)
78   ginecrin.ti,ab. (0)
79   leuplin.ti,ab. (0)
80   Leuprolide/ (0)
81   leuprolide.ti,ab. (22)
82   lucrin.ti,ab. (0)
83   lupron.ti,ab. (2)
84   provren.ti,ab. (0)
85   procrin.ti,ab. (0)
86   ("tap 144" or tap144).ti,ab. (1)
87   (a-43818 or a43818).ti,ab. (0)
                                            58
 Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 59 of 131



88    Trenantone.ti,ab. (0)
89    staladex.ti,ab. (0)
90    prostap.ti,ab. (0)
91    Nafarelin/ (0)
92    nafarelin.ti,ab. (4)
93    ("76932-56-4" or "76932564").ti,ab. (0)
94    ("76932-60-0" or "76932600").ti,ab. (0)
95    ("86220-42-0" or "86220420").ti,ab. (0)
96    ("rs 94991 298" or rs94991298).ti,ab. (0)
97    synarel.ti,ab. (0)
98    deslorelin.ti,ab. (3)
99    gonadorelin.ti,ab. (3)
100     ("33515-09-2" or "33515092").ti,ab. (0)
101     ("51952-41-1" or "51952411").ti,ab. (0)
102     ("52699-48-6" or "52699486").ti,ab. (0)
103     cetrorelix.ti,ab. (6)
104     cetrotide.ti,ab. (2)
105     ("NS 75A" or NS75A).ti,ab. (0)
106     ("NS 75B" or NS75B).ti,ab. (0)
107     ("SB 075" or SB075).ti,ab. (0)
108     ("SB 75" or SB75).ti,ab. (0)
109     gonadoliberin.ti,ab. (0)
110     kryptocur.ti,ab. (0)
111     cetrorelix.ti,ab. (6)
112     cetrotide.ti,ab. (2)
113     antagon.ti,ab. (1)
114     ganirelix.ti,ab. (1)
115     ("ORG 37462" or ORG37462).ti,ab. (0)
116     orgalutran.ti,ab. (0)
117     ("RS 26306" or RS26306).ti,ab. (0)
118     ("AY 24031" or AY24031).ti,ab. (0)
119     factrel.ti,ab. (0)
120     fertagyl.ti,ab. (0)
121     lutrelef.ti,ab. (0)
122     lutrepulse.ti,ab. (0)
123     relefact.ti,ab. (0)
124     fertiral.ti,ab. (0)
125     (hoe471 or "hoe 471").ti,ab. (0)
126     relisorm.ti,ab. (0)
127     cystorelin.ti,ab. (0)
128     dirigestran.ti,ab. (0)
129     or/33-128 (310)
130     32 and 129 (8)
131     limit 130 to english language (8)
132     limit 131 to yr="2000 -Current" (8)

Database: Medline daily update
Platform: Ovid
                                              59
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Version: Ovid MEDLINE(R) Daily Update <July 21, 2020>
Search date: 23/7/2020
Number of results retrieved: 1
Search strategy

1 Gender Dysphoria/ (4)
2 Gender Identity/ (38)
3 "Sexual and Gender Disorders"/ (0)
4 Transsexualism/ (2)
5 Transgender Persons/ (26)
6 Health Services for Transgender Persons/ (1)
7 exp Sex Reassignment Procedures/ (3)
8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*)).tw. (24)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (39)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(87)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (15)
12 (male-to-female or m2f or female-to-male or f2m).tw. (181)
13 or/1-12 (358)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (932)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (981)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1756)
17 Minors/ (3)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3672)
19 exp pediatrics/ (75)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1658)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2006)
22 Puberty/ (8)
23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(732)
24 Schools/ (56)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (5)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (622)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (98)
28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (1301)
29 or/14-28 (6705)
30 13 and 29 (130)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (0)
32 30 or 31 (130)
33 Gonadotropin-Releasing Hormone/ (11)
                                                60
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34   (pubert* adj3 block*).ti,ab. (0)
35   ((gonadotrophin or gonadotropin) and releasing).ti,ab. (10)
36   (GnRH adj2 analog*).ti,ab. (2)
37   GnRH*.ti,ab. (14)
38   "GnRH agonist*".ti,ab. (4)
39   Triptorelin Pamoate/ (1)
40   triptorelin.ti,ab. (1)
41   arvekap.ti,ab. (0)
42   ("AY 25650" or AY25650).ti,ab. (0)
43   ("BIM 21003" or BIM21003).ti,ab. (0)
44   ("BN 52014" or BN52014).ti,ab. (0)
45   ("CL 118532" or CL118532).ti,ab. (0)
46   Debio.ti,ab. (1)
47   diphereline.ti,ab. (0)
48   moapar.ti,ab. (0)
49   pamorelin.ti,ab. (0)
50   trelstar.ti,ab. (0)
51   triptodur.ti,ab. (0)
52   ("WY 42422" or WY42422).ti,ab. (0)
53   ("WY 42462" or WY42462).ti,ab. (0)
54   gonapeptyl.ti,ab. (0)
55   decapeptyl.ti,ab. (0)
56   salvacyl.ti,ab. (0)
57   Buserelin/ (0)
58   buserelin.ti,ab. (0)
59   bigonist.ti,ab. (0)
60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
61   profact.ti,ab. (0)
62   receptal.ti,ab. (0)
63   suprecur.ti,ab. (0)
64   suprefact.ti,ab. (0)
65   tiloryth.ti,ab. (0)
66   histrelin.ti,ab. (0)
67   "LHRH-hydrogel implant".ti,ab. (0)
68   ("RL 0903" or RL0903).ti,ab. (0)
69   ("SPD 424" or SPD424).ti,ab. (0)
70   goserelin.ti,ab. (1)
71   Goserelin/ (2)
72   ("ici 118630" or ici118630).ti,ab. (0)
73   ("ZD-9393" or ZD9393).ti,ab. (0)
74   zoladex.ti,ab. (0)
75   leuprorelin.ti,ab. (0)
76   carcinil.ti,ab. (0)
77   enanton*.ti,ab. (0)
78   ginecrin.ti,ab. (0)
79   leuplin.ti,ab. (0)
80   Leuprolide/ (0)
81   leuprolide.ti,ab. (0)
                                            61
 Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 62 of 131



82    lucrin.ti,ab. (0)
83    lupron.ti,ab. (0)
84    provren.ti,ab. (0)
85    procrin.ti,ab. (0)
86    ("tap 144" or tap144).ti,ab. (0)
87    (a-43818 or a43818).ti,ab. (0)
88    Trenantone.ti,ab. (0)
89    staladex.ti,ab. (0)
90    prostap.ti,ab. (0)
91    Nafarelin/ (0)
92    nafarelin.ti,ab. (0)
93    ("76932-56-4" or "76932564").ti,ab. (0)
94    ("76932-60-0" or "76932600").ti,ab. (0)
95    ("86220-42-0" or "86220420").ti,ab. (0)
96    ("rs 94991 298" or rs94991298).ti,ab. (0)
97    synarel.ti,ab. (0)
98    deslorelin.ti,ab. (0)
99    gonadorelin.ti,ab. (0)
100     ("33515-09-2" or "33515092").ti,ab. (0)
101     ("51952-41-1" or "51952411").ti,ab. (0)
102     ("52699-48-6" or "52699486").ti,ab. (0)
103     cetrorelix.ti,ab. (0)
104     cetrotide.ti,ab. (0)
105     ("NS 75A" or NS75A).ti,ab. (0)
106     ("NS 75B" or NS75B).ti,ab. (0)
107     ("SB 075" or SB075).ti,ab. (0)
108     ("SB 75" or SB75).ti,ab. (0)
109     gonadoliberin.ti,ab. (0)
110     kryptocur.ti,ab. (0)
111     cetrorelix.ti,ab. (0)
112     cetrotide.ti,ab. (0)
113     antagon.ti,ab. (0)
114     ganirelix.ti,ab. (0)
115     ("ORG 37462" or ORG37462).ti,ab. (0)
116     orgalutran.ti,ab. (0)
117     ("RS 26306" or RS26306).ti,ab. (0)
118     ("AY 24031" or AY24031).ti,ab. (0)
119     factrel.ti,ab. (0)
120     fertagyl.ti,ab. (0)
121     lutrelef.ti,ab. (0)
122     lutrepulse.ti,ab. (0)
123     relefact.ti,ab. (0)
124     fertiral.ti,ab. (0)
125     (hoe471 or "hoe 471").ti,ab. (0)
126     relisorm.ti,ab. (0)
127     cystorelin.ti,ab. (0)
128     dirigestran.ti,ab. (0)
129     or/33-128 (23)
                                              62
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130    32 and 129 (1)
131    limit 130 to english language (1)
132    limit 131 to yr="2000 -Current" (1)

Database: Embase
Platform: Ovid
Version: Embase <1974 to 2020 July 22>
Search date: 23/7/2020
Number of results retrieved: 367
Search strategy:

1 exp Gender Dysphoria/ (5399)
2 Gender Identity/ (16820)
3 "Sexual and Gender Disorders"/ (24689)
4 Transsexualism/ (3869)
5 exp Transgender/ (6597)
6 Health Services for Transgender Persons/ (158848)
7 exp Sex Reassignment Procedures/ or sex transformation/ (3058)
8 (gender* adj3 (dysphori* or affirm* or incongru* or identi* or disorder* or confus* or minorit*
or queer*)).tw. (13005)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (22509)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(154446)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (10327)
12 (male-to-female or m2f or female-to-male or f2m).tw. (200166)
13 or/1-12 (582812)
14     exp juvenile/ or Child Behavior/ or Child Welfare/ or Child Health/ or infant welfare/ or
"minor (person)"/ or elementary student/ (3437324)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (1186161)
16 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3586795)
17 exp pediatrics/ (106214)
18 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1491597)
19       exp adolescence/ or exp adolescent behavior/ or adolescent health/ or high school
student/ or middle school student/ (105108)
20     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(641660)
21     school/ or high school/ or kindergarten/ or middle school/ or primary school/ or nursery
school/ or day care/ (103791)
22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (687437)
23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (138908)
24     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (1562903)
                                                63
 Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 64 of 131



25     or/14-24 (7130881)
26     13 and 25 (182161)
27      (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(17)
28     26 or 27 (182161)
29     gonadorelin/ (37580)
30     (pubert* adj3 block*).ti,ab. (142)
31     ((gonadotrophin or gonadotropin) and releasing).ti,ab. (21450)
32     (GnRH adj2 analog*).ti,ab. (4013)
33     GnRH*.ti,ab. (29862)
34     "GnRH agonist*".ti,ab. (6719)
35     exp gonadorelin agonist/ or gonadorelin derivative/ or gonadorelin acetate/ (23304)
36     Triptorelin/ (5427)
37     triptorelin.ti,ab. (1182)
38     arvekap.ti,ab. (3)
39     ("AY 25650" or AY25650).ti,ab. (1)
40     ("BIM 21003" or BIM21003).ti,ab. (0)
41     ("BN 52014" or BN52014).ti,ab. (0)
42     ("CL 118532" or CL118532).ti,ab. (0)
43     Debio.ti,ab. (185)
44     diphereline.ti,ab. (51)
45     moapar.ti,ab. (0)
46     pamorelin.ti,ab. (0)
47     trelstar.ti,ab. (5)
48     triptodur.ti,ab. (1)
49     ("WY 42422" or WY42422).ti,ab. (0)
50     ("WY 42462" or WY42462).ti,ab. (0)
51     gonapeptyl.ti,ab. (10)
52     decapeptyl.ti,ab. (307)
53     salvacyl.ti,ab. (1)
54     buserelin acetate/ or buserelin/ (5164)
55     buserelin.ti,ab. (1604)
56     bigonist.ti,ab. (1)
57     ("hoe 766" or hoe-766 or hoe766).ti,ab. (89)
58     profact.ti,ab. (4)
59     receptal.ti,ab. (37)
60     suprecur.ti,ab. (8)
61     suprefact.ti,ab. (30)
62     tiloryth.ti,ab. (0)
63     histrelin/ (446)
64     histrelin.ti,ab. (107)
65     "LHRH-hydrogel implant".ti,ab. (1)
66     ("RL 0903" or RL0903).ti,ab. (1)
67     ("SPD 424" or SPD424).ti,ab. (1)
68     goserelin.ti,ab. (1487)
69     Goserelin/ (7128)
70     ("ici 118630" or ici118630).ti,ab. (49)
71     ("ZD-9393" or ZD9393).ti,ab. (0)
                                               64
 Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 65 of 131



72    zoladex.ti,ab. (501)
73    leuprorelin/ (11312)
74    leuprorelin.ti,ab. (727)
75    carcinil.ti,ab. (0)
76    enanton*.ti,ab. (38)
77    ginecrin.ti,ab. (1)
78    leuplin.ti,ab. (26)
79    leuprolide.ti,ab. (2788)
80    lucrin.ti,ab. (47)
81    lupron.ti,ab. (361)
82    provren.ti,ab. (0)
83    procrin.ti,ab. (11)
84    ("tap 144" or tap144).ti,ab. (63)
85    (a-43818 or a43818).ti,ab. (3)
86    Trenantone.ti,ab. (7)
87    staladex.ti,ab. (0)
88    prostap.ti,ab. (11)
89    nafarelin acetate/ or nafarelin/ (1441)
90    nafarelin.ti,ab. (324)
91    ("76932-56-4" or "76932564").ti,ab. (0)
92    ("76932-60-0" or "76932600").ti,ab. (0)
93    ("86220-42-0" or "86220420").ti,ab. (0)
94    ("rs 94991 298" or rs94991298).ti,ab. (0)
95    synarel.ti,ab. (28)
96    deslorelin/ (452)
97    deslorelin.ti,ab. (324)
98    gonadorelin.ti,ab. (338)
99    ("33515-09-2" or "33515092").ti,ab. (0)
100     ("51952-41-1" or "51952411").ti,ab. (0)
101     ("52699-48-6" or "52699486").ti,ab. (0)
102     cetrorelix/ (2278)
103     cetrorelix.ti,ab. (717)
104     cetrotide.ti,ab. (113)
105     ("NS 75A" or NS75A).ti,ab. (0)
106     ("NS 75B" or NS75B).ti,ab. (0)
107     ("SB 075" or SB075).ti,ab. (1)
108     ("SB 75" or SB75).ti,ab. (76)
109     gonadoliberin.ti,ab. (152)
110     kryptocur.ti,ab. (6)
111     cetrorelix.ti,ab. (717)
112     cetrotide.ti,ab. (113)
113     antagon.ti,ab. (32)
114     ganirelix/ (1284)
115     ganirelix.ti,ab. (293)
116     ("ORG 37462" or ORG37462).ti,ab. (4)
117     orgalutran/ (1284)
118     orgalutran.ti,ab. (68)
119     ("RS 26306" or RS26306).ti,ab. (6)
                                              65
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120 ("AY 24031" or AY24031).ti,ab. (0)
121 factrel.ti,ab. (14)
122 fertagyl.ti,ab. (20)
123 lutrelef.ti,ab. (7)
124 lutrepulse.ti,ab. (6)
125 relefact.ti,ab. (10)
126 fertiral.ti,ab. (0)
127 (hoe471 or "hoe 471").ti,ab. (4)
128 relisorm.ti,ab. (6)
129 cystorelin.ti,ab. (26)
130 dirigestran.ti,ab. (5)
131 or/29-130 (80790)
132 28 and 131 (988)
133 limit 132 to english language (940)
134 133 not (letter or editorial).pt. (924)
135      134 not (conference abstract or conference paper or conference proceeding or
"conference review").pt. (683)
136 nonhuman/ not (human/ and nonhuman/) (4649157)
137 135 not 136 (506)
138 limit 137 to yr="2000 -Current" (420)
139 elsevier.cr. (25912990)
140 138 and 139 (372)
141 remove duplicates from 140 (367)

Database: Cochrane Library – incorporating Cochrane Database of Systematic Reviews
(CDSR); CENTRAL
Platform: Wiley
Version:
       CDSR – Issue 7 of 12, July 2020
       CENTRAL – Issue 7 of 12, July 2020
Search date: 23/7/2020
Number of results retrieved: CDSR – 1; CENTRAL - 8.

#1     [mh ^"Gender Dysphoria"]      3
#2     [mh ^"gender identity"]       227
#3     [mh ^"sexual and gender disorders"] 2
#4     [mh ^transsexualism] 27
#5     [mh ^"transgender persons"] 36
#6     [mh ^"health services for transgender persons"]     0
#7     [mh "sex reassignment procedures"] 4
#8     (gender* NEAR/3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus*
or minorit* or queer*)):ti,ab 308
#9     (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*):ti,ab    929
#10    (trans or crossgender* or cross-gender* or crossex* or cross-sex* or
genderqueer*):ti,ab 3915
#11    ((sex or gender*) NEAR/3 (reassign* or chang* or transform* or transition*)):ti,ab 493
#12    (male-to-female or m2f or female-to-male or f2m):ti,ab     489
                                             66
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#13     {or #1-#12}       6142
#14     [mh infant] or [mh ^"infant health"] or [mh ^"infant welfare"] 27769
#15     (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*):ti,ab 69476
#16     [mh child] or [mh "child behavior"] or [mh ^"child health"] or [mh ^"child welfare"]
        42703
#17     [mh ^minors] 8
#18     (child* or minor or minors or boy* or girl* or kid or kids or young*):ti,ab      175826
#19     [mh pediatrics] 661
#20     (pediatric* or paediatric* or peadiatric*):ti,ab 30663
#21     [mh ^adolescent] or [mh ^"adolescent behavior"] or [mh ^"adolescent health"]
        102154
#22     [mh ^puberty] 295
#23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*):ti,ab
        34139
#24     [mh ^schools] 1914
#25     [mh ^"Child Day Care Centers"] or [mh nurseries] or [mh ^"schools, nursery"]              277
#26     (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school*
or pupil* or student*):ti,ab     54723
#27     (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") NEAR/2 (year or years or age or ages
or aged)):ti,ab 6710
#28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
NEAR/2 (year or years or age or ages or aged)):ti,ab             196881
#29     {or #14-#28} 469351
#30     #13 and #29 2146
#31     (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*):ti,ab
        0
#32     #30 or #31        2146
#33     [mh ^"Gonadotropin-Releasing Hormone"] 1311
#34     (pubert* NEAR/3 block*):ti,ab 1
#35     ((gonadotrophin or gonadotropin) and releasing):ti,ab            2095
#36     (GnRH NEAR/2 analog*):ti,ab              493
#37     GnRH*:ti,ab 3764
#38     "GnRH agonist*":ti,ab 1399
#39     [mh ^"Triptorelin Pamoate"] 451
#40     triptorelin:ti,ab 451
#41     arvekap:ti,ab 4
#42     ("AY 25650" or AY25650):ti,ab            0
#43     ("BIM 21003" or BIM21003):ti,ab          0
#44     ("BN 52014" or BN52014):ti,ab            0
#45     ("CL 118532" or CL118532):ti,ab          0
#46     Debio:ti,ab       301
#47     diphereline:ti,ab        25
#48     moapar:ti,ab 0
#49     pamorelin:ti,ab          5
#50     trelstar:ti,ab 3
                                                 67
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#51   triptodur:ti,ab 0
#52   ("WY 42422" or WY42422):ti,ab        0
#53   ("WY 42462" or WY42462):ti,ab        0
#54   gonapeptyl:ti,ab       11
#55   decapeptyl:ti,ab       135
#56   salvacyl:ti,ab 0
#57   [mh ^Buserelin]        290
#58   Buserelin:ti,ab 339
#59   bigonist:ti,ab 0
#60   ("hoe 766" or hoe-766 or hoe766):ti,ab    11
#61   profact:ti,ab 1
#62   receptal:ti,ab 4
#63   suprecur:ti,ab 0
#64   suprefact:ti,ab 28
#65   tiloryth:ti,ab 0
#66   histrelin:ti,ab 5
#67   "LHRH-hydrogel implant":ti,ab        0
#68   ("RL 0903" or RL0903):ti,ab 0
#69   ("SPD 424" or SPD424):ti,ab 0
#70   goserelin:ti,ab 761
#71   [mh ^goserelin]        568
#72   ("ici 118630" or ici118630):ti,ab    7
#73   ("ZD-9393" or ZD9393):ti,ab 1
#74   zoladex:ti,ab 318
#75   leuprorelin:ti,ab      248
#76   carcinil:ti,ab 0
#77   enanton*:ti,ab 21
#78   ginecrin:ti,ab 1
#79   leuplin:ti,ab 7
#80   [mh ^Leuprolide]       686
#81   leuprolide:ti,ab 696
#82   lucrin:ti,ab     21
#83   lupron:ti,ab     77
#84   provren:ti,ab 0
#85   procrin:ti,ab 2
#86   ("tap 144" or tap144):ti,ab     24
#87   (a-43818 or a43818):ti,ab       0
#88   Trenantone:ti,ab       3
#89   staladex:ti,ab 0
#90   prostap:ti,ab 9
#91   [mh ^Nafarelin]        77
#92   nafarelin:ti,ab 114
#93   ("76932-56-4" or "76932564"):ti,ab 0
#94   ("76932-60-0" or "76932600"):ti,ab 2
#95   ("86220-42-0" or "86220420"):ti,ab 0
#96   ("rs 94991 298" or rs94991298):ti,ab 0
#97   synarel:ti,ab 10
#98   deslorelin:ti,ab 16
                                           68
    Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 69 of 131



#99   gonadorelin:ti,ab      11
#100 ("33515-09-2" or "33515092"):ti,ab 0
#101 ("51952-41-1" or "51952411"):ti,ab 0
#102 ("52699-48-6" or "52699486"):ti,ab 0
#103 cetrorelix:ti,ab 221
#104 cetrotide:ti,ab 111
#105 ("NS 75A" or NS75A):ti,ab 0
#106 ("NS 75B" or NS75B):ti,ab 0
#107 ("SB 075" or SB075):ti,ab        0
#108 ("SB 75" or SB75):ti,ab          10
#109 gonadoliberin:ti,ab     5
#110 kryptocur:ti,ab 0
#111 cetrorelix:ti,ab 221
#112 cetrotide:ti,ab 111
#113 antagon:ti,ab 12
#114 ganirelix:ti,ab 142
#115 ("ORG 37462" or ORG37462):ti,ab 4
#116 orgalutran:ti,ab        45
#117 ("RS 26306" or RS26306):ti,ab             0
#118 ("AY 24031" or AY24031):ti,ab             0
#119 factrel:ti,ab    1
#120 fertagyl:ti,ab 0
#121 lutrelef:ti,ab 0
#122 lutrepulse:ti,ab 1
#123 relefact:ti,ab 1
#124 fertiral:ti,ab   0
#125 (hoe471 or "hoe 471"):ti,ab 3
#126 relisorm:ti,ab 0
#127 cystorelin:ti,ab 0
#128 dirigestran:ti,ab       0
#129 {or #33-#128} 6844
#130 #32 and #129 27
#131 #130 with Cochrane Library publication date Between Jan 2000 and Jul 2020, in
Cochrane Reviews 1
#132 #130 27
#133 "conference":pt or (clinicaltrials or trialsearch):so 492465
#134 #132 not #133 9
#135 #134 with Publication Year from 2000 to 2020, in Trials     8

Database: HTA
Platform: CRD
Version: HTA
Search date: 23/7/2020
Number of results retrieved: 26
Search strategy:

1       MeSH DESCRIPTOR Gender Dysphoria EXPLODE ALL TREES 0
2       MeSH DESCRIPTOR Gender Identity EXPLODE ALL TREES  14
                                       69
    Case 2:22-cv-00184-LCB-CWB Document 69-9 Filed 05/02/22 Page 70 of 131



3       MeSH DESCRIPTOR Sexual and Gender Disorders EXPLODE ALL TREES                        2

4    MeSH DESCRIPTOR Transsexualism EXPLODE ALL TREES      12
5    MeSH DESCRIPTOR Transgender Persons EXPLODE ALL TREES      3
6    MeSH DESCRIPTOR Health Services for Transgender Persons EXPLODE ALL
TREES     0
7    MeSH DESCRIPTOR Sex Reassignment Procedures EXPLODE ALL TREES   1

8       ((gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*))) 28
9       ((transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*)) 76
10      ((trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*))
        83
11      (((sex or gender*) adj3 (reassign* or chang* or transform* or transition*))) 24
12      (male-to-female or m2f or female-to-male or f2m) 86
13      ((transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*))
        0
14      #1 OR #2 OR #3 OR #4 OR #5 OR #6 OR #7 OR #8 OR #9 OR #10 OR #11 OR #12
OR #13          262
15      (#1 OR #2 OR #3 OR #4 OR #5 OR #6 OR #7 OR #8 OR #9 OR #10 OR #11 OR #12
OR #13) IN HTA          30

*26 results are from 200 onwards. Downloaded as a set to sift for drug terms rather than
continuing with search strategy.

Database: APA PsycInfo
Search date: July 2020 (Week 2)
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (936)
2 Gender Identity/ (8648)
3 Transsexualism/ (2825)
4 Transgender/ (5257)
5 exp Gender Reassignment/ (568)
6       (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
minorit* or queer*)).tw. (15471)
7 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
or transperson* or transpeopl*).tw. (13028)
8      (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(7679)
9 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (5796)
10 (male-to-female or m2f or female-to-male or f2m).tw. (63688)
11 or/1-10 (99560)
12 exp Infant Development/ (21841)
13 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (150219)


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14 Child Characteristics/ or exp Child Behavior/ or Child Psychology/ or exp Child Welfare/
or Child Psychiatry/ (23423)
15 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (984230)
16 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (78962)
17         Adolescent Psychiatry/ or Adolescent Behavior/ or Adolescent Development/ or
Adolescent Psychology/ or Adolescent Characteristics/ or Adolescent Health/ (62142)
18 Puberty/ (2753)
19     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(347604)
20       Schools/ or exp elementary school students/ or high school students/ or junior high
school students/ or middle school students/ (113053)
21 Child Day Care/ or Nursery Schools/ (2836)
22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (772814)
23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
"sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (21475)
24     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (285697)
25 or/12-24 (1772959)
26 11 and 25 (49612)
27      (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(14)
28 26 or 27 (49613)
29 exp Gonadotropic Hormones/ (4226)
30 (pubert* adj3 block*).ti,ab. (29)
31 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (1060)
32 (GnRH adj2 analog*).ti,ab. (49)
33 GnRH*.ti,ab. (998)
34 "GnRH agonist*".ti,ab. (72)
35 triptorelin.ti,ab. (25)
36 arvekap.ti,ab. (0)
37 ("AY 25650" or AY25650).ti,ab. (0)
38 ("BIM 21003" or BIM21003).ti,ab. (0)
39 ("BN 52014" or BN52014).ti,ab. (0)
40 ("CL 118532" or CL118532).ti,ab. (0)
41 Debio.ti,ab. (7)
42 diphereline.ti,ab. (0)
43 moapar.ti,ab. (0)
44 pamorelin.ti,ab. (0)
45 trelstar.ti,ab. (0)
46 triptodur.ti,ab. (0)
47 ("WY 42422" or WY42422).ti,ab. (0)
48 ("WY 42462" or WY42462).ti,ab. (0)
49 gonapeptyl.ti,ab. (0)
50 decapeptyl.ti,ab. (3)
51 salvacyl.ti,ab. (1)
                                                71
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52   buserelin.ti,ab. (6)
53   bigonist.ti,ab. (0)
54   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
55   profact.ti,ab. (0)
56   receptal.ti,ab. (0)
57   suprecur.ti,ab. (0)
58   suprefact.ti,ab. (0)
59   tiloryth.ti,ab. (0)
60   histrelin.ti,ab. (1)
61   "LHRH-hydrogel implant".ti,ab. (0)
62   ("RL 0903" or RL0903).ti,ab. (0)
63   ("SPD 424" or SPD424).ti,ab. (0)
64   goserelin.ti,ab. (30)
65   ("ici 118630" or ici118630).ti,ab. (0)
66   ("ZD-9393" or ZD9393).ti,ab. (0)
67   zoladex.ti,ab. (3)
68   leuprorelin.ti,ab. (12)
69   carcinil.ti,ab. (0)
70   enanton*.ti,ab. (1)
71   ginecrin.ti,ab. (0)
72   leuplin.ti,ab. (0)
73   leuprolide.ti,ab. (79)
74   lucrin.ti,ab. (1)
75   lupron.ti,ab. (18)
76   provren.ti,ab. (0)
77   procrin.ti,ab. (0)
78   ("tap 144" or tap144).ti,ab. (1)
79   (a-43818 or a43818).ti,ab. (0)
80   Trenantone.ti,ab. (0)
81   staladex.ti,ab. (0)
82   prostap.ti,ab. (0)
83   nafarelin.ti,ab. (1)
84   ("76932-56-4" or "76932564").ti,ab. (0)
85   ("76932-60-0" or "76932600").ti,ab. (0)
86   ("86220-42-0" or "86220420").ti,ab. (0)
87   ("rs 94991 298" or rs94991298).ti,ab. (0)
88   synarel.ti,ab. (0)
89   deslorelin.ti,ab. (8)
90   gonadorelin.ti,ab. (3)
91   ("33515-09-2" or "33515092").ti,ab. (0)
92   ("51952-41-1" or "51952411").ti,ab. (0)
93   ("52699-48-6" or "52699486").ti,ab. (0)
94   cetrorelix.ti,ab. (9)
95   cetrotide.ti,ab. (0)
96   ("NS 75A" or NS75A).ti,ab. (0)
97   ("NS 75B" or NS75B).ti,ab. (0)
98   ("SB 075" or SB075).ti,ab. (0)
99   ("SB 75" or SB75).ti,ab. (1)
                                            72
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100   gonadoliberin.ti,ab. (1)
101   kryptocur.ti,ab. (0)
102   cetrorelix.ti,ab. (9)
103   cetrotide.ti,ab. (0)
104   antagon.ti,ab. (0)
105   ganirelix.ti,ab. (0)
106   ("ORG 37462" or ORG37462).ti,ab. (0)
107   orgalutran.ti,ab. (0)
108   ("RS 26306" or RS26306).ti,ab. (0)
109   ("AY 24031" or AY24031).ti,ab. (0)
110   factrel.ti,ab. (0)
111   fertagyl.ti,ab. (0)
112   lutrelef.ti,ab. (0)
113   lutrepulse.ti,ab. (0)
114   relefact.ti,ab. (0)
115   fertiral.ti,ab. (0)
116   (hoe471 or "hoe 471").ti,ab. (0)
117   relisorm.ti,ab. (0)
118   cystorelin.ti,ab. (0)
119   dirigestran.ti,ab. (0)
120   or/29-119 (4869)
121   28 and 120 (130)
122   limit 121 to english language (120)
123   limit 122 to yr="2000 -Current" (93)


Appendix C Evidence selection

The literature searches identified 525 references. These were screened using their titles and
abstracts and 25 references were obtained and assessed for relevance. Of these,
9 references are included in the evidence review. The remaining 16 references were
excluded and are listed in appendix D.




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Figure 1 – Study selection flow diagram

                                                   Titles and abstracts
                                                    identified, N= 525




                           Full copies retrieved                         Excluded, N=500 (not
                             and assessed for                        relevant population, design,
                             eligibility, N=25                        intervention, comparison,
                                                                         outcomes, unable to
                                                                               retrieve)



       Publications included in            Publications excluded
             review, N=9                    from review, N=16
                                             (refer to excluded
                                                 studies list)




References submitted with Preliminary Policy Proposal

There is no preliminary policy proposal for this policy.


Appendix D Excluded studies table

 Study reference                                                                   Reason for exclusion
 Achille, C., Taggart, T., Eaton, N.R. et al. (2020)                               Intervention – data for
 Longitudinal impact of gender-affirming endocrine                                 GnRH analogues not
 intervention on the mental health and well-being of                               reported separately from
 transgender youths: Preliminary results. International                            other interventions
 Journal of Pediatric Endocrinology 2020(1): 8
 Bechard, Melanie, Vanderlaan, Doug P, Wood, Hayley et al.                         Population – no GnRH
 (2017) Psychosocial and Psychological Vulnerability in                            analogues at time of study
 Adolescents with Gender Dysphoria: A "Proof of Principle"
 Study. Journal of sex & marital therapy 43(7): 678-688
 Chew, Denise, Anderson, Jemma, Williams, Katrina et al.                           All primary studies included
 (2018) Hormonal Treatment in Young People With Gender                             apart from 1 conference
 Dysphoria: A Systematic Review. Pediatrics 141(4)                                 abstract

 de Vries, Annelou L C, McGuire, Jenifer K et al. (2014)                           Population – relevant
 Young adult psychological outcome after puberty                                   population included in de
 suppression and gender reassignment. Pediatrics 134(4):                           Vries et al. 2011
 696-704
 Ghelani, Rahul, Lim, Cheryl, Brain, Caroline et al. (2020)                        Outcomes – not in the
 Sudden sex hormone withdrawal and the effects on body                             PICO
 composition in late pubertal adolescents with gender
 dysphoria. Journal of pediatric endocrinology & metabolism:
 JPEM 33(1): 107-112


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Study reference                                                    Reason for exclusion
Giovanardi, G, Morales, P, Mirabella, M et al. (2019)              Population – adults only
Transition memories: experiences of trans adult women with
hormone therapy and their beliefs on the usage of hormone
blockers to suppress puberty. Journal of endocrinological
investigation 42(10): 1231-1240
Hewitt, Jacqueline K, Paul, Campbell, Kasiannan, Porpavai          Outcomes – no data
et al. (2012) Hormone treatment of gender identity disorder        reported for relevant
in a cohort of children and adolescents. The Medical journal       outcomes
of Australia 196(9): 578-81
Jensen, R.K., Jensen, J.K., Simons, L.K. et al. (2019) Effect      Outcomes – not in the
of Concurrent Gonadotropin-Releasing Hormone Agonist               PICO
Treatment on Dose and Side Effects of Gender-Affirming
Hormone Therapy in Adolescent Transgender Patients.
Transgender Health 4(1): 300-303
Klaver, Maartje, de Mutsert, Renee, Wiepjes, Chantal M et          Outcomes – not in the
al. (2018) Early Hormonal Treatment Affects Body                   PICO
Composition and Body Shape in Young Transgender
Adolescents. The journal of sexual medicine 15(2): 251-260
Klaver, Maartje, de Mutsert, Renee van der Loos, Maria A T         Outcomes – not in the
C et al. (2020) Hormonal Treatment and Cardiovascular              PICO
Risk Profile in Transgender Adolescents. Pediatrics 145(3)
Lopez, Carla Marisa, Solomon, Daniel, Boulware, Susan D            Outcomes – not in the
et al. (2018) Trends in the use of puberty blockers among          PICO
transgender children in the United States. Journal of
pediatric endocrinology & metabolism : JPEM 31(6): 665-
670
Schagen, Sebastian E E, Lustenhouwer, Paul, Cohen-                 Outcomes – not in the
Kettenis, Peggy T et al. (2018) Changes in Adrenal                 PICO
Androgens During Puberty Suppression and Gender-
Affirming Hormone Treatment in Adolescents With Gender
Dysphoria. The journal of sexual medicine 15(9): 1357-1363
Swendiman, Robert A, Vogiatzi, Maria G, Alter, Craig A et          Population – less than 10%
al. (2019) Histrelin implantation in the pediatric population: A   of participants had gender
10-year institutional experience. Journal of pediatric surgery     dysphoria; data not
54(7): 1457-1461                                                   reported separately
Turban, Jack L, King, Dana, Carswell, Jeremi M et al.              Intervention – data for
(2020) Pubertal Suppression for Transgender Youth and              GnRH analogues not
Risk of Suicidal Ideation. Pediatrics 145(2)                       reported separately from
                                                                   other interventions
Vrouenraets, Lieke Josephina Jeanne Johanna, Fredriks, A           Outcomes – not in the
Miranda, Hannema, Sabine E et al. (2016) Perceptions of            PICO
Sex, Gender, and Puberty Suppression: A Qualitative
Analysis of Transgender Youth. Archives of sexual behavior
45(7): 1697-703
Zucker, Kenneth J, Bradley, Susan J, Owen-Anderson,                Intervention – data for
Allison et al. (2010) Puberty-blocking hormonal therapy for        GnRH analogues not
adolescents with gender identity disorder: A descriptive           reported separately from
clinical study. Journal of Gay & Lesbian Mental Health             other interventions
15(1): 58-82




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Appendix E Evidence tables

Study details                      Population                   Interventions            Study outcomes                              Appraisal and Funding
Brik T, Vrouenraets L, de Vries    Inclusion criteria were      The study only           Critical outcomes                           This study was appraised using the
M, et al. (2020) Trajectories of   adolescents with gender      reports that GnRH        No critical outcomes assessed.              Newcastle-Ottawa tool for cohort
adolescents treated with           dysphoria, according to      analogues were                                                       studies.
gonadotropin-releasing             the DSM-5 criteria, seen     given, no specific       Important outcomes
hormone analogues for gender       at the single centre and     drug, dose, route, or    Psychosocial impact                         Domain 1: Selection
dysphoria. Archives of Sexual      treated with GnRH            frequency of             Not assessed.                               1. somewhat representative
Behaviour                          analogues between            administration are                                                   2. no-non exposed cohort
https://doi.org/10.1007/s10508-    November 2010 and            reported.                Engagement with health care services        3. secure record
020-01660-8                        January 1, 2018.                                      Not formally assessed but the study         4. yes
                                                                No comparator            reported that out of 214 age and            Domain 2: Comparability
Netherlands                        The study excluded           cohort was used in       developmentally appropriate adolescents     1. no comparator
                                   adolescents without a        the study.               for potential inclusion in the study, 9     Domain 3: Outcome
Retrospective observational        diagnosis of gender                                   were excluded as they stopped attending     1. record linkage
single-centre study                dysphoria, those who had     Follow-up was at (up     appointments (4.2%).                        2. yes
                                   coexisting problems that     to) 9 years (last                                                    3. complete follow-up
To document trajectories after     interfered with the          follow-up July 2019).    Stopping treatment
the initiation of GnRH             diagnostic process and/or                             Of the 143 adolescents, 9 (6.2%,            Overall quality is assessed as
analogue and explore reasons       might interfere with                                  1 transfemale and 8 transmales) stopped     poor.
for extended use and               successful treatment (not                             taking GnRH analogues after a median
discontinuation of GnRH            further defined), those                               duration of 0.8 years (range 0.1 to 3.0).   Other comments: Physical and
analogues.                         adolescents not wanting                               Four adolescents (2.8%) discontinued        psychological comorbidity was
                                   hormones, those with                                  GnRH analogues although they wanted         poorly reported, concomitant use of
Includes participants seen         ongoing diagnostic                                    to continue endocrine treatments for        other medicines was not reported.
between November 2010 and          evaluation and those who                              gender dysphoria:
January 1, 2018.                   did not attend                                        • 1 transmale stopped due to increase       Source of funding: not reported.
                                   appointments.                                              in mood problems, suicidal thoughts
                                                                                              and confusion attributed to GnRH
                                   The sample consisted of                                    analogues (later had gender-
                                   143 adolescents meeting                                    affirming hormones at an adult
                                   the inclusion/exclusion                                    gender clinic)1
                                   criteria, 38 transfemales,                            • 1 transmale experienced hot flushes,
                                   105 transmales, with                                       increased migraines, had a fear of
                                   median ages of 15.0                                        injections, stress at school and
                                   years (range 11.1 to 18.6                                  unrelated medical issues, and
                                   years) and 16.1 years
                                                                                        76
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(range 10.1 to 17.9                      temporarily discontinued treatment
years), respectively at                  (after 4 months)2
commencement of GnRH                 • 1 transmale experienced mood
analogues.                               swings 4 months after commencing
                                         GnRH analogues. After 2.2 years he
Of the 143 adolescents in                developed unexplained severe
the study, 125 (87%, 36                  nausea and rapid weight loss and
transfemales and 89                      due to his general condition
transmales) subsequently                 discontinued GnRH analogues after
started treatment with                   2.4 years3
gender-affirming                     • 1 transmale stopped GnRH
hormones after median                    analogues as his parents were
1.0 (range 0.5 to 3.8)                   unable to regularly collect
years and 0.8 (0.3 to 3.7)               medication from the pharmacy and
years, respectively.                     take him to appointments for the
Median age at the start of               injections4
gender-affirming                     Five adolescents (3.5%) stopped
hormones was 16.2 years              treatment as they no longer wished to
(range 14.5 to 18.6 years)           continue with gender-affirming treatment.
in transfemales and 17.1             • 1 adolescent had been very
years (range 14.9 to 18.8                distressed about breast development
years) in transmales.                    at the start of GnRH analogues and
                                         later thought that she might want to
Five adolescents who                     live as a woman without breasts.
used GnRH analogues                      She did not want to live as a boy and
had not started gender-                  discontinued GnRH analogues,
affirming hormones at the                although dreaded breast
time of data collection as               development and menstruation.
they were not yet eligible           • 1 adolescent experienced concurrent
for this treatment due to                psychosocial problems interfering
age. At the time of data                 with the exploration of gender
collection, they had used                identity and did not currently want
GnRH analogues for a                     treatment.5
median duration of 2.1               • 1 adolescent felt more in between
years (range 1.6 to 2.8).                male and female and therefore did
Tanner stage was not                     not want to continue with GnRH
reported.                                analogues.6
                                     • 1 adolescent made a social
Six adolescents had been                 transition while using GnRH
referred to a gender clinic
elsewhere for further
                                    77
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                                       treatment, including 1 who                                     analogues and shortly after decided
                                       had prolonged use.                                             to discontinue treatment.7
                                                                                                  •   1 adolescent discontinued after
                                                                                                      using GnRH analogues as the
                                                                                                      treatment allowed them to feel who
                                                                                                      they were.8
1 The adolescent later indicated “I was already fully matured when I started GnRH analogues, menstruations were already suppressed by contraceptives. For me, it had no added value” (transmale,

age 19 years).
2 The adolescent restarted endocrine treatment (testosterone) 5 months later.
3 The adolescent recovered over the next 2 years and subsequently started lynestrenol and testosterone treatment.
4 The adolescent subsequently started lynestrenol to suppress menses, he was not yet eligible for testosterone treatment.
5 The adolescent later reflected that “The decision to stop GnRH analogues to my mind was made by the gender team, because they did not think gender dysphoria was the right diagnosis. I do

still feel like a man, but for me it is okay to be just me instead of a he or a she, so for now I do not want any further treatment” (adolescent assigned female sex at birth, age 16 years).
6 The adolescent stated “At the moment, I feel more like ‘I am’ instead of ‘I am a woman’ or ‘I am a man’” (adolescent assigned female sex at birth, age 16 years).
7 The adolescent stated that “he had fallen in love with a girl and had never had such feelings, which made him question his gender identity. At subsequent visits, he indicated that he was happy

living as a man.
8 The adolescent stated “After using GnRH analogues for the first time, I could feel who I was without the female hormones, this gave me peace of mind to think about my future. It was an inner

feeling that said I am a woman” (adolescent assigned female sex at birth, age 18 years).



 Study details                        Population                              Interventions              Study outcomes                                  Appraisal and Funding
 Costa R, Dunsford M,                 Adolescents with gender                 Intervention               Critical outcomes                               This study was appraised using the
 Skagerberg E, et al. (2015)          dysphoria who completed a 6-            101 individuals were       Impact on gender dysphoria                      Newcastle-Ottawa tool for cohort
 Psychological support, puberty       month diagnostic process using          assessed as being          The Utrecht gender dysphoria scale              studies.
 suppression, and psychosocial        DSM-IV-TR criteria for gender           immediately eligible       (UGDS) was used to assess
 functioning in adolescents with      dysphoria (comprising the               for use of GnRH            adolescents’ gender dysphoria related           Domain 1: Selection
 gender dysphoria. Journal of         gender dysphoria assessment             analogues (no              discomfort. The Cronbach’s alpha (α) for        1. somewhat representative
 Sexual Medicine 12(11):2206-         and psychological interventions)        specific treatment,        the study was reported as 0.76 to 0.88,         2. drawn from the same
 14.                                  either immediately eligible for         dose or route, or          suggesting good internal consistency.              community as the exposed
                                      treatment with GnRH analogues           frequency of               UGDS was only reported once, for 160               cohort.
 United Kingdom                       or delayed eligible for treatment       administration             adolescents (50 sex assigned at birth           3. secure record
                                      with GnRH analogues (received           reported but all           males and 110 sex assigned at birth             4. no
 Prospective longitudinal             psychological support without           received                   females). The assessment time point is          Domain 2: Comparability
 observational single centre          any physical intervention).             psychological              not reported (baseline or follow-up) and        1. partial comparator
 cohort study                                                                 support).                  the comparison for gender related               Domain 3: Outcome
                                      No exclusion criteria were                                         discomfort was between sex assigned at          1. independent assessment
 Includes participants referred       reported.                               Comparison                 birth males and sex assigned at birth              (unclear if blinded)
 to the service between 2010                                                  The analyses were          females. Sex assigned at birth males            2. yes
 and 2014.                            The sample consisted of 201             between the                had a mean (±SD) UGDS score of 51.6             3. incomplete follow-up
                                      adolescents (sex assigned at            immediately eligible       [±9.7] versus sex assigned at birth
                                      birth male to female ratio 1:1.6)

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mean (±SD) age 15.52±1.41            and delayed eligible    females score of 56.1 [±4.3], t-test 4.07;   Overall quality is assessed as
years) from a sampling frame of      (n=100) adolescents,    p<0.001.                                     poor.
436 consecutive adolescents
referred to the service between      Baseline assessment     Impact on mental health                      Other comments: Physical and
2010 and 2014. The mean              (following diagnostic   Not assessed.                                psychological comorbidity was
(±SD) age (n=201) at the start of    procedure) was                                                       poorly reported, concomitant use of
GnRH analogues was 16.48             followed by follow-up   Impact on quality of life                    other medicines was not reported.
[±1.26], range 13 to 17 years.       at 6 months from        Not assessed.                                Large unexplained loss to follow-up
The interval from the start of the   baseline (T1), 12                                                    (64.7%) at T3.
diagnostic procedure to the start    months from             Important outcomes
of puberty suppression took          baseline (T2) and 18    Psychosocial impact                          Source of funding: not reported.
approximately 1.5 years [±0.63]      months from             The Children’s Global Assessment Scale
from baseline.                       baseline (T3).          (CGAS) was used to assess
                                                             adolescents’ psychosocial functioning.
None of the delayed eligible                                 The CGAS was administered by
individuals received puberty                                 psychologists, psychotherapists, and
suppression at the time of this                              psychiatrists (intra-class correlation
study. Tanner stage was not                                  assessment was 0.76 ≤ Cronbach’s α
reported.                                                    ≤0.94).
                                                             At baseline, CGAS scores were not
                                                             associated with any demographic
                                                             variable, in both sex assigned at birth
                                                             males and sex assigned at birth females
                                                             (all p>0.1).
                                                             In comparison with sex assigned at birth
                                                             females, sex assigned at birth males had
                                                             statistically significantly lower mean
                                                             (±SD) baseline CGAS scores (55.4
                                                             [±12.7] versus 59.2 [11.8]; t-test 2.15;
                                                             p=0.03).
                                                             There was no statistically significant
                                                             difference in mean (±SD) CGAS scores
                                                             at baseline (T0) between immediately
                                                             eligible adolescents and delayed eligible
                                                             adolescents (n=201, 58.72 [±11.38]
                                                             versus 56.63 [±13.14]; t-test 1.21;
                                                             p=0.23).
                                                             Immediately eligible compared with
                                                             delayed eligible participants
                                                             At follow-up, there was no statistically
                                                             significant difference in mean (±SD)
                                                    79
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                                        CGAS scores at any follow-up time point
                                        (T1, T2 or T3) between immediately
                                        eligible adolescents and delayed eligible
                                        adolescents:
                                        • T1, n=201, 60.89 [±12.17] versus
                                             60.29 [±12.81]; t-test 0.34; p=0.73
                                        • T2, n=121, 64.70 [±13.34] versus
                                             62.97 [±14.10]; t-test 0.69; p=0.49
                                        • T3, n=71, 67.40 [±13.93] versus
                                             62.53 [±13.54]; t-test 1.49; p=0.14.
                                        All participants
                                        There was a statistically significant
                                        increase in mean (±SD) CGAS scores at
                                        any follow-up time point (T1, T2 or T3)
                                        compared with baseline (T0) for the all
                                        adolescents group:
                                        • T0 (n=201) versus T1 (n=201), 57.73
                                             [±12.27] versus 60.68 [±12.47]; t-test
                                             4.87; p<0.001
                                        • T0 (n=201) versus T2 (n=121), 57.73
                                             [±12.27] versus 63.31 [±14.41]; t-test
                                             3.70; p<0.001
                                        • T0 (n=201) versus T3 (n=71), 57.73
                                             [±12.27] versus 64.93 [±13.85]; t-test
                                             4.11; p<0.001
                                        There was a statistically significant
                                        increase in mean (±SD) CGAS scores
                                        when comparing the follow-up period T1
                                        to T3 but not for the periods T1 to T2
                                        and T2 to T3, for all adolescents:
                                        • T1 (n=201) versus T2 (n=121), 60.68
                                             [±12.47] versus 63.31 [±14.41]; t-test
                                             1.73; p<0.08
                                        • T1 (n=201) versus T3 (n=71), 60.68
                                             [±12.47] versus 64.93 [±13.85], t-test
                                             2.40; p<0.02
                                        • T2 (n=121) versus T3 (n=71), 63.31
                                             [±14.41] versus 64.93 [±13.85], t-test
                                             0.76; p=0.45


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                                        There were no statistically significant
                                        differences in CGAS scores between sex
                                        assigned at birth males and sex
                                        assigned at birth females with gender
                                        dysphoria in all the follow-up evaluations
                                        (all p>0.1). Delayed eligible and
                                        immediately eligible adolescents with
                                        gender dysphoria were not statistically
                                        significantly different for demographic
                                        variables (all p>0.1).
                                        Immediately eligible participants
                                        There was a statistically significant
                                        increase in mean (±SD) CGAS scores at
                                        follow-up times T2 and T3 compared
                                        with baseline (T0) but not for T0 versus
                                        T1, for the immediately eligible
                                        adolescents:
                                        • T0 (n=101) versus T1 (n=101), 58.72
                                             [±11.38] versus 60.89 [±12.17]; t-test
                                             1.31; p=0.19
                                        • T0 (n=101) versus T2 (n=60), 58.72
                                             [±11.38] versus 64.70 [±13.34]; t-test
                                             3.02; p=0.003
                                        • T0 (n=101) versus T3 (n=35), 58.72
                                             [±11.38] versus 67.40 [±13.93]; t-test
                                             3.66; p<0.001
                                        There was a statistically significant
                                        increase in mean (±SD) CGAS scores
                                        when comparing the follow-up period T1
                                        to T3 with each other but not for the
                                        periods T1 to T2 and T2 to T3, for the
                                        immediately eligible adolescents:
                                        • T1 (n=101) versus T2 (n=60), 60.89
                                             [±12.17] versus 64.70 [±13.34]; t-test
                                             1.85; p=0.07
                                        • T1 (n=101) versus T3 (n=35), 60.89
                                             [±12.17] versus 67.40 [±13.93], t-test
                                             2.63; p<0.001



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                                                                                              •    T2 (n=60) versus T3 (n=35), 64.70
                                                                                                   [±13.34] versus 67.40 [±13.93], t-test
                                                                                                   0.94; p=0.35
                                                                                              The immediately eligible adolescents
                                                                                              had a CGAS score which was not
                                                                                              statistically significantly different
                                                                                              compared to the sample of children/
                                                                                              adolescents without observed
                                                                                              psychological /psychiatric symptoms
                                                                                              after 12 months of puberty suppression
                                                                                              (T3, t=0.01, p=0.99).


Study details                      Population                         Interventions           Study outcomes                                Appraisal and Funding
de Vries A, Steensma T,            The sample size was 70             Intervention            Critical outcomes                             This study was appraised using
Doreleijers T, et al. (2011)       adolescents receiving GnRH         70 adolescents were     Impact on gender dysphoria                    the Newcastle-Ottawa tool for
Puberty suppression in             analogues (mean age [±SD] at       assessed at baseline    Impact on gender dysphoria was                cohort studies.
adolescents with gender            assessment 13.6±1.8 years)         (T0) before the start   assessed using the Utrecht Gender
identity disorder: a prospective   from a sampling frame of 196       of GnRH analogues       Dysphoria Scale (UGDS).                       Domain 1: Selection
follow-up study. The Journal of    consecutive adolescents            (no specific            • There was no statistically significant      1. somewhat representative of
Sexual Medicine 8 (8):2276-        referred to the service between    treatment, dose or          difference in UGDS scores between            children and adolescents
83.                                2000 and 2008.                     route of                    T0 and T1 (n=41). There was a                who have gender dysphoria
                                   Inclusion criteria were if they    administration              statistically significant difference      2. no non-exposed cohort
Netherlands                        subsequently started gender-       reported).                  between sex assigned at birth males       3. no description
                                   affirming hormones between                                     and sex assigned at birth females,        4. no
Prospective longitudinal           2003 and 2009 (mean [±SD] age      Comparison                  with sex assigned at birth females        Domain 2: Comparability
observational single centre        at start of GnRH analogues was     The same 70                 reporting more gender dysphoria, F        1. study controls for age, age at
before and after study.            14.75 [±1.92] years)1. No          adolescents were            (df, errdf), P: 15.98 (1,39), p<0.001.       start of treatment, IQ, and
                                   specific exclusion criteria were   assessed again at                                                        parental factors
                                   described.                         follow-up (T1),         Impact on mental health                       Domain 3: Outcome
                                                                      shortly before          Depressive symptoms were assessed             1. no description
                                   No diagnostic criteria or          starting gender-        using the Beck Depression Inventory           2. no/unclear
                                   concomitant treatments were        affirming hormones.     (BDI-II).                                     3. complete
                                   reported. Tanner stage of the      Not all adolescents     • There was a statistically significant
                                   included adolescents was not       completed all               reduction in BDI score between T0         Overall quality is assessed as
                                   reported.                          assessments for all         and T1, n=41, 8.31 [±7.12] versus         poor.
                                                                      items2.                     4.95 [±6.72], F (df, errdf), P: 9.28
                                                                                                  (1,39), p=0.004.                          Other comments: Physical and
                                                                                              • There was no statistically significant      psychological comorbidity was
                                                                                                  difference between sex assigned at        not reported, concomitant use of
                                                                                     82
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                                            birth males and sex assigned at birth      other medicines was not
                                            females, F (df, errdf), P: 3.85 (1,39),    reported.
                                            p=0.057.
                                                                                       Source of funding: This study
                                        Anger and anxiety were assessed using          was supported by a personal
                                        Trait Anger and Anxiety (TPI and STAI,         grant awarded to the first author
                                        respectively) Scales of the State-Trait        by the Netherlands Organization
                                        Personality Inventory.                         for Health Research and
                                        • There was no statistically significant       Development.
                                            difference in anger (TPI) scale scores
                                            between T0 and T1 (n=41). There
                                            was a statistically significant
                                            difference between sex assigned at
                                            birth males and sex assigned at birth
                                            females, with sex assigned at birth
                                            females reporting increased anger
                                            compared with sex assigned at birth
                                            males, F (df, errdf), P: 5.70 (1,39),
                                            p=0.022.
                                        • Similarly, there was no statistically
                                            significant difference in anxiety (STAI)
                                            scale scores between T0 and T1
                                            (n=41). There was a statistically
                                            significant difference between sex
                                            assigned at birth males and sex
                                            assigned at birth females, with sex
                                            assigned at birth females reporting
                                            increased anxiety compared with sex
                                            assigned at birth males, F (df, errdf),
                                            P: 16.07 (1,39), p<0.001.

                                        Impact on quality of life
                                        Not assessed.

                                        Important outcomes
                                        Impact on body image
                                        Impact on body image was assessed
                                        using the Body Image Scale to measure
                                        body satisfaction (BIS).


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                                        There was no statistically significant
                                        difference between T0 and T1 for any of
                                        the 3 BIS scores (primary sex
                                        characteristics, secondary sex
                                        characteristics or neutral characteristics,
                                        n=57). There were statistically significant
                                        differences between sex assigned at birth
                                        males and sex assigned at birth females,
                                        with sex assigned at birth females
                                        reporting more dissatisfaction, for:
                                        • primary sexual characteristics, F (df,
                                             errdf), P: 4.11 (1,55), p=0.047.
                                        • secondary sexual characteristics, F
                                             (df, errdf), P: 11.57 (1,55), p=0.001.
                                        But no statistically significant difference
                                        between sex assigned at birth males and
                                        sex assigned at birth females was found
                                        for neutral characteristics. However, there
                                        was a significant interaction effect
                                        between sex assigned at birth sex and the
                                        changes of gender dysphoria between T0
                                        and T1; sex assigned at birth females
                                        became more dissatisfied with their
                                        secondary sex characteristics compared
                                        with sex assigned at birth males, F (df,
                                        errdf), P: 14.59 (1,55), p<0.001) and
                                        neutral characteristics, F (df, errdf), P:
                                        15.26 (1,55), p<0.001).

                                        Psychosocial impact
                                        Psychosocial impact was assessed using
                                        both the Child Behaviour Checklist
                                        (CBCL) and the Youth Self-Report (YSR)
                                        to parents and adolescents, respectively.
                                        The Children’s Global Assessment Scale
                                        was also reported.
                                        There was a statistically significant
                                        decrease in mean (±SD) total,
                                        internalising, and externalising3 parental


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                                        CBCL scores between T0 and T14 for all
                                        adolescents (n=54):
                                        • Total score (T0 – T1) 60.70 [±12.76]
                                             versus 54.46 [±11.23], F (df, errdf), P:
                                             26.17 (1,52), p<0.001.
                                        • Internalising score (T0 – T1) 61.00
                                             [±12.21] versus 54.56 [±10.22], F (df,
                                             errdf), P: 22.93 (1,52), p<0.001.
                                        • Externalising score (T0 – T1) 58.04
                                             [±12.99] versus 53.81 [±11.86], F (df,
                                             errdf), P: 12.04 (1,52), p=0.001.
                                        There was no statistically significant
                                        difference between sex assigned at birth
                                        males and sex assigned at birth females
                                        for total and internalising CBCL score but
                                        there was a significant difference for the
                                        externalising score:
                                        • Externalising score, F (df, errdf), P:
                                             6.29 (1,52), p=0.015.
                                        There was a statistically significant
                                        decrease in mean (±SD) total,
                                        internalising, and externalising3 YSR
                                        scores between T0 and T1 for all
                                        adolescents (n=54):
                                        • Total score (T0 – T1) 55.46 [±11.56]
                                             versus 50.00 [±10.56], F (df, errdf), P:
                                             16.24 (1,52), p<0.001.
                                        • Internalising score (T0 – T1) 56.04
                                             [±12.49] versus 49.78 [±11.63], F (df,
                                             errdf), P: 15.05 (1,52), p<0.001.
                                        • Externalising score (T0 – T1) 53.30
                                             [±11.87] versus 49.98 [±9.35], F (df,
                                             errdf), P: 7.26 (1,52), p=0.009.
                                        There was no statistically significant
                                        difference between sex assigned at birth
                                        males and sex assigned at birth females
                                        for total and internalising YSR score but
                                        there was a significant difference for the
                                        externalising score:


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                                                                                                        •    Externalising score, F (df, errdf), P:
                                                                                                             9.14 (1,52), p=0.004.
                                                                                                        There was a statistically significant
                                                                                                        increase in CGAS mean (±SD) score
                                                                                                        between T0 and T1 (n=41), 70.24 [±10.12]
                                                                                                        versus 73.90 [±9.63], F (df, errdf), P: 8.76
                                                                                                        (1,39), p=0.005. There was a statistically
                                                                                                        significant difference between sex
                                                                                                        assigned at birth males and sex assigned
                                                                                                        at birth females, with sex assigned at birth
                                                                                                        females reporting lower score for global
                                                                                                        functioning compared with sex assigned
                                                                                                        at birth males, F (df, errdf), P: 5.77 (1,52),
                                                                                                        p=0.021.
                                                                                                        The proportion of adolescents scoring in
                                                                                                        the clinical range significantly decreased
                                                                                                        between T0 and T1, on the CBCL total
                                                                                                        problem scale (44.4% versus 22.2%, X2[1]
                                                                                                        = 6.00, p=0.001), and the internalising
                                                                                                        scale (29.6% versus 11.1%, X2[1] = 5.71,
                                                                                                        p=0.017) of the YSR.
1 There were statistically significant mean age [±SD] differences between sex assigned at birth males and sex assigned at birth females for age at assessment (13.14 [±1.55] versus 14.10

[±1.99] years, p=0.028), age at start of GnRH analogues (14.25 [±1.79] versus 15.21 [±1.95] years, p=0.036) and age at the start of gender-affirming hormones (16.24 [±1.21] versus 16.99
[±1.09] years, p=0.008). No statistically significant differences were seen for other baseline characteristics, time between GnRH analogue and gender-affirming hormones, full scale IQ, parental
marital status, education, and sexual attraction to own, other or both sexes.
2 Independent t-tests between mean scores on the CBCL, YSR, BDI, TPI, STAI, CGAS, UGS, and BIS of adolescents who completed both assessments and mean scores of adolescents who

completed only one of the assessments revealed no significant differences on all used measures, at neither T0 or at T1.
3 The CBCL/YSR has 2 components: Internalising score which sums the anxious/depressed, withdrawn-depressed, and somatic complaints scores; externalising score which sums rule-breaking

and aggressive behaviour. The total problems score is the sum of the scores of all the problem items. The YSR is a child self-report version of the CBCL.
4 A repeated measures ANOVA (analysis of variance) was used.




 Study details                            Population                             Interventions              Study outcomes                                  Appraisal and Funding
 Joseph T, Ting J, Butler G. (2019)       Adolescents (12 to 14 years)           Treatment with a           Critical outcomes                               This study was appraised using
 The effect of GnRH analogue              with gender dysphoria (no              GnRH analogue for          No critical outcomes assessed.                  the Newcastle-Ottawa quality
 treatment on bone mineral density        diagnostic criteria described),        at least 1 year or                                                         assessment checklist for cohort
 in young adolescents with gender         n=70,                                  ongoing until they         Important outcomes                              studies.
 dysphoria: findings from a large                                                reached 16 years.          Bone density: lumbar1
                                          including 31 transfemales and
 national cohort. Journal of                                                     No specific                Lumbar spine bone mineral apparent
                                          39 transmales.                                                                                                    Domain 1: Selection
 pediatric endocrinology &                                                       treatment, dose or         density (BMAD)2 0 to 1 year
 metabolism 32(10): 1077-1081                                                    route of                   Transfemales (mean [±SD]):
                                                                                               86
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Study details                       Population                         Interventions     Study outcomes                              Appraisal and Funding
                                    All had been seen and assessed     administration    0.235 (0.030) g/cm3 at baseline,            1. Somewhat representative of
United Kingdom                      by a Gender Identity               reported.         0.233 g/cm3 (0.029) at 1 year (p=0.459);    children and adolescents who
                                    Development Service multi-         No concomitant    z-score 0.859 (0.154) at baseline, −0.228   have gender dysphoria
                                    disciplinary psychosocial health   treatments were   (1.027) at 1 year (p=0.000)                 2. Not applicable
Retrospective longitudinal          team for at least 4 assessments                      Transmales (mean [±SD]):
                                                                       reported.                                                     3. Via routine clinical records
observational single centre study   over a minimum of 6 months. All                      0.196 (0.035) g/cm3 at baseline, 0.201
                                                                       No comparator.                                                4. No
                                    participants had entered puberty                     (0.033) g/cm3 at 1 year (p=0.074);
To investigate whether there is     and all but 2 of the transmales                      z-score −0.186 (1.230) at baseline,         Domain 2: Comparability
any significant loss of bone        were postmenarchal.                                  −0.541 (1.396) at 1 year (p=0.006)          1. No control group
mineral density (BMD) and bone      57% of the transfemales were in                      Lumbar spine BMAD 0 to 2 years
                                                                                                                                     Domain 3: Outcome
mineral apparent density (BMAD)     early puberty (G2–3 and                              Transfemales (mean [±SD]):
                                    testicular volume >4 mL) and                         0.240 (0.027) g/cm3 at baseline, 0.240      1. Via routine clinical records
for up to 3 years of GnRH
analogues. To investigate           43% were in late puberty (G4–                        (0.030) g/cm3 at 2 years (p=0.865);         2. Yes
whether there was a significant     5).                                                  z-score 0.486 (0.809) at baseline, −0.279   3. No statement
drop after 1 year of treatment                                                           (0.930) at 2 years (p=0.000)
                                    Details of the sampling frame
following abrupt withdrawal.                                                             Transmales (mean [±SD]):
                                    were not reported.                                                                               Overall quality is assessed as
                                                                                         0.195 (0.058) g/cm3 at baseline, 0.198
                                    Further details of how the                           (0.055) at 2 years (p=0.433);               poor.
2011 to 2016                        sample was drawn are not                             z-score −0.361 (1.439) at baseline,
                                    reported.                                            −0.913 (1.318) at 2 years (p=0.001)
                                                                                         Lumbar spine bone mineral density           Other comments: although the
                                                                                         (BMD) 0 to 1 year                           evidence is of poor quality, the
                                                                                         Transfemales (mean [±SD]):                  results suggest a possible
                                                                                         0.860 (0.154) kg/m2 at baseline, 0.859      association between GnRH
                                                                                         (0.129) kg/m2 at 1 year (p=0.962);          analogues and BMAD.
                                                                                         z-score −0.016 (1.106) at baseline,         However, the results are not
                                                                                         −0.461 (1.121) at 1 year (p=0.003)          reliable and could be due to
                                                                                         Transmales (mean [±SD]):                    bias or chance. Further details
                                                                                         0.694 (0.149) kg/m2 at baseline, 0.718      of how the sample was drawn
                                                                                         (0.124) kg/m2 at 1 year (p=0.006);          are not reported. No
                                                                                         z-score −0.395 (1.428) at baseline,         concomitant treatments were
                                                                                         −1.276 (1.410) at 1 year (p=0.000)          reported.
                                                                                         Lumbar spine BMD 0 to 2 years
                                                                                         Transfemales (mean [±SD]):
                                                                                         0.867 (0.141) kg/m2 at baseline, 0.878      Source of funding: None
                                                                                         (0.130) kg/m2 at 2 years (p=0.395);         disclosed
                                                                                         z-score 0.130 (0.972) at baseline, −0.890
                                                                                         (1.075) at 2 years (p=0.000)
                                                                                         Transmales (mean [±SD]):

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 Study details                           Population                           Interventions           Study outcomes                                    Appraisal and Funding
                                                                                                      0.695 (0.220) kg/m2 at baseline, 0.731
                                                                                                      (0.209) kg/m2 at 2 years (p=0.058);
                                                                                                      z-score −0.715 (1.406) at baseline,
                                                                                                      −2.000 (1.384) at 2 years (p=0.000)

                                                                                                      Bone density: femoral
                                                                                                      Femoral neck (hip) BMD 0 to 1 year
                                                                                                      Transfemales (mean [±SD]):
                                                                                                      0.894 (0.118) kg/m2 at baseline, 0.905
                                                                                                      (0.104) kg/m2 at 1 year (p=0.571);
                                                                                                      z-score 0.157 (0.905) at baseline, −0.340
                                                                                                      (0.816) at 1 year (p=0.002)
                                                                                                      Transmales (mean [±SD]):
                                                                                                      0.772 (0.137) kg/m2 at baseline, 0.785
                                                                                                      (0.120) kg/m2 at 1 year (p=0.797);
                                                                                                      z-score −0.863 (1.215) at baseline,
                                                                                                      −1.440 (1.075) at 1 year (p=0.000)
                                                                                                      Femoral neck (hip) BMD 0 to 2 years
                                                                                                      Transfemales (mean [±SD]):
                                                                                                      0.920 (0.116) kg/m2 at baseline, 0.910
                                                                                                      (0.125) kg/m2 at 2 years (p=0.402);
                                                                                                      z-score 0.450 (0.781) at baseline, −0.600
                                                                                                      (1.059) at 2 years (p=0.002)
                                                                                                      Transmales (mean [±SD]):
                                                                                                      0.766 (0.215) kg/m2 at baseline, 0.773
                                                                                                      (0.197) at 2 years (p=0.604);
                                                                                                      z-score −1.075 (1.145) at baseline,
                                                                                                      −1.779 (0.816) at 2 years (p=0.001)
1 Lumbar spine (L1-L4) BMD was measured by yearly dual energy X-ray absorptiometry (DXA) scans at baseline (n=70), 1 year (n=70), and 2 years (n=31).
2 BMAD is a size adjusted value of BMD incorporating body size measurements using UK norms in growing adolescents. Reported as g/cm3 and z-scores. Hip BMAD z-scores were not

calculated as there were no available reference ranges.



 Study details                        Population                          Interventions             Study outcomes                                  Appraisal and Funding
 Khatchadourian K, Shazhan A,         27 young people with gender         Intervention              Critical Outcomes                               This study was appraised using
 Metzger D. (2014) Clinical           dysphoria who started GnRH          84 young people with      No critical outcomes assessed.                  the Newcastle-Ottawa tool for
 management of youth with             analogues (at mean age [±SD]        gender dysphoria                                                          cohort studies.
 gender dysphoria in                  14.7±1.9 years) out of 84 young     were included. For        Important outcomes
                                                                          GnRH analogues no         Stopping treatment                              Domain 1: Selection
                                                                                           88
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Vancouver. The Journal of     people seen at the unit between     specific treatment,   The authors report that of 15 transmales     1. not reported
Pediatrics 164 (4): 906-11.   1998 and 2011.                      dose or route of      taking GnRH analogues:                       2. no non-exposed cohort
                              Note: the transmale and             administration        • 14 transitioned to testosterone            3. secure record
Canada                        transfemale subgroups reported      reported.                 treatment during the observation         4. no
                              in the paper is discrepant, 15      Comparison                period                                   Domain 2: Comparability
Retrospective observational   transmales and 11 transfemales      No comparator.        • 7 continued taking GnRH analogues          1. not applicable
chart review single centre    (n=26) reported in the outcomes                               after starting testosterone              Domain 3: Outcome
study                         section rather than the n=27                              • 7 discontinued GnRH analogues after        1. record linkage
                              stated in the paper; complete                                 a median of 3.0 years (range 0.2 to      2. yes
                              outcome reporting is also                                     9.2 years), of which:                    3. in complete missing data
                              incomplete for the transfemale                                o 5 discontinued after hysterectomy
                              group.                                                            and salpingo-oophorectomy            Overall quality is assessed as
                              Inclusion criteria were at least                              o 1 discontinued after 2.2 years         poor.
                              Tanner stage 2 pubertal                                           (transitioned to gender-affirming
                              development, previous                                             hormone)                             Other comments: mental health
                              assessment by a mental health                                 o 1 discontinued after <2 months         comorbidity was reported for all
                              professional and a confirmed                                      due to mood and emotional            participants but not for the GnRH
                              diagnosis of gender dysphoria                                     lability                             analogue cohort separately.
                              (diagnostic criteria not                                  The authors report that of 11 transfemales   Concomitant use of other
                              specified). No exclusion criteria                         taking GnRH analogues:                       medicines was not reported.
                              are specified.                                            • 5 received oestrogen treatment during
                                                                                            the observation period                   Source of funding: No source of
                                                                                        • 4 continued taking GnRH analogues          funding identified.
                                                                                            during oestrogen treatment
                                                                                        • 1 discontinued GnRH analogues
                                                                                            during oestrogen treatment (no
                                                                                            reason reported)
                                                                                        • 1 stopped GnRH analogues after a
                                                                                            few months due to emotional lability
                                                                                        • 1 stopped GnRH analogues before
                                                                                            oestrogen treatment (the following
                                                                                            year delayed due to heavy smoking)
                                                                                        • 1 discontinued GnRH analogues after
                                                                                            13 months due to choosing not to
                                                                                            pursue transition

                                                                                        Safety
                                                                                        Of the 27 patients treated with GnRH
                                                                                        analogues:


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                                                                                                •     1 transmale participant developed
                                                                                                      sterile abscesses; they were switched
                                                                                                      from leuprolide acetate to triptorelin,
                                                                                                      and this was well tolerated.
                                                                                                •     1 transmale participant developed leg
                                                                                                      pains and headaches on GnRH
                                                                                                      analogues, which eventually resolved
                                                                                                      without treatment.
                                                                                                •     1 participant gained 19 kg within 9
                                                                                                      months of initiating GnRH analogues,
                                                                                                      although their body mass index was
                                                                                                      >85 percentile before GnRH
                                                                                                      analogues.


Study details                         Population                         Interventions              Study outcomes                              Appraisal and Funding
Klink D, Caris M, Heijboer A et al.   34 adolescents (mean age ±SD       The intervention           Critical outcomes                           This study was appraised using
(2015) Bone mass in young             14.9±1.9 for transfemales and      was GnRH                   No critical outcomes assessed.              the Newcastle-Ottawa quality
adulthood following gonadotropin-     15.0±2.0 for transmales at start   analogue                                                               assessment checklist for cohort
releasing hormone analog              of GnRH analogues).                monotherapy                Important outcomes                          studies.
treatment and cross-sex hormone       Participants were included if      (triptorelin pamoate       Bone density: lumbar
treatment in adolescents with         they met DSM-IV-TR criteria for    3.75 mg                    Lumbar spine bone mineral apparent          Domain 1: Selection
gender dysphoria. The Journal of      gender identity disorder of        subcutaneously             density (BMAD)1                             1. somewhat representative of
clinical endocrinology and            adolescence and had been           every 4 weeks)             Change from starting GnRH analogue          children and adolescents who
metabolism 100(2): e270-5             treated with GnRH analogues        followed by gender-        (mean age 14.9±1.9) to starting gender-     have gender dysphoria
                                      and gender-affirming hormones      affirming hormones         affirming hormones (mean age                2. not applicable
                                      during their pubertal years. No    from 16 years with         16.6±1.4) in transfemales (mean [±SD]):     3. via routine clinical records
Netherlands
                                      concomitant treatments were        discontinuation of         GnRH analogue: 0.22 (0.03) g/cm3,           4. no
                                      reported.                          GnRH analogue              gender-affirming hormones: 0.22 (0.02)      Domain 2: Comparability
Retrospective longitudinal                                               after gonadectomy.         g/cm3 (NS);                                 1. no control group
observational single centre study                                                                   z-score GnRH analogue: −0.44 (1.10),        Domain 3: Outcome
                                                                                                    gender-affirming hormones: −0.90 (0.80)     1. via routine clinical records
                                                                         Median duration of
                                                                                                    (p=NS)                                      2. yes
To assess BMD development                                                GnRH analogue
                                                                                                    Change from starting GnRH analogue          3. follow-up rate variable across
during GnRH analogues and at                                             monotherapy in
                                                                                                    (mean age 15.0±2.0) to starting gender-     timepoints and no description of
age 22 years in adolescents with                                         transfemales was
                                                                                                    affirming hormones (mean age                those lost
gender dysphoria who started                                             1.3 years (range,
                                                                                                    16.4±2.3) in transmales (mean [±SD]:
treatment for gender dysphoria                                           0.5 to 3.8 years),
                                                                                                    GnRH analogue: 0.25 (0.03) g/cm3,           Overall quality is assessed as
during adolescence.                                                      and in transmales
                                                                                                    gender-affirming hormones: 0.24 (0.02)      poor.
                                                                         was 1.5 years
                                                                                                    g/cm3 (NS);
                                                                                     90
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Study details   Population               Interventions     Study outcomes                            Appraisal and Funding
1998 to 2012                             (range, 0.25 to   z-score GnRH analogue: 0.28 (0.90),       Other comments: Within person
                                         5.2 years).       gender-affirming hormones: −0.50 (0.81)   comparison. Small numbers of
                                                           (p=0.004)                                 participants in each subgroup. No
                                                           Lumbar spine bone mineral density         concomitant treatments or
                                                           (BMD)1                                    comorbidities were reported.
                                                           Change from starting GnRH analogue
                                                           (mean age 14.9±1.9) to starting gender-   Source of funding: None
                                                           affirming hormones (mean age              disclosed
                                                           16.6±1.4) in transfemales (mean [±SD]):
                                                           GnRH analogue: 0.84 (0.13) g/m2,
                                                           gender-affirming hormones: 0.84 (0.11)
                                                           g/m2 (NS);
                                                           z-score GnRH analogue: −0.77 (0.89),
                                                           gender-affirming hormones: −1.01 (0.98)
                                                           (NS)
                                                           Change from starting GnRH analogue
                                                           (mean age 15.0±2.0) to starting gender-
                                                           affirming hormones (mean age
                                                           16.4±2.3) in transmales (mean [±SD]):
                                                           GnRH analogue: 0.95 (0.12) g/m2,
                                                           gender-affirming hormones: 0.91 (0.10)
                                                           g/m2 (p=0.006);
                                                           z-score GnRH analogue: 0.17 (1.18),
                                                           gender-affirming hormones: −0.72 (0.99)
                                                           (p<0.001)

                                                           Bone density; femoral
                                                           Femoral area BMAD1
                                                           Change from starting GnRH analogue
                                                           (mean age 14.9±1.9) to starting gender-
                                                           affirming hormones (mean age
                                                           16.6±1.4) in transfemales (mean [±SD]),
                                                           GnRH analogue: 0.28 (0.04) g/cm3,
                                                           gender-affirming hormones: 0.26 (0.04)
                                                           g/cm3 (NS);
                                                           z-score GnRH analogue: −0.93 (1.22),
                                                           gender-affirming hormones: −1.57 (1.74)
                                                           (p=NS)
                                                           Change from starting GnRH analogue

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 Study details                          Population                           Interventions           Study outcomes                               Appraisal and Funding
                                                                                                     (mean age 15.0±2.0) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.4±2.3) in transmales (mean [±SD]),
                                                                                                     GnRH analogue: 0.32 (0.04) g/cm3,
                                                                                                     gender-affirming hormones: 0.31 (0.04)
                                                                                                     (NS);
                                                                                                     z-score GnRH analogue: 0.01 (0.70),
                                                                                                     gender-affirming hormones: −0.28 (0.74)
                                                                                                     (NS)
                                                                                                     Femoral area BMD1
                                                                                                     Change from starting GnRH analogue
                                                                                                     (mean age 14.9±1.9) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.6±1.4) in transfemales (mean [±SD]),
                                                                                                     GnRH analogue: 0.88 (0.12) g/m2,
                                                                                                     gender-affirming hormones: 0.87 (0.08)
                                                                                                     (NS);
                                                                                                     z-score GnRH analogue: −0.66 (0.77),
                                                                                                     gender-affirming hormones: −0.95 (0.63)
                                                                                                     (NS)
                                                                                                     Change from starting GnRH analogue
                                                                                                     (mean age 15.0±2.0) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.4±2.3) in transmales (mean [±SD]),
                                                                                                     GnRH analogue: 0.92 (0.10) g/m2,
                                                                                                     gender-affirming hormones: 0.88 (0.09)
                                                                                                     (p=0.005);
                                                                                                     z-score GnRH analogue: 0.36 (0.88),
                                                                                                     gender-affirming hormones: −0.35 (0.79)
                                                                                                     (p=0.001)
1 BMD and BMAD of the lumbar spine and femoral region (nondominant side) measured by DXA scans at start of GnRH analogues, (n=32), start of gender-affirming hormones (n=34), and at 22

years (n=34).



 Study details                Population                                  Interventions            Study outcomes                                 Appraisal and Funding
 Schagen SEE, Cohen-          Adolescents with gender dysphoria           GnRH analogue            Critical outcomes                              This study was appraised using
 Kettenis PT, Delemarre-      (n=116), median age (range)                 monotherapy              No critical outcomes assessed.                 the Newcastle-Ottawa quality
 van de Waal HA et al.        13.6 years (11.6 to 17.9) in                (triptorelin pamoate                                                    assessment checklist for cohort
 (2016)                       transfemales and 14.2 years (11.1 to        3.75 mg at 0, 2 and 4    Important outcomes                             studies.
                                                                                          92
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Study details                Population                                 Interventions           Study outcomes                               Appraisal and Funding
Efficacy and Safety of       18.6) in transmales during first year of   weeks followed by       Other safety outcomes: liver function
Gonadotropin-Releasing       GnRH analogues.                            injections every 4      Glutamyl transferase was not elevated at     Domain 1: Selection
Hormone Agonist              Participants were included if they met     weeks, route of         baseline or during treatment in any          1. somewhat representative of
Treatment to Suppress        DSM-IV-TR criteria for gender              administration not      subject. Mild elevations of aspartate        children and adolescents who
Puberty in Gender            dysphoria, had lifelong extreme            described) for at       aminotransferase (AST) and alanine           have gender dysphoria
Dysphoric Adolescents.       gender dysphoria, were                     least 3 months.         aminotransferase (ALT) above the             2. not applicable
The journal of sexual        psychologically stable and were living                             reference range were present at baseline     3. via routine clinical records
medicine 13(7): 1125-32      in a supportive environment. No                                    but were not more prevalent during           4. no
                             concomitant treatments were                                        treatment than at baseline.                  Domain 2: Comparability
                             reported.                                                          Glutamyl transferase, AST, and ALT           1. no control group
Netherlands
                                                                                                levels did not significantly change from     Domain 3: Outcome
                                                                                                baseline to 12 months of treatment.          1. via routine clinical records
Prospective longitudinal                                                                        No values or statistical analyses were       2. yes
study                                                                                           reported.                                    3. no statement

                                                                                                Other safety outcomes: kidney                Overall quality is assessed as
To describe the changes
                                                                                                function                                     poor.
in Tanner stage,                                                                                Change in serum creatinine between 0
testicular volume,                                                                              and 1 year
gonadotropins, and sex                                                                                                                       Other comments: Within person
                                                                                                Transfemales (mean [±SD]): 70                comparison. No concomitant
steroids during GnRH
                                                                                                (12) micromol/l at baseline, 66 (13)         treatments or comorbidities were
analogues of
                                                                                                micromol/l at 1 year (p=0.20)                reported.
adolescents with gender
dysphoria to evaluate the
                                                                                                Transmales (mean [±SD]): 73 (8)              Source of funding: Ferring
efficacy. To report on
                                                                                                micromol/l at baseline, 68 (13) micromol/l   pharmaceuticals (triptorelin
liver enzymes, renal
                                                                                                at 1 year (p=0.01)                           manufacturer)
function and changes in
body composition.

1998 to 2009



Study details                  Population                                Interventions          Study outcomes                               Appraisal and Funding
Staphorsius A,                 The inclusion criteria were diagnosed     Intervention           Critical Outcomes                            This study was appraised using
Baudewijntje P, Kreukels       with Gender Identity Disorder             GnRH analogues         No critical outcomes assessed.               the Newcastle-Ottawa tool for
P, et al. (2015) Puberty       according to the DSM-IV-TR and at         (triptorelin pamoate                                                cohort studies.
suppression and executive      least 12 years old and Tanner stage       3.75 mg every 4        Important outcomes
functioning: an fMRI-study     of at least B2 or G2 to G3 with           weeks                  Psychosocial impact                          Domain 1: Selection domain

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Study details                Population                                Interventions         Study outcomes                            Appraisal and Funding
in adolescents with gender   measurable oestradiol and                 subcutaneously or     The Child Behaviour Checklist (CBCL)      1. somewhat representative of
dysphoria.                   testosterone levels in girls and boys,    intramuscularly).     was used to assess psychosocial impact.      children and adolescents
Psychoneuroendocrinology     respectively.                                                   The CBCL was administered once during        who have gender dysphoria
565:190-9.                                                             Comparison            the study. The reported outcomes for      2. drawn from the same
                             For all group’s exclusion criteria were   The comparison was    each group were (n, mean [±SD]):             community as the exposed
                             an insufficient command of the Dutch      between                   • Transfemales (all, n=18) 57.8          cohort
Netherlands
                             language (how assessed not                adolescents with               [±9.2]                           3. via routine clinical records
                             reported), unadjusted endocrine           gender dysphoria          • Transfemales on GnRH                4. no
Cross-sectional (single      disorders, neurological or psychiatric    receiving GnRH                 analogues (n=8) 57.4 [±9.8]      Domain 2: Comparability
time point) assessment       disorders that could lead to deviant      analogues and those       • Transfemales without GnRH           1. study controls for age and
single centre study          test results (details not reported) use   without GnRH                   analogues (n=10) 58.2 [±9.3]        diagnosis
                             of psychotropic medication, and           analogues.                • Transmales (all, n=22) 60.4         Domain 3: Outcome
                             contraindications for an MRI scan.                                       [±10.2]                          1. via clinical assessment
                             Additionally, adolescents receiving                                 • Transmales on GnRH analogues        2. yes
                             puberty delaying medication or any                                       (n=12) 57.5 [±9.4]               3. unclear
                             form of hormones besides oral                                       • Transmales without GnRH
                             contraceptives were excluded as                                          analogues (n=10) 63.9 [±10.5]    Overall quality is assessed as
                             controls.                                                       The analysis of the CBCL data is not      poor.
                             The sample size was 85 of whom 41                               discussed, and statistical analysis is
                             were adolescents (the numbers are                               unclear.                                  Other comments: Physical and
                             discrepant with the number for whom                                                                       psychological comorbidity was
                             outcomes are reported n=40) with                                Cognitive development or functioning      not reported, concomitant use of
                             gender dysphoria (20 of whom were                               IQ1                                       other medicines was not
                             being treated with GnRH analogues);                                 • Transfemales (mean [±SD]) on        reported.
                             24 girls and 21 boys without gender                                    GnRH analogues: 94.0 (10.3)
                             dysphoria acted as controls (not                                                                          Source of funding: This work
                                                                                                 • Transfemales (mean [±SD])
                             further reported here). Details of the                                                                    was supported by an educational
                                                                                                    without GnRH analogues: 109.4
                             sampling frame are not reported.                                                                          grant from the pharmaceutical
                                                                                                    (21.2)
                                                                                                                                       firm Ferring BV, and by a VICI
                                                                                                 • Transmales (mean [±SD]) on
                             The ages at which GnRH analogues                                                                          grant (453-08-003) from the
                                                                                                    GnRH analogues: 95.8 (15.6)
                             were started was not reported. The                                                                        Dutch Science Foundation. The
                             mean duration of treatment was 1.6                                  • Transmales (mean [±SD]) without     authors state that funding
                             years (SD 1.0)                                                         GnRH analogues: 98.5 (15.9)        sources did not play a role in any
                                                                                             Reaction time2                            component of this study.
                             Mean (±SD) Tanner stage for each                                    • Transfemales (mean [±SD]) on
                             group was reported:                                                    GnRH analogues: 10.9 (4.1)
                             • Transfemales 3.9 [±1.1]                                           • Transfemales (mean [±SD])
                             • Transfemales on GnRH                                                 without GnRH analogues: 9.9
                                 analogues 4.1 [±1.0]                                               (3.1)

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 Study details                    Population                                    Interventions             Study outcomes                                    Appraisal and Funding
                                  •   Transfemales without GnRH                                                •Transmales (mean [±SD]) on
                                      analogues 3.8 [±1.1]                                                      GnRH analogues: 9.9 (3.1)
                                  • Transmales 4.5 [±0.9]                                                    • Transmales (mean [±SD]) without
                                  • Transmales on GnRH analogues                                                GnRH analogues: 10.0 (2.0)
                                      4.1 [±1.1]                                                          Accuracy3
                                  Transmales without GnRH analogues 4.9                                      • Transfemales (mean [±SD]) on
                                  [±0.3]                                                                        GnRH analogues: 73.9 (9.1)
                                                                                                             • Transfemales (mean [±SD])
                                                                                                                without GnRH analogues: 83.4
                                                                                                                (9.5)
                                                                                                             • Transmales (mean [±SD]) on
                                                                                                                GnRH analogues: 85.7 (10.5)
                                                                                                             • Transmales (mean [±SD]) without
                                                                                                                GnRH analogues: 88.8 (9.7)
1 Estimated with 4 subscales (arithmetic, vocabulary, picture arrangement, and block design) of the Wechsler Intelligence Scale for Children, third edition (WISC-III®, Wechsler 1991) or the

Wechsler Adult Intelligence Scale, third edition (WAIS-III®, Wechsler 1997), depending on the participant’s age.
2 Reaction time in seconds in the Tower of London task
3 Percentage of correct trials in the Tower of London task




 Study details                         Population                             Interventions              Study outcomes                                    Appraisal and Funding
 Vlot, Mariska C, Klink, Daniel        Adolescents with gender                GnRH analogues             Critical outcomes                                 This study was appraised using
 T, den Heijer, Martin et al.          dysphoria, n=70.                       (triptorelin pamoate       No critical outcomes reported                     the Newcastle-Ottawa quality
 (2017) Effect of pubertal             Median age (range) 15.1 years          3.75 mg every 4                                                              assessment checklist for cohort
 suppression and cross-sex             (11.7 to 18.6) for transmales and      weeks                      Important outcomes                                studies.
 hormone therapy on bone               13.5 years (11.5 to 18.3) for          subcutaneously).           Bone density: lumbar
 turnover markers and bone             transfemales at start of GnRH                                     Lumbar spine bone mineral apparent                Domain 1: Selection
 mineral apparent density              analogues.                                                        density (BMAD)                                    1. Somewhat representative of
 (BMAD) in transgender                                                                                   Change from starting GnRH analogue to             children and adolescents who
                                       Participants were included if
 adolescents. Bone 95: 11-19                                                                             starting gender-affirming hormones in             have gender dysphoria
                                       they had a diagnosis of gender
                                                                                                         transfemales (bone age of <15 years;              2. Not applicable
                                       dysphoria according to DSM-IV-
                                                                                                         median [range]), GnRH analogue: 0.21              3. Via routine clinical records
 Netherlands                           TR criteria who were treated
                                                                                                         (0.17 to 0.25) g/cm3, gender-affirming            4. No
                                       with GnRH analogues and then
                                                                                                         hormones: 0.20 (0.18 to 0.24) g/cm3               Domain 2: Comparability
                                       gender-affirming hormones. No
 Retrospective observational                                                                             (NS); z-score GnRH analogue: −0.20                1. No control group
                                       concomitant treatments were
 data analysis study                                                                                     (−1.82 to 1.18), gender-affirming                 Domain 3: Outcome
                                       reported.
                                                                                                         hormones: −1.52 (−2.36 to 0.42)                   1. Via routine clinical records
                                       The study categorised                                             (p=0.001)                                         2. Yes
                                                                                               95
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Study details                    Population                          Interventions        Study outcomes                            Appraisal and Funding
To investigate the course of 3   participants into a young and old                        Change from starting GnRH analogue to     3. Follow-up rate variable across
bone turnover markers in         pubertal group, based on their                           starting gender-affirming hormones in     outcomes and no description of
relation to bonemineral          bone age. The young                                      transfemales (bone age of ≥15; median     those lost
density, in adolescents with     transmales had a bone age of                             [range]), GnRH analogue: 0.22 (0.18 to
gender dysphoria during          <14 years and the old                                    0.25) g/cm3, gender-affirming hormones:   Overall quality is assessed as
GnRH analogue and gender-        transmales had a bone age of                             0.22 (0.19 to 0.24) g/cm3 (NS); z-score   poor.
affirming hormones.              ≥14 years. The young                                     GnRH analogue: −1.18 (−1.78 to 1.09),
                                 transfemales group had a bone                            gender-affirming hormones: −1.15 (−2.21   Other comments: Within person
                                 age of <15 years and the old                             to 0.08) (p≤0.1)                          comparison. No concomitant
2001 to 2011
                                 transfemales group ≥15 years.                            Change from starting GnRH analogue to     treatments were reported.
                                                                                          starting gender-affirming hormones in
                                                                                          transmales (bone age of <15 years;        Source of funding: grant from
                                                                                          median [range]), GnRH analogue: 0.23      Abbott diagnostics
                                                                                          (0.20 to 0.29) g/cm3, gender-affirming
                                                                                          hormones: 0.23 (0.19 to 0.28) g/cm3
                                                                                          (NS); z-score GnRH analogue: −0.05
                                                                                          (−0.78 to 2.94), gender-affirming
                                                                                          hormones: −0.84 (−2.20 to 0.87)
                                                                                          (p=0.003)
                                                                                          Change from starting GnRH analogue to
                                                                                          starting gender-affirming hormones in
                                                                                          transmales (bone age of ≥15; median
                                                                                          [range]), GnRH analogue: 0.26 (0.21 to
                                                                                          0.29) g/cm3, gender-affirming hormones:
                                                                                          0.24 (0.20 to 0.28) g/cm3 (p≤0.01);
                                                                                          z-score GnRH analogue: 0.27 (−1.60 to
                                                                                          1.80), gender-affirming hormones: −0.29
                                                                                          (−2.28 to 0.90) (p≤ 0.0001)

                                                                                          Bone density; femoral
                                                                                          Femoral neck BMAD
                                                                                          Change from starting GnRH analogue to
                                                                                          starting gender-affirming hormones in
                                                                                          transfemales (bone age of <15 years;
                                                                                          median [range]), GnRH analogue: 0.29
                                                                                          (0.20 to 0.33) g/cm3, gender-affirming
                                                                                          hormones: 0.27 (0.20 to 0.33) g/cm3
                                                                                          (p≤0.1);
                                                                                          z-score GnRH analogue: −0.71 (−3.35 to

                                                                                     96
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Study details   Population               Interventions        Study outcomes                            Appraisal and Funding
                                                              0.37), gender-affirming hormones: −1.32
                                                              (−3.39 to 0.21) (p≤0.1)
                                                              Change from starting GnRH analogue to
                                                              starting gender-affirming hormones in
                                                              transfemales (bone age of ≥15; median
                                                              [range]), GnRH analogue: 0.30 (0.26 to
                                                              0.36) g/cm3, gender-affirming hormones:
                                                              0.30 (0.26 to 0.34) g/cm3 (NS);
                                                              z-score GnRH analogue: −0.44 (−1.37 to
                                                              0.93), gender-affirming hormones: −0.36
                                                              (−1.50 to 0.46) (NS)
                                                              Change from starting GnRH analogue to
                                                              starting gender-affirming hormones in
                                                              transmales (bone age of <15 years;
                                                              median [range]),
                                                              GnRH analogue: 0.31 (0.26 to 0.36)
                                                              g/cm3, gender-affirming hormones: 0.30
                                                              (0.22 to 0.35) g/cm3 (NS);
                                                              z-score GnRH analogue: −0.01 (−1.30 to
                                                              0.91), gender-affirming hormones: −0.37
                                                              (−2.28 to 0.47) (NS)
                                                              Change from starting GnRH analogue to
                                                              starting gender-affirming hormones in
                                                              transmales (bone age of ≥15; median
                                                              [range]), GnRH analogue: 0.33 (0.25 to
                                                              0.39) g/cm3, gender-affirming hormones:
                                                              0.30 (0.23 to 0.41) g/cm3 (p≤0.01);
                                                              z-score GnRH analogue: 0.27 (−1.39 to
                                                              1.32), gender-affirming hormones: −0.27
                                                              (−1.91 to 1.29) (p=0.002)




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Appendix F Quality appraisal checklists

Newcastle-Ottawa tool for cohort studies

Question
Domain: Selection
1. Representativeness of the exposed cohort        Truly representative of the average [describe] in
                                                   the community
                                                   Somewhat representative of the average
                                                   [describe] in the community
                                                   Selected group of users e.g. nurses, volunteers
                                                   No description of the derivation of the cohort
2. Selection of the non-exposed cohort             Drawn from the same community as the
                                                   exposed cohort
                                                   Drawn from a different source
                                                   No description of the derivation of the non-
                                                   exposed cohort
3. Ascertainment of exposure                       Secure record (e.g. surgical records)
                                                   Structured interview
                                                   Written self-report
                                                   No description
4. Demonstration that outcome of interest was      Yes / No
not present at start of study
Domain: Comparability
1. Comparability of cohorts on the basis of the    Study controls for [select most important factor]
design or analysis                                 Study controls for any additional factor [this
                                                   criteria could be modified to indicate specific
                                                   control for a second important factor]
Domain: Outcome
1. Assessment of outcome                           Independent blind assessment
                                                   Record linkage
                                                   Self-report
                                                   No description
2. Was follow-up long enough for outcomes to
occur                                              Yes [select and adequate follow up period for
                                                   outcome of interest]
                                                   No
3. Adequacy of follow up of cohorts                Complete follow up (all subjects accounted for)
                                                   Subjects lost to follow up unlikely to introduce
                                                   bias (small number lost to follow up [select an
                                                   adequate %] follow up or description provided of
                                                   those lost)
                                                   Follow up rate [select an adequate %] and no
                                                   description of those lost
                                                   No statement




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Appendix G Grade profiles

Table 2: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – gender dysphoria
                                        QUALITY                                                           Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                Effect
                                                                                               patients (n/N%)
       Study           Risk of        Indirectness     Inconsistency      Imprecision    Intervention Comparator                Result
                        bias
 Impact on gender dysphoria

 Mean±SD Utrecht Gender Dysphoria Scale1 (version(s) not reported), time point at baseline (before GnRH analogues) versus follow-up (before
 gender-affirming hormones, higher scores indicate more gender dysphoria)

                       Serious         No serious     Not applicable         Not             N=41         None          Baseline: 53.20±7.91          Critical       VERY LOW
  1 cohort study     limitations2     indirectness                        calculable                                      GnRH analogue:
  de Vries et al
                                                                                                                            53.9±17.42
      2011
                                                                                                                              P=0.333
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 The UGDS is a validated screening tool for both adolescents and adults to assess gender dysphoria. It consists of 12 items, to be answered on a 1- to 5-point scale, resulting
in a sum score between 12 and 60. The higher the UGDS score the greater the gender dysphoria.
2 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).


Table 3: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – mental health
                                        QUALITY                                                           Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                Effect
                                                                                               patients (n/N%)
       Study           Risk of        Indirectness     Inconsistency      Imprecision    Intervention Comparator                Result
                        bias
 Impact on mental health



                                                                                        99
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                                        QUALITY                                                             Summary of findings                       IMPORTANCE        CERTAINTY
                                                                                                No of events/No of                Effect
                                                                                                 patients (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision     Intervention Comparator                Result
                         bias
 Mean±SD Beck Depression Inventory-II, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones).
 (Lower scores indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None           Baseline: 8.31±7.12           Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                      GnRH analogue:
   de Vries et al
                                                                                                                               4.95±6.72
       2011
                                                                                                                                P=0.004
 Mean±SD Trait Anger (TPI), time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones, lower scores
 indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None        Baseline: 18.29±5.54             Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                     GnRH analogue:
   de Vries et al                                                                                                             17.88±5.24
       2011
                                                                                                                               P=0.503
 Mean±SD Trait Anxiety (STAI), time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones, lower
 scores indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None         Baseline: 39.43±10.07           Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                     GnRH analogue:
   de Vries et al
                                                                                                                              37.95±9.38
       2011
                                                                                                                                P=0.276
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).




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Table 4: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – body image
                                        QUALITY                                                                Summary of findings                         IMPORTA      CERTAINTY
                                                                                                                                                             NCE
                                                                                           No of events/No of patients                Effect
                                                                                                      (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision     Intervention    Comparator                 Result
                         bias
 Impact on body image

 Mean±SD Body Image Scale (primary sexual characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before gender-
 affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 4.10±0.56           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 3.98±0.71
       2011                                                                                                                       P=0.145
 Mean±SD Body Image Scale (secondary sexual characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before
 gender-affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 2.74±0.65           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 2.82±0.68
       2011                                                                                                                       P=0.569
 Mean±SD Body Image Scale (neutral characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before gender-
 affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 2.41±0.63           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 2.47±0.56
       2011                                                                                                                       P=0.620
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).




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Table 5: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – psychosocial impact
                                     QUALITY                                                         Summary of findings                 IMPORTA     CERTAINTY
                                                                                                                                           NCE
                                                                                  No of events/No of patients              Effect
                                                                                             (n/N%)
      Study           Risk of      Indirectness   Inconsistency   Imprecision     Intervention    Comparator               Result
                       bias
Psychosocial impact

Mean [±SD] Children’s Global Assessment Scale score, at baseline, higher scores indicate benefit)

                      Serious       No serious      No serious       Not               n=101        n=100                  P=0.23        Important   VERY LOW
  1 cohort study    limitations1                                                       58.72        56.63
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±11.38]     [±13.14]
Mean [±SD] Children’s Global Assessment Scale score, at 6 months 2 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not               n=101        n=100                  P=0.73        Important   VERY LOW
  1 cohort study    limitations1                                                       60.89        60.29
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±12.17]     [±12.81]
Mean [±SD] Children’s Global Assessment Scale score, at 12 months3 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not                n=60         n=61                  P=0.49        Important   VERY LOW
  1 cohort study    limitations1                                                       64.70        62.97
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±13.34]     [±14.10]
Mean [±SD] Children’s Global Assessment Scale score, at 18 months4 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not                n=35         n=36                  P=0.14        Important   VERY LOW
  1 cohort study    limitations1                                                       67.40        62.53
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±13.93]     [±13.54]
Mean [±SD] Children’s Global Assessment Scale score, participants at 6 months compared to baseline (higher scores indicate benefit).

                      Serious       No serious      No serious       Not              N=101         None         Baseline: 58.72±11.38   Important   VERY LOW
  1 cohort study    limitations1   indirectness   inconsistency   calculable          N=101                      6 months: 60.89±12.17
 Costa et al 2015
                                                                                                                        P=0.19
Mean [±SD] Children’s Global Assessment Scale score, participants at 12 months compared to baseline (higher scores indicate benefit).


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                                    QUALITY                                                          Summary of findings                  IMPORTA     CERTAINTY
                                                                                                                                            NCE
                                                                                  No of events/No of patients              Effect
                                                                                             (n/N%)
     Study           Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                      bias
                     Serious       No serious      No serious        Not              N=101         None          Baseline: 58.72±11.38   Important   VERY LOW
 1 cohort study    limitations1                                                       N=60                       12 months: 64.70±13.34
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                         P=0.003
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to baseline (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None          Baseline: 58.72±11.38   Important   VERY LOW
 1 cohort study    limitations1                                                       N=35                       18 months: 67.40±13.93
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                         P<0.001
Mean [±SD] Children’s Global Assessment Scale score, participants at 12 months compared to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None         6 months: 60.89±12.17    Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency    calculable          N=60                       12 months: 64.70±13.34
Costa et al 2015
                                                                                                                        P=0.07
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None         6 months: 60.89±12.17    Important   VERY LOW
 1 cohort study    limitations1                                                       N=35                       18 months: 67.40±13.93
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to 12 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=60          None         12 months: 64.70±13.34   Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency    calculable          N=35                       18 months: 67.40±13.93
Costa et al 2015
                                                                                                                        P=0.35
Mean [±SD] Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 6 months2
compared to baseline (higher scores indicate benefit).

                     Serious       No serious    Not applicable      Not              N=201         None         Baseline: 57.73±12.27    Important   VERY LOW
 1 cohort study    limitations1                                                                                  6 months: 60.68±12.47
                                  indirectness                    calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean [±SD] Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 12 months3
compared to baseline (higher scores indicate benefit).


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                                    QUALITY                                                         Summary of findings                  IMPORTA     CERTAINTY
                                                                                                                                           NCE
                                                                                 No of events/No of patients              Effect
                                                                                            (n/N%)
     Study           Risk of      Indirectness   Inconsistency   Imprecision     Intervention    Comparator               Result
                      bias
                     Serious       No serious      No serious       Not              N=201         None          Baseline: 57.73±12.27   Important   VERY LOW
 1 cohort study    limitations1                                                      N=121                      12 months: 63.31±14.41
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months4
compared to baseline (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None          Baseline: 57.73±12.27   Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency   calculable          N=71                       18 months: 64.93±13.85
Costa et al 2015
                                                                                                                        P<0.001
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 12 months compared
to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None         6 months: 60.68±12.47    Important   VERY LOW
 1 cohort study    limitations1                                                      N=121                      12 months: 63.31±14.41
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                       P<0.08
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months compared
to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None         6 months: 60.68±12.47    Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency   calculable          N=71                       18 months: 64.93±13.85
Costa et al 2015
                                                                                                                       P<0.02
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months compared
to 12 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=121         None         12 months: 63.31±14.41   Important   VERY LOW
 1 cohort study    limitations1                                                      N=71                       18 months: 64.93±13.85
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                       P<0.45
Mean±SD Children’s Global Assessment Scale score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, higher scores indicate benefit).




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                                   QUALITY                                                          Summary of findings                    IMPORTA     CERTAINTY
                                                                                                                                             NCE
                                                                                 No of events/No of patients              Effect
                                                                                            (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                     bias
 1 cohort study     Serious       No serious    Not applicable      Not              N=41          None          Baseline: 70.24±10.12     Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                    GnRH analogue: 73.90±9.63
     2011                                                                                                               P=0.005
Mean±SD Child Behaviour Checklist (total T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

                    Serious       No serious    Not applicable      Not              N=54          None          Baseline: 60.70±12.76     Important   VERY LOW
 1 cohort study   limitations5                                                                                     GnRH analogue:
 de Vries et al                  indirectness                    calculable
                                                                                                                     54.46±11.23
     2011                                                                                                               P<0.001
Mean±SD Child Behaviour Checklist (internalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, lower scores indicate benefit).

 1 cohort study     Serious       No serious    Not applicable      Not              N=54          None          Baseline: 61.00±12.21     Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                    GnRH analogue: 52.1±9.81
     2011                                                                                                               P<0.001
Mean±SD Child Behaviour Checklist (externalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, lower scores indicate benefit).

                    Serious       No serious    Not applicable      Not              N=54          None          Baseline: 58.04±12.99     Important   VERY LOW
 1 cohort study   limitations5                                                                                     GnRH analogue:
 de Vries et al                  indirectness                    calculable
                                                                                                                     53.81±11.86
     2011                                                                                                               P=0.001
Proportion of adolescents scoring in the clinical range Child Behaviour Checklist total problem scale, time point at baseline (before GnRH
analogues) versus follow-up (just before gender-affirming hormones, lower scores indicate benefit).

 1 cohort study     Serious       No serious    Not applicable      Not              N=54          None            Baseline: 44.4%         Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                      GnRH analogue: 22,2%
     2011                                                                                                              P=0.001
Mean±SD Youth Self-Report (total T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormone, lower scores indicate benefit).



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                                     QUALITY                                                          Summary of findings                      IMPORTA     CERTAINTY
                                                                                                                                                 NCE
                                                                                   No of events/No of patients              Effect
                                                                                              (n/N%)
     Study            Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                       bias
                      Serious       No serious    Not applicable      Not              N=54          None           Baseline: 55.46±11.56      Important   VERY LOW
 1 cohort study     limitations5                                                                                      GnRH analogue:
 de Vries et al                    indirectness                    calculable
                                                                                                                        50.00±10.56
     2011                                                                                                                  P<0.001
Mean±SD Youth Self-Report (internalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

                      Serious       No serious    Not applicable      Not              N=54          None           Baseline: 56.04±12.49      Important   VERY LOW
 1 cohort study     limitations5                                                                                      GnRH analogue:
 de Vries et al                    indirectness                    calculable
                                                                                                                        49.78±11.63
     2011                                                                                                                  P<0.001
Mean±SD Youth Self-Report (externalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

 1 cohort study       Serious       No serious    Not applicable      Not              N=54          None          Baseline: 53.30±11.87       Important   VERY LOW
 de Vries et al     limitations5   indirectness                    calculable                                    GnRH analogue: 49.98±9.35
     2011                                                                                                                 P=0.009
Proportion of adolescents scoring in the clinical range Youth Self-Report (internalising T) score, time point at baseline (before GnRH analogues)
versus follow-up (just before gender-affirming hormones, lower scores indicate benefit).

 1 cohort study       Serious       No serious    Not applicable      Not              N=54          None            Baseline: 29.6%           Important   VERY LOW
 de Vries et al     limitations5   indirectness                    calculable                                      GnRH analogue: 11.1%
     2011                                                                                                                P=0.017
Mean±SD Child Behaviour Checklist score, transfemales (lower scores indicate benefit

1 cross-sectional     Serious       No serious    Not applicable      Not              N=8           N=10        GnRH analogue: 57.4 [±9.8]    Important   VERY LOW
      study         limitations6   indirectness                    calculable                                     No GnRH analogue: 58.2
Staphorsius et al                                                                                                         [±9.3]
      2015
Mean±SD Child Behaviour Checklist score, transmales (lower scores indicate benefit)

                      Serious       No serious    Not applicable      Not              N=12          N=10        GnRH analogues: 57.5 [±9.4]   Important   VERY LOW
1 cross-sectional   limitations6                                                                                  No GnRH analogue: 63.9
                                   indirectness                    calculable
      study
                                                                                                                          [±10.5]
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                                         QUALITY                                                             Summary of findings                       IMPORTA      CERTAINTY
                                                                                                                                                         NCE
                                                                                          No of events/No of patients              Effect
                                                                                                     (n/N%)
       Study           Risk of         Indirectness     Inconsistency     Imprecision     Intervention    Comparator               Result
                        bias
 Staphorsius et al
      2015
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by Costa et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 6 months from baseline (after 6 months of psychological support – both groups).
3 12 months from baseline (delayed eligible gender dysphoria [GD] adolescents, after 12 months of psychological support; immediately eligible GD adolescents, after 12
months of psychological support + 6 months of puberty suppression).
4 18 months from baseline (delayed eligible gender dysphoria [GD] adolescents, after 12 months of psychological support; immediately eligible GD adolescents, after 12
months of psychological support + 6 months of puberty suppression).
5 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
6 Downgraded 1 level - the cohort study by Staphorsius et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no randomisation).


Table 6: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – engagement with healthcare services
                                                                                                    Summary of findings
                                    QUALITY                                         No of events/No of
                                                                                                                          Effect               IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias      Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
 Engagement with healthcare services

 Number (proportion) failing to engage with health care services (did not attend clinic), at (up to) 9 years follow-up

  1 cohort                                                                        9/214          None
                                  No serious                                                                 9 adolescents out of 214 failed
   study         Serious                        Not applicable      Not          (4.2%)                                                           Important      VERY LOW
                                 indirectness                                                                   to attend clinic and were
  Brik et al   limitations1                                      calculable                                  excluded from the study (4.2%)
    2018
 Loss to follow-up

                                  No serious                                       201           None        The sample size at baseline and
   1 cohort      Serious                        Not applicable                                                                                    Important      VERY LOW
                                 indirectness                                                                   6 months was 201, which
    study      limitations2
                                                                                                              dropped by 39.8% to 121 after
                                                                                        107
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                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
 Costa et al                                                        Not                                        12 months and by 64.7% to 71
   2015                                                          calculable                                      at 18 months follow-up. No
                                                                                                               explanation of the reasons for
                                                                                                               loss to follow-up are reported.
Abbreviations: GnRH, gonadotrophin releasing hormone.

1 Downgraded 1 level - the cohort study by Brik et al. (2018) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Downgraded 1 level - the cohort study by Costa et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).



Table 7: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – stopping treatment
                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
 Stopping treatment

 Number (proportion) stopping GnRH analogues, at (up to) 9 years follow-up

  1 cohort                                                                                        None
   study          Serious       No serious     Not applicable       Not            9/143                         9/143 adolescents stopped                           VERY LOW
                                                                                                                                                     Important
  Brik et al    limitations1   indirectness                      calculable       (6.2%)                          GnRH analogues (6.2%)2
    2018
 Number (proportion) stopping from GnRH analogues, at (up to) 13 years follow-up

  1 cohort                                                                        11/27           None
   study                                       Not applicable       Not           (42%)                                                                              VERY LOW
                  Serious       No serious                                                                    11/26 stopped GnRH analogues
 Khatchado                                                       calculable                                                                          Important
                limitations3   indirectness                                                                               (42%)4
 urian et al
    2014
 Number (proportion) stopping GnRH analogues but who wished to continue endocrine treatment, at (up to) 9 years follow-up

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                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
  1 cohort                                                                        4/143          None
                                                                                                               4/143 adolescents stopped
   study          Serious       No serious    Not applicable        Not          (2.8%)                                                                             VERY LOW
                                                                                                              GnRH analogues but wished to          Important
  Brik et al    limitations1   indirectness                      calculable
                                                                                                                continue treatment (2.8%)
    2018
 Number (proportion) stopping GnRH analogues who no longer wished gender-affirming treatment, at (up to) 9 years follow-up

  1 cohort                                                                        5/143          None           5/143 adolescents stopped
   study          Serious       No serious    Not applicable        Not          (3.5%)                       GnRH analogues and no longer
                                                                                                                                                    Important
  Brik et al    limitations1   indirectness                      calculable                                    wished to continue gender-                           VERY LOW
    2018                                                                                                        affirming treatment (3.5%)
Abbreviations: GnRH, gonadotrophin releasing hormone.

1 Downgraded 1 level - the cohort study by Brik et al. (2018) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Median duration of 0.8 years (range 0.1 to 3.0). Five adolescents stopped treatment because they no longer wished to receive gender-affirming treatment for various
reasons. In 4 adolescents (all transmales), although they wanted to continue treatments for gender dysphoria, GnRH analogues were stopped mainly because of adverse
effects (such as mood and emotional lability).
3 Downgraded 1 level - the cohort study by Khatchadourian et al. (2014) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high
number of participants lost to follow-up).
4 Because of transitioning to gender-affirming hormones or gender-affirming surgery, adverse effects (such as mood and emotional lability) or no longer wishing to pursue
transition.



Table 8. Question 2. For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – bone density
                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Bone density: change in lumbar BMAD
 Change in lumbar spine BMAD from baseline to 1 year in transfemales




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                                                                                               Summary of findings
                               QUALITY                                         No of events/No of
                                                                                                                     Effect           IMPORTANCE   CERTAINTY
                                                                               patients% (n/N%)
  Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.235 (0.030)
observatio                                                                                                  1 year: 0.233 (0.029)
nal study                                                                                                         p=0.459
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=31           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                         z-score
                                                                                                           Baseline: 0.859 (0.154)
                                                                                                           1 year: −0.228 (1.027)
                                                                                                                  p=0.000
Change in lumbar spine BMAD from baseline to 1 year in transmales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.196 (0.035)
observatio                                                                                                  1 year: 0.201 (0.033)
nal study                                                                                                         p=0.074
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=39           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                          z-score
                                                                                                           Baseline: −0.186 (1.230)
                                                                                                            1 year: −0.541 (1.396)
                                                                                                                   p=0.006
Change in lumbar spine BMAD from baseline to 2 years in transfemales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.240 (0.027)
observatio                                                                                                 2 years: 0.240 (0.030)
nal study                                                                                                         p=0.865
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=10           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                         z-score
                                                                                                           Baseline: 0.486 (0.809)
                                                                                                           2 years: −0.279 (0.930)
                                                                                                                  p=0.000
Change in lumbar spine BMAD from baseline to 2 years in transmales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.195 (0.058)
observatio   Serious         No serious                     Not
                                           Not applicable                    N=21           None           2 years: 0.198 (0.055)     IMPORTANT    VERY LOW
nal study    limitations1   indirectness                    calculable
                                                                                                                  p=0.433

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                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect            IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Joseph et                                                                                                            z-score
al. (2019)                                                                                                   Baseline: −0.361 (1.439)
                                                                                                             2 years: −0.913 (1.318)
                                                                                                                     p=0.001
Change in lumbar BMAD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/cm3
                                                                                                           GnRH analogue: 0.22 (0.03)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.22 (0.02)
observatio                                                                     N=11
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=12
2015                                                                                                      GnRH analogue: −0.44 (1.10)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −0.90 (0.80)
                                                                                                                 p-value: NS
Change in lumbar BMAD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales
                                                                                                               Mean (SD), g/cm3
                                                                                                           GnRH analogue: 0.25 (0.03)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.24 (0.02)
observatio                                                                                                             NS
nal study      Serious        No serious                      Not
                                             Not applicable                    N=18           None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
2015                                                                                                       GnRH analogue: 0.28 (0.90)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.50 (0.81)
                                                                                                                p-value: 0.004
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of <15 years)

1                                                                                                            Median (range), g/cm3
observatio                                                                                                GnRH analogue: 0.21 (0.17 to
nal study      Serious         No serious                     Not
                                             Not applicable                    N=15           None                    0.25)              IMPORTANT    VERY LOW
               limitations3   indirectness                    calculable
Vlot et al.                                                                                                Gender-affirming hormones:
2017                                                                                                           0.20 (0.18 to 0.24)

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                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                                       NS

                                                                                                                   z-score
                                                                                                        GnRH analogue: −0.20 (−1.82 to
                                                                                                                    1.18)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.52 (−2.36 to 0.42)
                                                                                                               p-value: <0.01
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of ≥15)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.22 (0.18 to
                                                                                                                     0.25)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.22 (0.19 to 0.24)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=5            None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −1.18 (−1.78 to
                                                                                                                    1.09)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.15 (−2.21 to 0.08)
                                                                                                               p-value: p≤0.1
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of <14 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.23 (0.20 to
                                                                                                                     0.29)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.23 (0.19 to 0.28)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=11           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.05 (−0.78 to
                                                                                                                    2.94)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.84 (−2.20 to 0.87)
                                                                                                               p-value: ≤0.01
                                                                                  112
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                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect            IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of ≥14)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.26 (0.21 to
                                                                                                                     0.29)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.24 (0.20 to 0.28)
nal study                                                                                                           p≤0.01
              Serious        No serious                      Not
                                            Not applicable                    N=23           None                                       IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                  z-score
2017
                                                                                                        GnRH analogue: 0.27 (−1.60 to
                                                                                                                    1.80)
                                                                                                         Gender-affirming hormones:
                                                                                                           −0.29 (−2.28 to 0.90)
                                                                                                             p-value: p ≤ 0.01)
Bone density: change in lumbar BMD
Change in lumbar spine BMD from baseline to 1 year in transfemales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.860 (0.154)
observatio                                                                                                   1 year: 0.859 (0.129)
nal study                                                                                                          p=0.962
              Serious        No serious                      Not
                                            Not applicable                    N=31           None                                       IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                            Baseline: −0.016 (1.106)
                                                                                                             1 year: −0.461 (1.121)
                                                                                                                    p=0.003
Change in lumbar spine BMD from baseline to 1 year in transmales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.694 (0.149)
observatio                                                                                                   1 year: 0.718 (0.124)
nal study                                                                                                          p=0.006
              Serious        No serious                      Not
                                            Not applicable                    N=39           None                                       IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                            Baseline: −0.395 (1.428)
                                                                                                             1 year: −1.276 (1.410)
                                                                                                                    p=0.000
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                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect           IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Change in lumbar spine BMD from baseline to 2 years in transfemales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.867 (0.141)
observatio                                                                                                   2 years: 0.878 (0.130)
nal study                                                                                                           p=0.395
               Serious        No serious                      Not
Joseph et                                    Not applicable                    N=10           None                                      IMPORTANT    VERY LOW
               limitations1   indirectness                    calculable
al. (2019)                                                                                                           z-score
                                                                                                             Baseline: 0.130 (0.972)
                                                                                                             2 years: −0.890 (1.075)
                                                                                                                    p=0.000
Change in lumbar spine BMD from baseline to 2 years in transmales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.695 (0.220)
observatio                                                                                                   2 years: 0.731 (0.209)
nal study                                                                                                           p=0.058
               Serious        No serious                      Not
                                             Not applicable                    N=21           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                             Baseline: −0.715 (1.406)
                                                                                                             2 years: −2.000 (1.384)
                                                                                                                     p=0.000
Change in lumbar BMD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.84 (0.13)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.84 (0.11)
observatio                                                                     N=12
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                      IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=11
2015                                                                                                      GnRH analogue: −0.77 (0.89)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −1.01 (0.98)
                                                                                                                      NS
Change in lumbar BMD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales

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                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect           IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.95 (0.12)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.91 (0.10)
observatio                                                                                                      p-value: 0.006
nal study      Serious        No serious                      Not
                                             Not applicable                    N=18           None                                      IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
2015                                                                                                       GnRH analogue: 0.17 (1.18)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.72 (0.99)
                                                                                                                p-value: <0.001
Bone density: change in femoral neck (hip) BMD
Change in femoral neck BMD from baseline to 1 year in transfemales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.894 (0.118)
observatio                                                                                                    1 year: 0.905 (0.104)
nal study                                                                                                           p=0.571
               Serious        No serious                      Not
                                             Not applicable                    N=31           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                             Baseline: 0.157 (0.905)
                                                                                                             1 year: −0.340 (0.816)
                                                                                                                    p=0.002
Change from baseline to 1 year in femoral neck BMD in transmales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.772 (0.137)
observatio                                                                                                    1 year: 0.785 (0.120)
nal study                                                                                                           p=0.797
               Serious        No serious                      Not
                                             Not applicable                    N=39           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                      z-score
al. (2019)
                                                                                                             Baseline: −0.863 (1.215)
                                                                                                              1 year: −1.440 (1.075)
                                                                                                                     p=0.000
Change from baseline to 2 years in femoral neck BMD in transfemales



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                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.920 (0.116)
observatio                                                                                                  2 years: 0.910 (0.125)
nal study                                                                                                          p=0.402
              Serious        No serious                      Not
Joseph et                                   Not applicable                    N=10           None                                        IMPORTANT    VERY LOW
              limitations1   indirectness                    calculable
al. (2019)                                                                                                          z-score
                                                                                                            Baseline: 0.450 (0.781)
                                                                                                            2 years: −0.600 (1.059)
                                                                                                                   p=0.002
Change from baseline to 2 years in femoral neck BMD in transmales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.766 (0.215)
observatio                                                                                                  2 years: 0.773 (0.197)
nal study                                                                                                          p=0.604
              Serious        No serious                      Not
                                            Not applicable                    N=21           None                                        IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                    z-score
al. (2019)
                                                                                                            Baseline: −1.075 (1.145)
                                                                                                            2 years: −1.779 (0.816)
                                                                                                                    p=0.001
Bone density: change in femoral neck (hip) BMAD
Change from starting GnRH analogue to starting gender-affirming hormones in femoral neck BMAD in transfemales (bone age of <15 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.29 (0.20 to
                                                                                                                     0.33)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.27 (0.20 to 0.33)
nal study                                                                                                            p≤0.1
              Serious        No serious                      Not
                                            Not applicable                    N=16           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.71 (−3.35 to
                                                                                                                    0.37)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.32 (−3.39 to 0.21)
                                                                                                                    p≤0.1
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of ≥15)

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                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.30 (0.26 to
                                                                                                                     0.36)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.30 (0.26 to 0.34)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=6            None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.44 (−1.37 to
                                                                                                                    0.93)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.36 (−1.50 to 0.46)
                                                                                                                     NS
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of <14 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.31 (0.26 to
                                                                                                                     0.36)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.30 (0.22 to 0.35)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=10           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.01 (−1.30 to
                                                                                                                    0.91)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.37 (−2.28 to 0.47)
                                                                                                                     NS
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of ≥14)

                                                                                                            Median (range), g/cm3
1                                                                                                        GnRH analogue: 0.33 (0.25 to
observatio                                                                                                           0.39)
nal study     Serious        No serious                      Not                                          Gender-affirming hormones:
                                            Not applicable                    N=23           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable                                       0.30 (0.23 to 0.41)
2017                                                                                                            p-value: ≤0.01

                                                                                                                      z-score
                                                                                  117
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                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect            IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                         GnRH analogue: 0.27 (−1.39 to
                                                                                                                     1.32)
                                                                                                          Gender-affirming hormones:
                                                                                                            −0.27 (−1.91 to 1.29)
                                                                                                               p-value: ≤0.01
Bone density: change in femoral area BMD

Change in femoral BMD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.88 (0.12)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.87 (0.08)
observatio                                                                     N=14
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=6
2015                                                                                                      GnRH analogue: −0.66 (0.77)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −0.95 (0.63)
                                                                                                                      NS
Change in femoral BMD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.92 (0.10)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.88 (0.09)
observatio                                                                     N=18
                                                                                                                p-value: 0.005
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
                                                                               N=13
2015                                                                                                       GnRH analogue: 0.36 (0.88)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.35 (0.79)
                                                                                                                p-value: 0.001
Bone density: change in femoral area BMAD

Change in femoral BMAD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
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                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
                                                                                                                    Mean (SD), g/cm3
                                                                                                                GnRH analogue: 0.28 (0.04)
                                                                                                                Gender-affirming hormones:
 1                                                                                                                     0.26 (0.04)
 observatio                                                                       N=12
                                                                                                                            NS
 nal study      Serious        No serious                        Not
                                              Not applicable                                      None                                             IMPORTANT         VERY LOW
                limitations2   indirectness                      calculable
 Klink et al.                                                                                                            z-score
                                                                                  N=10
 2015                                                                                                           GnRH analogue: −0.93 (1.22)
                                                                                                                Gender-affirming hormones:
                                                                                                                       −1.57 (1.74)
                                                                                                                       p-value: NS
 Change in femoral BMAD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
 transmales
                                                                                                                    Mean (SD), g/cm3
                                                                                                                GnRH analogue: 0.32 (0.04)
                                                                                                                Gender-affirming hormones:
 1                                                                                                                     0.31 (0.04)
 observatio                                                                       N=18
                                                                                                                            NS
 nal study      Serious        No serious                        Not
                                              Not applicable                                      None                                             IMPORTANT         VERY LOW
                limitations2   indirectness                      calculable
 Klink et al.                                                                                                            z-score
                                                                                  N=18
 2015                                                                                                           GnRH analogue: 0.01 (0.70)
                                                                                                                Gender-affirming hormones:
                                                                                                                       −0.28 (0.74)
                                                                                                                            NS
Abbreviations: BMAD, bone mineral apparent density; BMD, bone mineral density; GnRH, gonadotrophin releasing hormone; NS, not significant; SD,
standard deviation.

1 Downgraded 1 level - the cohort study by Joseph et al. (2019) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Downgraded 1 level - the cohort study by Klink et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding, no randomisation, no control group and
high number of participants lost to follow-up).
3 Downgraded 1 level - the cohort study by Vlot et al. (2017) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control).




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Table 9 Question 2: For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – cognitive development or functioning
                                                                                               Summary of findings
                               QUALITY                                         No of events/No of
                                                                                                                     Effect   IMPORTANCE   CERTAINTY
                                                                               patients% (n/N%)
  Study
             Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result

Cognitive development or functioning (1 cross-sectional study)
IQ (4 subscales: arithmetic, vocabulary, picture arrangement, and block design) at a single time point between GnRH analogue treated and
untreated transfemales
1 Cross-
sectional                                                                    N=8
                                                                                            N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                 Mean (SD)                           IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    94.0 (10.3)
                                                                                         109.4 (21.2)
s et al.
2015
IQ (4 subscales: arithmetic, vocabulary, picture arrangement, and block design) at a single time point between GnRH analogue treated and
untreated transmales
1 Cross-
sectional                                                                   N=12
                                                                                           N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    95.8 (15.6)
                                                                                         98.5 (15.9)
s et al.
2015
Reaction time at a single time point between GnRH analogue treated and untreated transfemales

1 Cross-
sectional                                                                   N=8
                                                                                           N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    10.9 (4.1)
                                                                                          9.9 (3.1)
s et al.
2015
Reaction time at a single time point between GnRH analogue treated and untreated transmales

                                                                            N=12
1 Cross-                                                                                   N=10
             Serious        No serious                      Not           Mean (SD)                                   NR
sectional                                  Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable     9.9 (3.1)
study                                                                                    10.0 (2.0)



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                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study
               Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Staphorsiu
 s et al.
 2015
 Accuracy at a single time point between GnRH analogue treated and untreated transfemales

 1 cohort
                                                                                 N=8
 study                                                                                          N=10
               Serious         No serious                       Not            Mean (SD)
 Staphorsiu                                   Not applicable                                  Mean (SD)                     NR                     IMPORTANT        VERY LOW
               limitations1    indirectness                     calculable     73.9 (9.1)
 s et al.                                                                                     83.4 (9.5)
 2015
 Accuracy at a single time point between GnRH analogue treated and untreated transmales

 1 cohort
                                                                                 N=12
 study                                                                                          N=10
               Serious         No serious                       Not            Mean (SD)
 Staphorsiu                                   Not applicable                                  Mean (SD)                     NR                     IMPORTANT        VERY LOW
               limitations1    indirectness                     calculable     85.7 (10.5)
 s et al.                                                                                     88.8 (9.7)
 2015
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by Staphorsius et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no randomisation).



Table 10: Question 2: In children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – other safety outcomes
                                                                                                     Summary of findings
                                   QUALITY                                          No of events/No of
                                                                                                                            Effect                IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Other safety outcomes: change in serum creatinine
 Change in serum creatinine (micromol/l) between baseline and 1 year in transfemales




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                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect                IMPORTANCE    CERTAINTY
                                                                                patients% (n/N%)
  Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
1
                                                                                                                  Mean (SD)
observatio
              Serious        No serious                      Not                                               Baseline: 70 (12)
nal study                                   Not applicable                    N=28           None                                           IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable                                         1 year: 66 (13)
Schagen et
                                                                                                                 p-value: 0.20
al. 2016
Change in serum creatinine (µmol/l) between baseline and 1 year in transmales

1
                                                                                                                  Mean (SD)
observatio
              Serious        No serious                      Not                                                Baseline: 73 (8)
nal study                                   Not applicable                    N=29           None                                           IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable                                         1 year: 68 (13)
Schagen et
                                                                                                                 p-value: 0.01
al. 2016
Other safety outcomes: liver enzymes
Presence of elevated liver enzymes (AST, ALT, and glutamyl transferase) between baseline and during treatment

                                                                                                         Glutamyl transferase was not
                                                                                                         elevated at baseline or during
                                                                                                            treatment in any subject.
                                                                                                        Mild elevations of AST and ALT
1                                                                                                       above the reference range were
observatio                                                                                                     present at baseline
              Serious        No serious                      Not
nal study                                   Not applicable                     39            None         but were not more prevalent       IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable
Schagen et                                                                                                  during treatment than at
al. 2016                                                                                                            baseline.
                                                                                                        Glutamyl transferase, AST, and
                                                                                                         ALT levels did not significantly
                                                                                                          change from baseline to 12
                                                                                                              months of treatment.
Other safety outcomes: adverse effects
Proportion of patients reporting adverse effects

1 cohort      Serious        No serious     Not applicable   Not               27            None              3/27 adolescents3              Important   VERY LOW
study         limitations2   indirectness                    calculable2
Khatchado
urian et al
2014

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Abbreviations: ALT, alanine aminotransferase; AST, aspartate aminotransferase; GnRH, gonadotrophin releasing hormone; P, P-value; SD, standard
deviation.

1 Downgraded 1 level - the cohort study by Schagen et al. (2016) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control).
2 Downgraded 1 level - the cohort study by Khatchadourian et al. (2014) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high
number of participants lost to follow-up).
3 1 transmale developed sterile abscesses; they were switched from leuprolide acetate to triptorelin, and this was well tolerated. 1 transmale developed leg pains and
headaches, which eventually resolved without treatment. 1 participant gained 19 kg within 9 months of initiating GnRH analogues.


Table 11: Question 4. From the evidence selected, are there any subgroups of children and adolescents with gender
dysphoria that may derive more (or less) advantage from treatment with GnRH analogues than the wider population of
children and adolescents with gender dysphoria? – critical outcomes
                                       QUALITY                                                              Summary of findings                     IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                  Effect
                                                                                                patients (n/N%)
       Study           Risk of       Indirectness      Inconsistency      Imprecision         Sex             Sex                 Result
                        bias                                                              assigned at     assigned at
                                                                                          birth males         birth
                                                                                                            females
 Subgroups: sex assigned at birth males compared with sex assigned at birth females

 Impact on gender dysphoria

 Mean [±SD] Utrecht Gender Dysphoria Scale (version(s) not reported), time point at baseline (before GnRHa) versus follow-up (just before gender-
 affirming hormones).

                       Serious        No serious       Not applicable         Not            n-NR2          n-NR2       F-ratio 15.98 (df, errdf:       Critical      VERY LOW
                     limitations1    indirectness                          calculable     score at T0    score at T0        1,39), P<0.001
  1 cohort study                                                                             47.95          56.57
  de Vries et al                                                                            [±9.70]        [±3.89]
      2011                                                                                score at T1    score at T1
                                                                                             49.67          56.62
                                                                                            [±9.47]         [±4.0]
 Impact on mental health

 Mean [±SD] Beck Depression Inventory-II, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming
 hormones).


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                                        QUALITY                                                              Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                               No of events/No of                  Effect
                                                                                                 patients (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision         Sex             Sex                 Result
                         bias                                                              assigned at     assigned at
                                                                                           birth males         birth
                                                                                                             females
                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2        F-ratio 3.85 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P=0.057
   1 cohort study                                                                              5.71          10.34
   de Vries et al                                                                            [±4.31]        [±8.24]
       2011                                                                                score at T1    score at T1
                                                                                               3.50           6.09
                                                                                             [±4.58]        [±7.93]
 Mean [±SD] Trait Anger (TPI), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming hormones).

                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2        F-ratio 5.70 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P=0.022
   1 cohort study                                                                              5.22           6.43
   de Vries et al                                                                            [±2.76]        [±2.78]
       2011                                                                                score at T1    score at T1
                                                                                               5.00           6.39
                                                                                             [±3.07]        [±2.59]
 Mean [±SD] Trait Anxiety (STAI), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming hormones).

                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2       F-ratio 16.07 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P<0.001
   1 cohort study                                                                              4.33           7.00
   de Vries et al                                                                            [±2.68]        [±2.36]
       2011                                                                                score at T1    score at T1
                                                                                               4.39           6.17
                                                                                             [±2.64]        [±2.69]
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 The overall sample size completing the outcome at both time points was 41.




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Table 11: Question: 4. From the evidence selected, are there any subgroups of children and adolescents with gender
dysphoria that may derive more (or less) advantage from treatment with GnRH analogues than the wider population of
children and adolescents with gender dysphoria? – important outcomes
                                   QUALITY                                                           Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                    NCE
                                                                                     No of events/No of                    Effect
                                                                                       patients (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                     bias                                                        assigned at     assigned at
                                                                                 birth males         birth
                                                                                                   females
Subgroups: sex assigned at birth males compared with sex assigned at birth females

Impact on body image

Mean [±SD] Body Image Scale (primary sexual characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 4.11 (df, errdf: 1,55),    Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.047
 1 cohort study                                                                      4.02           4.16
 de Vries et al                                                                    [±0.16]        [±0.52]
     2011                                                                        score at T1    score at T1
                                                                                     3.74           4.17
                                                                                   [±0.78]        [±0.58]
Mean [±SD] Body Image Scale (secondary sexual characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just
before gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 11.57 (df, errdf: 1,55),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.0013
 1 cohort study                                                                      2.66           2.81
 de Vries et al                                                                    [±0.50]        [±0.76]
     2011                                                                        score at T1    score at T1
                                                                                     2.39           3.18
                                                                                   [±0.69]        [±0.42]
Mean [±SD] Body Image Scale (neutral characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).




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                                    QUALITY                                                           Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                     NCE
                                                                                      No of events/No of                    Effect
                                                                                        patients (n/N%)
     Study           Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                      bias                                                        assigned at     assigned at
                                                                                  birth males         birth
                                                                                                    females
                     Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 0.081 (df, errdf: 1,55),   Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0               P=0.7773
 1 cohort study                                                                       2.60           2.24
 de Vries et al                                                                     [±0.58]        [±0.62]
     2011                                                                         score at T1    score at T1
                                                                                      2.32           2.61
                                                                                    [±0.59]        [±0.50]
Psychosocial impact

Mean [±SD] Children’s Global Assessment Scale score, at baseline.

                     Serious       No serious      No serious        Not                n=not       n=not            t-test 2.15; P=0.035          Important   VERY LOW
 1 cohort study    limitations4   indirectness   inconsistency    calculable          reported    reported
Costa et al 2015                                                                         55.4        59.2
                                                                                       [±12.7]     [±11.8]
Mean [±SD] Children’s Global Assessment Scale score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                     Serious       No serious    Not applicable      Not             n-NR6          n-NR6       F-ratio 5.77 (df, errdf: 1,39),    Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0              P=0.021
 1 cohort study                                                                      73.10          67.25
 de Vries et al                                                                     [±8.84]       [±11.06]
     2011                                                                         score at T1    score at T1
                                                                                     77.33          70.30
                                                                                    [±8.69]        [±9.44]
Mean [±SD] Child Behaviour Checklist (total T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-
affirming hormones).

                     Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 2.64 (df, errdf: 1,52),    Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0              P=0.110
 1 cohort study
                                                                                    59.42          61.73
 de Vries et al
                                                                                   [±11.78]       [±13.60]
     2011
                                                                                  score at T1
                                                                                    50.38

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                                   QUALITY                                                           Summary of findings                         IMPORTA     CERTAINTY
                                                                                                                                                   NCE
                                                                                     No of events/No of                    Effect
                                                                                       patients (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                     bias                                                        assigned at     assigned at
                                                                                 birth males         birth
                                                                                                   females
                                                                                     [±10.57]   score at T1
                                                                                                  57.73
                                                                                                 [±10.82]
Mean [±SD] Child Behaviour Checklist (internalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR7         n-NR7        F-ratio 1.16 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.286
 1 cohort study                                                                     60.00         61.80
 de Vries et al                                                                    [±9.51]       [±14.12]
     2011                                                                        score at T1    score at T1
                                                                                    52.17         56.30
                                                                                   [±9.81]       [±10.33]
Mean [±SD] Child Behaviour Checklist (externalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 6.29 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.015
 1 cohort study                                                                    54.71          60.70
 de Vries et al                                                                   [±12.91]       [±12.64]
     2011                                                                        score at T1    score at T1
                                                                                    48.75         57.87
                                                                                  [±10.22]       [±11.66]
Mean [±SD] Youth Self-Report (total T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming
hormones).

                    Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 1.99 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.164
 1 cohort study                                                                    53.56          57.10
 de Vries et al                                                                   [±12.26]       [±10.87]
     2011                                                                        score at T1    score at T1
                                                                                   47.84          51.86
                                                                                  [±10.86]       [±10.11]


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                                       QUALITY                                                               Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                            NCE
                                                                                             No of events/No of                    Effect
                                                                                               patients (n/N%)
       Study           Risk of      Indirectness      Inconsistency      Imprecision         Sex             Sex                   Result
                        bias                                                             assigned at     assigned at
                                                                                         birth males         birth
                                                                                                           females
 Mean [±SD] Youth Self-Report (internalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-
 affirming hormones).

                       Serious       No serious       Not applicable        Not            n-NR7          n-NR7        F-ratio 0.049 (df, errdf: 1,52),   Important   VERY LOW
                     limitations1   indirectness                         calculable      score at T0    score at T0               P=0.825
  1 cohort study                                                                           55.88          56.17
  de Vries et al                                                                          [±11.81]       [±13.25]
      2011                                                                               score at T1    score at T1
                                                                                           49.24          50.24
                                                                                          [±12.24]       [±11.28]
 Mean [±SD] Youth Self-Report (externalising T) score, time point at baseline (T0 before GnRHa) versus follow-up (T1 just before gender-affirming
 hormones).

                       Serious       No serious       Not applicable        Not             n-NR7          n-NR7       F-ratio 9.14 (df, errdf: 1,52),    Important   VERY LOW
                     limitations1   indirectness                         calculable      score at T0    score at T0              P=0.004
  1 cohort study                                                                            48.72          57.24
  de Vries et al                                                                          [±11.83]       [±10.59]
      2011                                                                               score at T1    score at T1
                                                                                            46.52          52.97
                                                                                           [±9.23]        [±8.51]
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 The overall sample size completing the outcome at both time points was 57.
3 There was a significant interaction effect between sex assigned at birth and BDI between T0 and T1; sex assigned at birth females became more dissatisfied with their
secondary F (df, errdf), P: 14.59 (1,55), P<0.001) and neutral F (df, errdf), P: 15.26 (1,55), P<0.001) sex characteristics compared with sex assigned at birth males.
4 Serious limitations – the cohort study by Costa et al. 2015 was assessed as at high risk of bias (poor quality).
5 At baseline, CGAS scores were not associated with any demographic variable, in both sex assigned at birth males and females. There were no statistically significant
differences in CGAS scores between gender dysphoric sex assigned at birth males and females in all follow-up evaluations (P>0.1; full data not reported).
6 The overall sample size completing the outcome at both time points was 41
7 The overall sample size completing the outcome at both time points was 54.




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Glossary

Beck Depression         The BDI-II is a tool for assessing depressive symptoms. There
Inventory-II (BDI-II)   are no specific scores to categorise depression severity, but it is
                        suggested that 0 to 13 is minimal symptoms, 14 to 19 is mild
                        depression, 20 to 28 is moderate depression, and severe
                        depression is 29 to 63.
Body Image Scale        The BIS is used to measure body satisfaction. The scale consists
(BIS)                   of 30 body features, which the person rates on a 5-point scale.
                        Each of the 30 items falls into one of 3 basic groups based on its
                        relative importance as a gender-defining body feature: primary sex
                        characteristics, secondary sex characteristics, and neutral body
                        characteristics. A higher score indicates more dissatisfaction.
Bone mineral            BMAD is a size adjusted value of bone mineral density (BMD)
apparent density        incorporating body size measurements using UK norms in
(BMAD)                  growing adolescents.
Child Behaviour         CBCL is a checklist parents complete to detect emotional and
Checklist (CBCL)        behavioural problems in children and adolescents.
Children’s Global       The CGAS tool is a validated measure of global functioning on a
Assessment Scale        single rating scale from 1 to 100. Lower scores indicate poorer
(CGAS)                  functioning.
Gender                  The roles, behaviours, activities, attributes, and opportunities that
                        any society considers appropriate for girls and boys, and women
                        and men.
Gender dysphoria        Discomfort or distress that is caused by a discrepancy between a
                        person’s gender identity (how they see themselves regarding
                        their gender) and that person’s sex assigned at birth (and the
                        associated gender role, and/or primary and secondary sex
                        characteristics).
Gonadotrophin           GnRH analogues competitively block GnRH receptors to prevent
releasing hormone       the spontaneous release of 2 gonadotropin hormones, Follicular
(GnRH) analogues        Stimulating Hormone (FSH) and Luteinising Hormone (LH) from
                        the pituitary gland. The reduction in FSH and LH secretion
                        reduces oestradiol secretion from the ovaries in those whose sex
                        assigned at birth was female and testosterone secretion from the
                        testes in those whose sex assigned at birth was male.
Sex assigned at birth   Sex assigned at birth (male or female) is a biological term and is
                        based on genes and how external and internal sex and
                        reproductive organs work and respond to hormones. Sex is the
                        label that is recorded when a baby's birth is registered.
Tanner stage            Tanner staging is a scale of physical development.
Trait Anger             The TPI is a validated 20-item inventory tool which measures the
Spielberger scales of   intensity of anger as the disposition to experience angry feelings
the State-Trait         as a personality trait. Higher scores indicate greater anger.
Personality Inventory
(TPI)
Transgender             Transgender is a term for someone whose gender identity is not
(including transmale    congruent with their birth-registered sex. A transmale is a person
and transfemale)        who identifies as male and a transfemale is a person who
                        identifies as female.



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    Utrecht Gender          The UGDS is a validated screening tool for both adolescents and
    Dysphoria Scale         adults to assess gender dysphoria. It consists of 12 items, to be
    (UGDS)                  answered on a 1- to 5-point scale, resulting in a sum score
                            between 12 and 60. The higher the UGDS score the greater the
                            impact on gender dysphoria.
    Youth Self-Report       The self-administered YSR is a checklist to detect emotional and
    (YSR)                   behavioural problems in children and adolescents. It is self-
                            completed by the child or adolescent. The scales consist of a
                            Total problems score, which is the sum of the scores of all the
                            problem items. An internalising problem scale sums the
                            anxious/depressed, withdrawn-depressed, and somatic
                            complaints scores while the externalising problem scale
                            combines rule-breaking and aggressive behaviour.


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